Case 3:18-cv-01388-LAB-WVG Document 154 Filed 11/10/21 PageID.3238 Page 1 of 118




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   11 Wells Fargo & Company and
      Wells Fargo Bank N.A.
   12
                          UNITED STATES DISTRICT COURT
   13
                        SOUTHERN DISTRICT OF CALIFORNIA
   14
   15 FEDERAL TRADE                        CASE NO. 18-cv-1388-LAB-LL
      COMMISSION,
   16                                      Judge: Hon. Larry Alan Burns
                 Plaintiff,
   17                                      PROPOSED INTERVENORS WELLS
           v.                              FARGO & COMPANY AND WELLS
   18                                      FARGO BANK N.A.’S REQUEST
      TRIANGLE MEDIA                       FOR JUDICIAL NOTICE IN
   19 CORPORATION;                         SUPPORT OF MOTION TO
      JASPER RAIN MARKETING                INTERVENE
   20 LLC;
      HARDWIRE INTERACTIVE                 Date: January 10, 2022
   21 INC;                                 Time: 11:15 a.m.
      GLOBAL NORTHERN                      Ctrm: 14A
   22 TRADING LIMITED; BRIAN
      PHILLIPS; and DEVIN KEER,
   23
   24              Defendants.
   25
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   28
        PROPOSED INTERVENORS WELLS FARGO & COMPANY AND WELLS FARGO BANK N.A.’S
              REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF MOTION TO INTERVENE
Case 3:18-cv-01388-LAB-WVG Document 154 Filed 11/10/21 PageID.3239 Page 2 of 118




    1 TO THE HONORABLE COURT AND ALL PARTIES OF RECORD:
    2          Pursuant to Rule 201 of the Federal Rules of Evidence, Proposed Intervenors
    3 Wells Fargo & Company and Wells Fargo Bank N.A. (collectively “Wells Fargo”)
    4 respectfully request the Court take judicial notice of the following documents in
    5 support of their Motion to Intervene:
    6          1.    Monitor Thomas M. McNamara’s Statement re: July 13, 2021 Status
    7 Conference, filed as ECF No. 1333 on July 7, 2021 in Federal Trade Commission v.
    8 AMG Services, Inc., et al., Case No. 2:12-cv-00536-GMN-VCF (D. Nev.), attached
    9 hereto as Exhibit A.
   10          2.    FTC’s Response to Defendants’ Response to Monitor’s Request for
   11 Status Conference, filed as ECF No. 1311 on May 20, 2021 in Federal Trade
   12 Commission v. AMG Services, Inc., et al., Case No. 2:12-cv-00536-GMN-VCF (D.
   13 Nev.), attached hereto as Exhibit B.
   14          3.    Plaintiff-Receiver Thomas M. McNamara’s Complaint, filed as ECF
   15 No. 1 on July 8, 2021, in Thomas W. McNamara v. Wells Fargo & Company, et al.,
   16 Case No. 3:21-cv-01245-AJB-JLB (S.D. Cal.), attached hereto as Exhibit C.
   17          4.    Receiver’s Notice of Related Cases Under Civil Local Rule 40.1.f-g,
   18 filed as ECF No. 2 on July 8, 2021, in Thomas W. McNamara v. Wells Fargo &
   19 Company, et al., Case No. 3:21-cv-01245-AJB-JLB (S.D. Cal.), attached hereto as
   20 Exhibit D.
   21          5.    Report of Clerk and Order of Transfer Pursuant to “Low-Number”
   22 Rule, filed as ECF No. 8 on July 8, 2021, in Thomas W. McNamara v. Wells Fargo
   23 & Company, et al., Case No. 3:21-cv-01245-AJB-JLB (S.D. Cal.), attached hereto
   24 as Exhibit E.
   25 //
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                                                2
           PROPOSED INTERVENORS WELLS FARGO & COMPANY AND WELLS FARGO BANK N.A.’S
                 REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF MOTION TO INTERVENE
Case 3:18-cv-01388-LAB-WVG Document 154 Filed 11/10/21 PageID.3240 Page 3 of 118




    1          6.    Federal Trade Commission public statement in June 2020 on “Triangle
    2 Media Refunds”, published on the FTC’s website
    3 https://www.ftc.gov/enforcement/cases-proceedings/refunds/triangle-media-refunds
    4 (last accessed November 10, 2021), attached hereto as Exhibit F.
    5          Rule 201 makes facts that “can be accurately and readily determined from
    6 sources whose accuracy cannot be reasonably questioned” the proper subject of
    7 judicial notice. Fed. R. Evid. 201. Rule 201(c)(2) provides that the Court “must take
    8 judicial notice [of such a matter] if a party requests it and the court is supplied with
    9 the necessary information.” Id.
   10          Here, the existence and content of filings from the litigation brought by the
   11 Federal Trade Commission (“FTC”) in Federal Trade Commission v. AMG
   12 Services, Inc., et al., Case No. 2:12-cv-00536-GMN-VCF (D. Nev.), and the
   13 Receiver in Thomas W. McNamara v. Wells Fargo & Company, et al., Case No.
   14 3:21-cv-01245-AJB-JLB (S.D. Cal.), are proper subjects of judicial notice. See,
   15 e.g., Harris v. Cty. of Orange, 682 F.3d 1126, 1132 (9th Cir. 2012) (“We may take
   16 judicial notice of undisputed matters of public record…including documents on file
   17 in federal or state courts”); Peel v. BrooksAmerica Mortg. Corp., 788 F. Supp. 2d
   18 1149, 1158 (C.D. Cal. 2011) (taking judicial notice “of complaints filed by the
   19 Plaintiffs in related proceedings, as well as complaints and orders from other
   20 cases”); Chrisanthis v. U.E., No. C 08-02472 WHA, 2008 WL 4848764, at *2 (N.D.
   21 Cal. Nov. 7, 2008) (“When adjudicating a motion to dismiss, a court may take
   22 judicial notice of public filings.”); Ramirez v. Quemetco, Inc., No. 17-cv-03384,
   23 2017 WL 2957935, at *3 (C.D. Cal. July 11, 2017) (taking judicial notice of
   24 declaration filed in another case).
   25 //
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           PROPOSED INTERVENORS WELLS FARGO & COMPANY AND WELLS FARGO BANK N.A.’S
                 REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF MOTION TO INTERVENE
Case 3:18-cv-01388-LAB-WVG Document 154 Filed 11/10/21 PageID.3241 Page 4 of 118




    1        Attached hereto as Exhibits A-F are copies of public filings in litigation
    2 brought by the FTC and the Receiver in different actions. Wells Fargo respectfully
    3 requests the Court take judicial notice of these documents, and the facts they
    4 evidence.
    5
    6 DATED: November 10, 2021                 Respectfully submitted,
    7
                                               MCGUIREWOODS LLP
    8
                                               /s/ Alicia A. Baiardo
    9
                                               Kevin M. Lally, Esq.
   10                                          David C. Powell, Esq.
   11                                          Alicia A. Baiardo, Esq.

   12                                          Attorneys for Proposed Intervenors Wells
   13                                          Fargo & Company and Wells Fargo Bank
                                               N.A.
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        PROPOSED INTERVENORS WELLS FARGO & COMPANY AND WELLS FARGO BANK N.A.’S
              REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF MOTION TO INTERVENE
Case 3:18-cv-01388-LAB-WVG Document 154 Filed 11/10/21 PageID.3242 Page 5 of 118




    1                           CERTIFICATE OF SERVICE
    2        I hereby certify that on November 10, 2021, the foregoing document was filed
    3 electronically in the Court's Electronic Case Filing system ("ECF"); thereby upon
    4 completion the ECF system automatically generated a Notice of Electronic Filing
    5 ("NEF") as service through CM/ECF to registered e-mail addresses of parties of
    6 record in the case.
    7
    8                                       /s/ Alicia A. Baiardo
                                                Alicia A. Baiardo
    9
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                                    CERTIFICATE OF SERVICE
Case 3:18-cv-01388-LAB-WVG Document 154 Filed 11/10/21 PageID.3243 Page 6 of 118




                         EXHIBIT A
Case 3:18-cv-01388-LAB-WVG
       Case 2:12-cv-00536-GMN-VCF
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      Attorneys for Court-Appointed Monitor,
   10 Thomas W. McNamara

   11                               UNITED STATES DISTRICT COURT

   12                                     DISTRICT OF NEVADA

   13 FEDERAL TRADE COMMISSION,                     Case No. 2:12-cv-00536-GMN-VCF

   14                        Plaintiff,             MONITOR’S STATEMENT RE:
               v.                                   JULY 13, 2021 STATUS CONFERENCE
   15
        AMG SERVICES, INC., et al.,                 Judge:     Hon. Gloria M. Navarro
   16                        Defendants, and        Date:      July 13, 2021
                                                    Time:      10:00 a.m.
   17 PARK 269 LLC, et al.,
                          Relief Defendants.
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       Case 2:12-cv-00536-GMN-VCF
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                                                          PageID.3245
                                                                  Page Page
                                                                       2 of 78 of 118




     1          In light of the Court’s Amended Order granting the Monitor’s Motion to Extend Time for

     2 Completion Deadline and setting a status conference for July 13, 2021 (the “Amended Order,”

     3 ECF No. 1327), Thomas W. McNamara, in his capacity as Court-appointed Monitor, respectfully

     4 submits this statement regarding items he requests be addressed at the hearing:

     5          As the Court is aware, on June 9, 2021, the court in United States v. Scott Tucker, et al.,

     6 No. 16-cr-00091-PKC (S.D.N.Y.) issued a Preliminary Order of Forfeiture as to Substitute

     7 Assets (“Preliminary Forfeiture Order”),1 which impacts the vast majority of the assets currently

     8 held by the Monitor. Any challenges to the Preliminary Forfeiture Order, including claims to

     9 assets identified therein, are required to be brought in and adjudicated by the Southern District of

   10 New York. See Preliminary Forfeiture Order, pp. 9-10, ¶¶ 4-7 (setting forth the procedure for

   11 adjudicating the claims of anyone claiming an interest in the subject assets). There is no reason

   12 the New York proceedings need delay the conclusion of the Monitorship.2

   13 I.        DISPOSITION OF REMAINING ASSETS

   14           The Monitor has identified the following categories of Assets of the Monitorship Estate

   15 which are not identified in the Preliminary Order of Forfeiture. The Monitor requests the

   16 Court’s guidance and instruction regarding these Assets at the upcoming hearing. In connection

   17 with that request, the Monitor offers suggested courses of action for each of the categories.

   18           A.     Ongoing Litigation

   19           Several cases brought by the Monitor were still in progress (though stayed) when the

   20 Supreme Court issued its decision in the appeal of this action.3 Given the potential for recovery,

   21
         1
       The Preliminary Forfeiture Order was attached as Exhibit A to the FTC’s Response to
   22 Monitor’s Motion to Extend Completion Deadline (ECF No. 1319-1).

   23    2
        The Preliminary Forfeiture Order provides that if the Monitorship is terminated prior to the
      entry of a Final Order of Forfeiture, the Government is authorized to take possession of the
   24 identified assets and “to keep them in its secure, custody and control.” (See ECF No. 1319-1
      at ⁋ 2.)
   25
      3
        These cases are: McNamara v. Charles Hallinan, et al., No. 2:17-cv-02966-GMN-NJK (D.
   26 Nev.), McNamara v. Linda Hallinan, et al., No. 2:17-cv-02967-GMN-BNW (D. Nev.),
      McNamara v. Patten, et al., No. 2:17-cv-02968-GMN-NJK (D. Nev.), McNamara v. Selling
   27 Source, LLC, et al., No. 2:17-cv-02969-GMN-DJA (D. Nev.), McNamara v. Stealth Power, LLC,
      No. 2:18-cv-01813-GMN-DJA (D. Nev.), and McNamara v. Intercept Corp., et al., No. 2:18-cv-
   28 02281-GMN-VCF (D. Nev.) (collectively referred to herein as the “Ongoing Litigation”).

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Case 3:18-cv-01388-LAB-WVG
       Case 2:12-cv-00536-GMN-VCF
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                                                          PageID.3246
                                                                  Page Page
                                                                       3 of 79 of 118




     1 the Ongoing Litigation is an Asset of the Monitorship Estate, as that term is defined in the

     2 Monitor Order. See Monitor Order (ECF No. 1099) at Definitions, A (“‘Asset’ means…any

     3 legal or equitable interest in, right to, or claim to, any real, personal, or intellectual property

     4 wherever located…., regardless of when any Defendant acquired such interest, right, or claim.”)

     5 As such, the Monitor is obligated to consider the appropriate disposition of the Ongoing

     6 Litigation in connection with the wind down of the Monitorship.

     7          The Monitor believes that he no longer has the authority to pursue the Ongoing Litigation

     8 in light of the Supreme Court’s reversal of the monetary judgment in this matter. Lacking that

     9 authority, the Monitor is of the view that he must dismiss the litigation as part of the wind down

   10 process. Before doing so, however, the Monitor recommends allowing a limited period of time

   11 (such as 30 days) in which any party or parties may come before the Court and assert an interest

   12 in the Ongoing Litigation. For instance, a Defendant, a governmental agency, or a third party

   13 may move to assume control over or intervene in some or all of the Ongoing Litigation. If no

   14 movant comes forward prior to the expiration of this limited period, the Monitor will then

   15 dismiss the Ongoing Litigation.

   16           B.      Defendants’ Documents and Electronic Data/Documents

   17           The Monitor is in possession of Defendants’ documents obtained during the Monitor’s

   18 investigation, including over 200 banker’s boxes of hard copy documents gathered from

   19 Defendants’ files from their Overland Park, Kansas facilities and a voluminous quantity of

   20 electronic data (collectively, the “Documents”). The Monitor believes that the Documents

   21 properly belong to the Defendants upon the termination of the Monitorship. The Monitor

   22 proposes that the Defendants shall be provided 30 days to notify the Monitor of their intent to

   23 take possession of the Documents and 45 days thereafter to take possession of the Documents.

   24 Should none of the Defendants take possession of the Documents within 75 days, the Monitor

   25 would be authorized to shred, delete, or otherwise destroy the Documents.

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Case 3:18-cv-01388-LAB-WVG
        Case 2:12-cv-00536-GMN-VCF
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     1          C.     The Judgments

     2          The Monitor currently holds several outstanding judgments against various third-parties

     3 (collectively the “Judgments”). The Judgments include the following:

     4                A judgment in the amount of $2,416,666.36 against David Feingold, Dylan,
                       Jagger Investment Co., Inc., Homeowners Realty, LLC, UMR Building LLC, and
     5                 United Material Recovery, LLC (ECF Nos. 1290, 1291). This judgment arose out
                       of investments made by EVAS Investments LLC, TBC Investments, LLC (a/k/a
     6                 Think Big Partners), Lightbridge and Level 5 Recycling Holding Company, LLC
                       (a/k/a Level 5 Recycling), all of which Scott Tucker was the sole or majority
     7                 owner;
     8                A judgment in the amount of $2,000,000 plus post-judgment interest against
                       WhamTech, Inc. This judgment arose out of a loan made to WhamTech by Black
     9                 Creek Capital Corporation, a Monitorship entity;
    10                A judgment in the amount of $952,104.47 plus prejudgment interest of
                       $627,860.00 through July 1, 2019, and interest accruing since at $528.95 per day
    11                 against United Resource Holdings, LLC, Kendallwood Senior Properties, LLC,
                       John T. Julian, Linda L. Julian, and Paul K. Thoma. This judgment arose out of
    12                 loans made to these entities/individuals by Westfund, LLC, a Monitorship entity;
                       and
    13
                      A judgment in the amount of $516,928.33 plus prejudgment interest of
    14                 $340,885.52 through July 1, 2019, and interest accruing since at $287.18 per day
                       against United Resource Holdings, LLC, Milan Development Group, LLC, John
    15                 T. Julian, and Paul K. Thoma (see ECF No. 1277). This judgment also arose out
                       of loans made to these entities/individuals by Westfund, LLC, a Monitorship
    16                 entity.
    17          The Monitor believes that he no longer has the authority to pursue collection of the

    18 Judgments in light of the Supreme Court’s decision.4 As such, similar to the suggestion in

    19 connection with Ongoing Litigation, the Monitor recommends that a limited period of time (such

    20 as 30 days) be provided to allow for a governmental agency or other third party to appear before

    21 the Court and assert an interest in the Judgments. If a movant does not appear prior to the

    22 expiration of the limited period, then the Defendants shall have an additional 30 days in which to

    23 take steps to effectuate an assignment of the Judgments.

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        The Monitor’s efforts to collect on the Judgments have been unsuccessful thus far, and the
    28 Monitor believes any future collection efforts are likely to face a variety of challenges.

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Case 3:18-cv-01388-LAB-WVG
        Case 2:12-cv-00536-GMN-VCF
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                                                          PageID.3248
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     1          D.     Pending and Voided Settlements

     2          The Monitor entered into a settlement agreement with non-party Ward Katz regarding an

     3 ownership interest in certain property (the “Katz Settlement Agreement”). Under the terms of

     4 the Katz Settlement Agreement, Ward Katz and related entities agreed to pay the Monitor

     5 $175,000 per the terms of the agreement. (ECF No. 1307-1.) The Katz Settlement Agreement is

     6 contingent upon Court approval, which motion is currently pending before this Court. (ECF

     7 No. 1307.) The motion to approve the settlement was filed on March 23, 2021, and thus prior to

     8 the Supreme Court’s decision; however, in light of the Supreme Court’s ruling, the Monitor does

     9 not believe he currently has the authority to pursue the pending motion to approve the settlement.

    10 The Monitor therefore recommends that some limited period of time (again, 30 days seems

    11 appropriate) be provided to allow for a Defendant, a governmental agency, or a third party to

    12 move the Court to assert a right to pursue the pending motion. If no movant comes forward prior

    13 to the expiration of this limited period, the Monitor will withdraw the motion before this Court

    14 and dismiss the underlying litigation pending in Kansas.

    15          Second, as previously noted for the Court, the Monitor is presently holding $510,000 in

    16 settlement payments made by a third party pursuant to a confidential Court-approved settlement

    17 entered last year. The express terms of that settlement agreement, however, allow the settling

    18 party to declare the settlement null and void and demand the return of the settlement payments if

    19 the Supreme Court reversed the decision in this case. The settling party has now declared the

    20 settlement void in light of the Supreme Court’s decision and is seeking return of the payments

    21 made. Accordingly, the Monitor respectfully requests the Court’s approval to return those funds

    22 to the third party.

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Case 3:18-cv-01388-LAB-WVG
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     1 II.      CONCLUSION

     2          Once the above issues have been resolved, the Monitor will promptly file his Final

     3 Report and wind down the Monitorship consistent with the terms of the Monitor Order. (ECF

     4 No. 1099, see § XVIII, Monitor’s Final Report and Disbursements of Assets.) The Monitor

     5 looks forward to addressing the above-identified matters and any other issues the Court would

     6 like to discuss at the status conference on July 13, 2021.

     7

     8 Dated: July 7, 2021                           MCNAMARA SMITH LLP

     9
                                                     By:       /s/ Logan D. Smith
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    18
                                                           Attorneys for Court-Appointed Monitor,
    19                                                     Thomas W. McNamara
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        Case 2:12-cv-00536-GMN-VCF
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     1                                 CERTIFICATE OF SERVICE

     2         I hereby certify that on the 7th day of July, 2021, pursuant to Fed. R. Civ. P. 5(b), I
       served via CM/ECF or delivered by email and mailing in the U.S. Mail a true and correct copy of
     3 the foregoing MONITOR’S STATEMENT RE: JULY 13, 2021 STATUS CONFERENCE,
       postage prepaid and addressed to the following:
     4
       VIA CM/ECF                                          VIA CM/ECF
     5 Kimberly L. Nelson                                  Paul C. Ray
       Federal Trade Commission                            Paul C. Ray, Chtd.
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       Email: knelson@ftc.gov                              Attorneys for AMG Capital Management, LLC;
     9 Attorneys for FTC                                   Level 5 Motorsports, LLC; Black Creek
                                                           Capital Corporation; Broadmoor Capital
    10                                                     Partners, LLC; Scott A. Tucker; Park 269 LLC

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    15  /s/ Logan D. Smith
       Logan D. Smith
    16 Attorneys for the Court-Appointed Monitor,
       Thomas W. McNamara
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                            EXHIBIT B
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        Case 2:12-cv-00536-GMN-VCF
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     Attorney for Plaintiff Federal Trade Commission
14
15
                                 UNITED STATES DISTRICT COURT
16                                    DISTRICT OF NEVADA

17   FEDERAL TRADE COMMISSION,
18                                                     Case No. 2:12-cv-536
                             Plaintiff,
19
                     v.                                RESPONSE OF FEDERAL TRADE
20                                                     COMMISSION TO DEFENDANTS’
21   AMG Services, Inc., et al.,                       RESPONSE TO MONITOR’S
                                                       REQUEST FOR STATUS
22                           Defendants, and           CONFERENCE (ECF NO. 1309)

23   Park 269 LLC, et al.,
24
                             Relief Defendants.
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        Case 2:12-cv-00536-GMN-VCF
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1           Plaintiff, Federal Trade Commission (“FTC”), joins in the Monitor’s request for a status
2    conference once the case has been remanded to this Court. But first, the FTC must correct the
3    false statements in Defendants’ Response to Monitor’s Request for Status Conference (ECF No.
4    1309, “Response”) concerning the origin of the monitorship.
5           Defendants Scott Tucker, AMG Capital Management, LLC, Level 5 Motorsports, LLC,
6    Black Creek Capital Corporation, and Broadmoor Capital Partners (collectively, “Tucker
7    Defendants”) misrepresent the series of events that led to the parties’ agreement in the Order
8    Appointing Monitor and Freezing Assets (ECF No. 1099 (the “Monitor Order”)). The post-
9    judgment Monitor Order was not imposed on the Tucker Defendants, or Relief Defendants Park
10   269 LLC and Kim Tucker. Quite the opposite – the parties’ counsel heavily negotiated the
11   Monitor Order, and then jointly requested that this Court enter it. See, e.g., Joint Motion to Enter
12   Stipulated Order Appointing Monitor and Freezing Assets (ECF No. 1095). The Tucker
13   Defendants and Relief Defendants had a choice: (a) enter into the Monitor Order; or (b) pursue
14   their appeals, and obtain a stay of execution by posting an appeal bond. See, e.g., FED. R. CIV. P.
15   62. They did not choose route (b), perhaps in part because Defendant Scott Tucker was facing
16   potential jail time for his role in the same payday lending scam at issue in this case. Regardless
17   of the motivation, in no way was the Monitor Order entered against the Tucker Defendants and
18   Relief Defendants without their input and consent.1
19          Further, every action the Monitor has instituted to recover funds or liquidate assets has
20   been expressly authorized by the Tucker Defendants and Relief Defendants. The Monitor
21   liquidated some assets pursuant to the specific provisions negotiated in the Monitor Order. Other
22   assets he sold only after express authorization from the asset holder pursuant to Section VIII of
23   the Monitor Order. Monitor Order, Sections VIII.B-C (Monitor can liquidate assets after Tucker
24
25
     1
26    This Court extended the duration of the Monitor’s appointment without objection just last
     summer. See Monitor’s Motion to Extend Completion Deadline for Monitor (First Request)
27   (ECF No. 1093) (requesting two-year extension); and Order (ECF No. 1094) (extending
     Monitorship for an additional year).
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        Case 2:12-cv-00536-GMN-VCF
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1    Defendants’ or Relief Defendants’ written consent; and approving the agreed-upon sale of all
2    assets of Level 5 Motorsports). Finally, assets recovered from third parties were expressly
3    contemplated, and permitted, under the Monitor Order. See Sections VIII.G, R-T. In short, there
4    have been no surprises for any of the defendants – everything that has been liquidated was done
5    with their permission. For that reason, the Tucker Defendants’ argument that the Monitor should
6    not be paid for this work is disingenuous.
7              Although the monetary relief awarded in this case will be vacated because it was
8    predicated on Section 13(b) authority that no longer exists, other circumstances may prevent the
9    Tucker Defendants and Relief Defendants from recovering anything from the Monitorship
10   Estate. Specifically, the assets the Monitor holds in the Monitorship account are likely all
11   subject to recovery in Defendant Scott Tucker’s criminal case. As this Court is aware, Scott
12   Tucker was convicted in a criminal action brought by the United States Attorney’s Office for the
13   Southern District of New York. United States v. Scott Tucker, et al., No. 16 cr 091 (PKC)
14   (S.D.N.Y.) (the “Criminal Case”). In the Criminal Case, the Court entered a $3.5 billion
15   judgment against Scott Tucker, and imposed a 200-month prison sentence, which Tucker is
16   currently serving.2 See Judgment in a Criminal Case (Criminal Case ECF No. 322) (entering
17   200-month prison sentence plus three years of supervised release); Amended Preliminary Order
18   of Forfeiture as to Specific Property/Money Judgment at 8 (Criminal Case ECF No. 344)
19   (entering $3.5 billion money judgment). Defendant Tucker has not satisfied the $3.5 billion
20   criminal judgment.
21             Lastly, the FTC joins in the Monitor’s request for a status conference. The FTC supports
22   an orderly wind-up of the Monitorship Estate similar to that already contained in Section XVIII
23   of the Monitor Order. Given the numerous issues that remain in both the Monitor’s third-party
24   recovery actions, and those in the Criminal Case, a status conference will allow the Court and the
25   parties to address all of these matters at once. However, until the remand issues, this Court lacks
26
27   2
         Defendant Tucker has exhausted all appeals of his conviction. Scott Tucker v. United States,
         No. 20-6936 (U.S.) (cert. denied Feb. 22, 2021).
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        Case 2:12-cv-00536-GMN-VCF
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1    jurisdiction to act. See FED. R. CIV. P. 60(a), 62.1; McClatchy Newspapers v. Central Valley
2    Typographical Union, 686 F.2d 731, 734 (9th Cir. 1982) (holding that the filing of a notice of
3    appeal generally divests the district court of jurisdiction over the matters appealed). Given the
4    complexity of the issues, but also the need for enforceable orders on these subjects, the FTC
5    requests that the Court not schedule the status conference until the case has been formally
6    remanded to this Court.
7
8    Dated: May 20, 2021                           Respectfully submitted by:
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                                      CERTIFICATE OF SERVICE
1
2    I, Kimberly L. Nelson, certify that, as indicated below, the parties listed below were served by
     ECF with RESPONSE OF FEDERAL TRADE COMMISSION TO DEFENDANTS’
3    RESPONSE TO MONITOR’S REQUEST FOR STATUS CONFERENCE (ECF NO.
     1309) filed with the Court.
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9    I further certify that the parties listed below were served by electronic mail.
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15                                                             Kimberly L. Nelson
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    10
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    11
    12                      UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF CALIFORNIA
    13
    14 THOMAS W. MCNAMARA, as the             Case No. '21CV1245 AJB JLB
       Court-Appointed Receiver for Triangle
    15 Media Corporation, Apex Capital        RECEIVER’S COMPLAINT FOR:
       Group, LLC; and their successors,
    16 assigns, affiliates, and subsidiaries,
                                              (1) Aiding and Abetting Fraud;
    17                       Plaintiff,       (2) Conspiracy to Commit Fraud;
             v.                               (3) Breach of Fiduciary Duty;
    18                                        (4) Aiding and Abetting Breach of
       WELLS FARGO & COMPANY, a               Fiduciary Duty;
    19 corporation, WELLS FARGO BANK, (5) Aiding and Abetting Conversion;
       N.A., a national banking association,  (6) Violation of California Penal Code
    20                                        § 496;
                             Defendants.      (7) Violation of California Business &
    21                                        Professions Code § 17200;
                                              (8) Aiding and Abetting Fraudulent
    22                                        Transfers and/or Voidable Transfers;
                                              (9) Unjust Enrichment/Constructive
    23                                        Trust;
                                              (10) Negligent Supervision (in the
    24                                        Alternative);
                                              (11) Negligence (in the Alternative);
    25                                        and
                                              (12) Request for an Accounting
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     1         Plaintiff, Thomas W. McNamara (“Plaintiff” or “Receiver”), in his capacity
     2 as the court-appointed receiver for the Triangle and Apex Enterprises, as defined
     3 below, hereby brings the following Complaint against Wells Fargo & Company
     4 and Wells Fargo Bank, N.A. (collectively, “Wells Fargo,” the “Bank,” or
     5 “Defendants”) and alleges the following.
     6 I.      INTRODUCTION: A NEW REVELATION OF WELLS FARGO’S
     7         FACILITATION OF CONSUMER FRAUD
     8         1.    The Receiver brings this action against Wells Fargo to recover
     9 damages suffered as a result of Wells Fargo’s knowing provision of substantial
    10 assistance to two multi-million-dollar fraudulent schemes perpetrated by the
    11 former operators of Triangle Media Corporation (“Triangle”) and Apex Capital
                      1
    12 Group (“Apex”).
    13         2.    The Receiver was appointed after the Federal Trade Commission
    14 (“FTC”) brought lawsuits against the Triangle and Apex Enterprises in 2018.        The
    15 Enterprises ran similar, though separate, Internet risk-free trial schemes marketing
    16 dozens of products, most of which were personal care products and dietary
    17 supplements that purported to promote enhanced weight loss, hair growth, clear
    18 skin, muscle development, sexual performance, and cognitive abilities. Consumers
    19 were offered “free” trials of the products for “just the cost of shipping and
    20 handling,” usually $4.95. Two weeks after consumers signed up for the “trial,”
    21 they were charged the full price of the product (roughly $90) and enrolled in
    22 continuity programs, which continued to ship products on a monthly basis—
    23 charging the consumer the full $90 each time, of course. Cancellation was difficult
    24 and obtaining a refund was nearly impossible. The schemes, a category of frauds
    25
    26
         1
    27  Triangle and Apex, along with their related entities and the individuals
       controlling those entities, are referred to herein as the “Triangle Enterprise” and the
    28 “Apex Enterprise,” respectively, and collectively as the “Enterprises.”
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     1 known as “negative option schemes,” were incredibly successful, raking in more
     2 than $200 million from consumers.
     3        3.     To execute the schemes, the Enterprises recruited unrelated
     4 individuals (sometimes referred to as “fronts”, “signors”, “nominees” or “straw
     5 owners”) and paid them a modest monthly fee for the use of their names and
     6 identities to establish approximately 100 shell companies. The Enterprises then
     7 immediately turned to Wells Fargo, which opened scores of Wells Fargo bank
                                        3
     8 accounts – more than 150 in total – in the names of the shell companies. Having
     9 the Wells Fargo bank accounts was a prerequisite for the Enterprises to secure
    10 accounts with merchant processors, which the Enterprises needed to accept
    11 consumers’ credit and debit card payments.
    12        4.     Crucially, the Enterprises were able to obtain continued access to
    13 accounts with merchant processors, while concealing the identities of the
    14 Enterprises’ owners from the merchant processors. The practice of processing
    15 credit card transactions through other companies’ merchant accounts is known as
    16 “credit card laundering,” and it is an unlawful practice used by fraudulent
    17 merchants, like the Enterprises, to circumvent credit card associations’ monitoring
    18 programs and avoid detection by consumers and law enforcement.
    19        5.     Through his independent investigation, which gave him access to the
    20 Enterprises’ email communications with Wells Fargo and Wells Fargo bank
    21 account statements, the Receiver discovered that Wells Fargo was providing
    22 substantial, knowing assistance to both the Triangle and Apex Enterprises’ sales
    23
    24   2
         “Risk-free” trial scams are sometimes referred to as negative option scams,
    25 because  they require consumers to affirmatively opt out (i.e., exercise a negative
       option) of a program to avoid being charged.
    26 3
         References to the numbers of Apex and Triangle-related bank accounts identified
    27 herein are estimates based on calculations made by the Receiver using only on
       information presently available to him. The number is likely to grow when
    28 information on Wells Fargo is received in discovery.
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     1 scams.
     2        6.     Wells Fargo bankers were aware of the Enterprises’ risk-free trial
     3 schemes, understood the people listed as “owners” of the Wells Fargo accounts did
     4 not actually own or control them, and knew the Enterprises were engaged in credit
     5 card laundering. Despite this knowledge, Well Fargo gladly opened more than
     6 150 bank accounts for the shell companies and straw owners, sometimes opening
     7 as many as 6 bank accounts in one day. Wells Fargo then allowed millions of
     8 dollars to be deposited in the accounts, knowing that these funds were unlawfully
     9 obtained in the risk-free trial schemes, and afterwards allowing the Enterprises’
    10 operators to transfer their ill-gotten gains from the shell accounts to third-party
    11 bank accounts, including accounts located outside of the United States.
    12        7.     The principals of the Apex and Triangle Enterprises came to rely
    13 heavily upon Wells Fargo to aid their frauds by providing them with law oversight
    14 and atypical banking services, widely deviating from accepted banking standards
    15 and violating applicable banking laws and regulations. As one telling example of
    16 this from very early in the Triangle scheme, owner Brian Phillips recruited a son
    17 and his mother to serve as straw owners of two of the shell companies Phillips
    18 actually owned. Wells Fargo promptly opened the bank accounts for the shell
    19 companies, listing the straw owners as “owners” of the accounts, and gave Phillips
    20 complete control over the shell accounts to Phillips. When the son expressed
    21 concerns that Wells Fargo might call his unaware mother to conduct due diligence
    22 into the relationship, Phillips plainly explained that it was Wells Fargo, and that
    23 would not be happening, emailing him:
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     1 Phillips was right. Wells Fargo didn’t call her.
     2        8.     And during the period in which the Apex and Triangle Enterprises’
     3 risk-free trial scams were operating, Wells Fargo was indeed “totally different”
     4 from its banking peers.      As Wells Fargo has since admitted, Wells Fargo’s
     5 established corporate policies and sales incentives were fueling a high-pressure
     6 sales culture that required its bankers to open as many accounts as possible. As a
     7 direct result of that pernicious sales culture, and with the ongoing knowledge and
     8 authorization of Wells Fargo, an array of Wells Fargo bankers in multiple branch
     9 offices in California (and in a few cases, Texas) deliberately assisted the operators
    10 of the Apex and Triangle risk-free trial scams for an astonishingly long period of
    11 time: from at least 2009 to 2018 for the Triangle fraud and from at least 2014 to
    12 2018 for the Apex fraud (“the Relevant Period”), until the filing of the FTC actions
    13 finally shut them down.
    14        9.      The Bank’s high-pressure sales culture and near unattainable sales
    15 goals drove Wells Fargo bankers to open accounts regardless of the risk to the
    16 Bank or others; if the employees failed to deliver, the consequences were severe:
    17 “[i]t was common knowledge within the Bank that employees who could not meet
    18 sales goals could and would be terminated,” and “[e]mployees’ incentive
    19 compensation and promotional opportunities depended on their ability to meet the
                                 4
    20 unreasonable sales goals.” As discussed in greater detail below, this drive for new
    21 accounts aligned perfectly with the Enterprises’ constant need for shell accounts.
    22        10.    In the aftermath of Wells Fargo’s much-publicized unauthorized
    23 accounts scandal caused by this sales culture, Wells Fargo’s newly-installed CEO
    24 described the bank’s corporate policies as excessively “focus[ed] on growing the
    25
    26   4
         January 23, 2020 Office of the Comptroller of the Currency Notice Of Charges
    27 For  Orders Of Prohibition And Orders To Cease And Desist And Notice Of
       Assessments Of A Civil Money Penalty, AA-EC-2019-82 et al. (Jan. 23, 2020)
    28 (“OCC Notice of Charges”) ¶¶ 72, 77.
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                                                  07/08/21 PageID.3264
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                                                                          6 of2788of 118




     1 number of accounts,” admitting that Wells Fargo’s actions were “just stupid.”
     2 Unfortunately for Wells Fargo and the victims here, this “stupid” conduct had
     3 devastating consequences, as these policies encouraged and rewarded Wells Fargo
     4 bankers for aiding and abetting fraud in order to satisfy the pressurized sales
     5 culture and hit sales quotas. The Receiver’s investigation revealed that Wells
     6 Fargo knowingly facilitated the opening of accounts by the Enterprises’ principals
     7 for use in their fraud, all while making a conscious decision to let the fraud go
     8 unreported.
     9         11.   Wells Fargo’s misconduct centered around the Community Bank,
    10 which was the largest of Wells Fargo’s three business units and contributed more
    11 than half (and in some years more than three-quarters) of the Bank’s revenue. The
    12 Community Bank was responsible for the everyday banking products sold to
    13 businesses such as the Enterprises in this case.
    14         12.   Commenting on the widespread nature of Wells Fargo’s misconduct
    15 in the Community Bank, the Office of the Comptroller of the Currency (the
    16 “OCC”), the federal bank regulator which ensures safe and sound banking, found
    17 that: “To the extent [Wells Fargo] did implement controls, the Bank intentionally
    18 designed and maintained controls to catch only the most egregious instances of the
    19 illegal conduct that was pervasive throughout the Community Bank.” OCC Notice
    20 of Charges ¶ 6. Consistent with this finding, the Receiver’s investigation has led
    21 him to conclude that Wells Fargo intentionally designed and maintained controls
    22 which served to conceal—rather than unmask—its customers’ illegal activities,
    23 which Wells Fargo was actively facilitating.
    24         13.   Wells Fargo knowingly assisted the operators of the Apex and
    25 Triangle Enterprises, including by, among other things: (i) authorizing or allowing
    26 the use of atypical banking procedures to assist the Enterprises in their frauds, (ii)
    27 counseling the Enterprises on how to set up deceptive bank accounts with straw
    28 owners, which enabled them to hide the fraud, (iii) accepting deposits obtained
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     1 through the fraud, and (iv) authorizing suspicious inter-company transfers that
     2 enabled the wrongdoers to secrete the proceeds of their fraud, including in
     3 accounts located outside of the United States.
     4         14.   Wells Fargo has admitted wrongdoing and paid substantial fines and
     5 restitution for one consequence of its illegal sales culture, namely, the creation of
     6 fraudulent accounts in customers’ names, opened without their consent. But the
     7 Receiver’s investigation revealed that there were other, previously unidentified
     8 consequences of Wells Fargo’s sales culture and its actions here: in this case, the
     9 consequences were hundreds of millions of dollars in harm, done to the thousands
    10 of consumers who signed up for Apex’s and Triangle’s risk-free trials, and the
    11 resulting liability of the Receivership Entities to make the defrauded consumers
    12 whole. To date, Wells Fargo has never compensated this newly-identified category
    13 of victims, including the Receivership Entities, that were harmed by Wells Fargo’s
    14 sales culture and the resulting conduct that aided these fraudulent businesses.
    15         15.   The Receiver is therefore seeking to recover damages for the harm
    16 proximately caused to the Apex and Triangle Receivership Entities by Wells
    17 Fargo, including, but not limited to: (i) the Receivership Entities’ legal obligations
    18 to satisfy the FTC judgments, which were premised on misconduct that could not
    19 have occurred but for Wells Fargo’s assistance, (ii) the fees charged by Wells
    20 Fargo in connection with their account services, (iii) the account funds which were
    21 improperly transferred out of the Receivership Entities’ accounts by Wells Fargo at
    22 the direction of the Enterprises’ principals, and (iv) the costs of defending the
    23 actions by the FTC (including the resulting Receiverships).
    24 II.     PRIOR FEDERAL TRADE COMMISSION PROCEEDINGS AND
    25         THE APPOINTMENTS OF THE RECEIVER
    26         16.   In June 2018 and November 2018, the FTC brought separate lawsuits
    27 in the Southern and Central Districts of California against Triangle Media
    28 Corporation and Apex Capital Group, LLC and their related entities (the
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         3:21-cv-01245-AJB-JLB
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                                                  07/08/21 PageID.3266
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                                                                          8 of2988of 118




     1 “Triangle” and “Apex” actions), respectively, each of which was operating
     2 deceptive online risk-free trial offer schemes in violation of consumer protection
     3 statutes.     The FTC sued to obtain temporary, preliminary, and permanent
     4 injunctive relief, rescission or reformation of contracts, restitution, the refund of
     5 monies paid, disgorgement of ill-gotten gains, and other equitable relief. The FTC
     6 filed amended complaints in December 2018 and May 2019 in the Triangle and
     7 Apex actions, respectively.
     8         A.     The Apex Action
     9         17.    Plaintiff is the Court-appointed Receiver in the Apex action: Federal
    10 Trade Commission v. Apex Capital Group, LLC, et al., Case No. 2:18-cv-09573-
    11 JFW (JPRx) (C.D. Cal.).       The Apex Preliminary Injunctions (the “Apex PIs,” id.,
    12 ECF Nos. 40 (Peikos) and 41 (Barnett)) direct the Receiver to preserve the value of
    13 the assets of the Receivership Estate and authorize the Receiver to institute actions
    14 to preserve or recover those assets. See id., ECF Nos. 40, 41 at 19-23.
    15         18.    Receivership Entities subject to the Apex action are expressly defined
                                                          5
    16 to include the following: the Corporate Defendants, the Wyoming Related
                 6                               7
    17 Companies, and the U.K. Related Companies. Apex PIs at 7, Definition K. In
    18 addition, the term “Receivership Entities” is defined to include “any other entity
    19 that has conducted any business related to Defendants’ marketing or sale of
    20
    21   5
         The Corporate Defendants include: Apex Capital Group, LLC; Capstone Capital
    22 Solutions Limited; Clik Trix Limited; Empire Partners Limited; Interzoom Capital
       Limited; Lead Blast Limited; Mountain Venture Solutions Limited; Nutra Global
    23 Limited; Omni Group Limited; Rendezvous IT Limited; Sky Blue Media Limited;
       and Tactic Solutions Limited; and each of their subsidiaries, affiliates, successors,
    24 and assigns. Apex PIs at 6, Definition C.
       6
    25 The Wyoming Related Companies include entities formed in Wyoming by
       Defendants, in the names of nominees, for the sole purpose of fronting merchant
    26 accounts. They are identified in Exhibit A to the Apex action Complaint.
       7
    27 The U.K. Related Companies include entities formed in the U.K. by Defendants,
       in the names of nominees, to front merchant accounts. They are identified in
    28 Exhibit B to the Apex action Complaint.
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                                                  07/08/21 PageID.3267
                                                            PageID.9 Page
                                                                       Page
                                                                          9 of3088of 118




     1 products with a Negative Option Feature, including receipt of Assets derived from
     2 any activity that is the subject of the Complaint in this matter, and that the
     3 Receiver determines is controlled or owned by any Defendant.” Id. To date, the
     4 Receiver has determined that multiple additional entities qualify as Receivership
                                      8
     5 Entities under this definition. These entities are collectively referred to herein as
     6 the “Apex Enterprise.”
     7         19.    As alleged in the Apex Complaint, Philip Peikos (“Peikos”) and his
     8 one-time partner, David Barnett (“Barnett), and their agents ran an online “free
     9 trial” subscription scam through the Apex Enterprise.            Peikos was the Chief
    10 Executive Officer and co-owner of Apex. At all times material to this Complaint,
    11 acting alone or in concert with others, he formulated, directed, controlled, had the
    12 authority to control, or participated in the acts and practices of the Apex Enterprise.
    13         20.    Barnett was the Chief Operating Officer of the Apex Enterprise. He
    14 was a co-owner of the Apex Enterprise until at least late 2017, when he transferred
    15 his shares to Peikos. At times material to this Complaint, acting alone or in concert
    16 with others, he formulated, directed, controlled, had the authority to control, or
    17 participated in the acts and practices of the Apex Enterprise.
    18         21.     On September 11, 2019, the FTC and the Apex defendants stipulated
    19 to the entry of Orders for Permanent Injunctions (barring them from their illegal
    20 conduct) and Monetary Judgments resolving all matters in dispute between them.
    21         B.    The Triangle Action
    22         22.   Plaintiff is also the Court-appointed Receiver in the Triangle action:
    23
    24
    25   8
         These include five nominee entities formed by Defendants for the purpose of
    26 opening  new merchant accounts to conduct business inextricably related to the
       FTC v. Apex defendants’ sale of products with a Negative Option Feature: Albright
    27 Solutions LLC (“Albright”); Asus Capital Solutions LLC (“Asus Capital”);
       Element Media Group LLC (“Element”); NextLevel Solutions LLC
    28 (“NextLevel”); and Vortex Media Group LLC (“Vortex”).
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     3:18-cv-01388-LAB-WVG
         3:21-cv-01245-AJB-JLBDocument
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                                         1 Filed 07/08/21
                                                 11/10/21 PageID.10
                                                          PageID.3268Page
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                                                                          10 31
                                                                             of 88
                                                                                of 118



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     1 FTC v. Triangle Media Corporation, et al, 3:18-cv-01388 (LAB-LL) (S.D. Cal.).
     2 The Temporary Restraining Order (the “Triangle Order,” id., ECF No. 11) which
     3 first appointed the Receiver directs the Receiver to preserve the value of the assets
     4 of the Receivership Estate and authorizes the Receiver to institute actions to
     5 preserve or recover those assets. See id. at 18-19.
     6         23.    Receivership Entities subject to the Triangle Receivership are
     7 expressly defined to include Corporate Defendants Triangle Media Corporation
     8 (“Triangle”), Hardwire Interactive Inc. (“Hardwire”), and Jasper Rain Marketing
                                                      10
     9 LLC (“Jasper Rain”), and their respective dbas. Triangle Order at 8, Definition
    10 N. Receivership Entities also include “any other entity that has conducted any
    11 business related to Defendants’ marketing of negative option offers, including
    12 receipt of Assets derived from any activity that is the subject of the Complaint in
    13 this matter, and that the Receiver determines is controlled or owned by any
                  11
    14 Defendant.” These Entities are collectively referred to herein as the “Triangle
    15 Enterprise.”
    16         24.    Brian Phillips (“Phillips”) and his agents operated the Triangle online
    17 “free trial” subscription scam. During the relevant period, Phillips was an owner
    18 and officer of the Triangle Enterprise. At all times material to this Complaint,
    19 acting alone or in concert with others, he formulated, directed, controlled, had the
    20
    21   9
         In the Triangle Complaint, the Corporate Defendants are defined as: Triangle
    22 Media   Corporation also doing business as Triangle CRM, Phenom Health, Beauty
       and Truth, and E-Cigs; Jasper Rain Marketing LLC also doing business as, and
    23 each of their subsidiaries, affiliates, successors, and assigns. The Individual
       Defendant is Brian Phillips.
    24 10
          These dbas include Cranium Power, Phenom Health, Beauty and Truth, and E-
    25 Cigs.
         11
    26   The Receiver has determined that additional entities fall within this definition of
       Triangle-related Receivership Entities: (1) Global Northern Trading Ltd. (“Global
    27 Northern”), a Canadian corporation as to which Triangle transferred more than $44
       million during the period 2013-2018; and (2) the nominee entities formed and
    28 controlled by Phillips but deliberately placed in the names of nominees.
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     3:18-cv-01388-LAB-WVG
         3:21-cv-01245-AJB-JLBDocument
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                                         1 Filed 07/08/21
                                                 11/10/21 PageID.11
                                                          PageID.3269Page
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                                                                          11 32
                                                                             of 88
                                                                                of 118




     1 authority to control, or participated in the acts and practices of the Triangle
     2 Enterprise.
     3         25.     During the relevant period, Devin Keer (“Keer”) was also an owner
     4 and officer of the Triangle Enterprise. At all times material to this Complaint,
     5 acting alone or in concert with others, he formulated, directed, controlled, had the
     6 authority to control or participated in the acts and practices of the Triangle
     7 Enterprise.
     8         26.   On May 30, 2019, the FTC and the Triangle defendants stipulated to
     9 the entry of Orders for Permanent Injunctions (barring them from their illegal
    10 conduct) and Monetary Judgments resolving all matters in dispute between them.
    11         C.    The Receiver’s Investigation of Wells Fargo and Discovery of
    12               Wells Fargo’s Wrongful Conduct.
    13         27.   After conducting his initial investigations, the Receiver filed
    14 preliminary reports as to his conclusions in each of the Triangle and Apex FTC
    15 actions. In both cases, the Receiver determined that the businesses could not
    16 continue to be operated lawfully and profitably.
    17         28.   Based on initial and subsequent reviews of internal Apex and Triangle
    18 emails and bank records, the Receiver’s investigation revealed that Wells Fargo
    19 was aiding and abetting both Enterprises by providing similar atypical banking
    20 services, as detailed herein, in furtherance of the frauds.
    21         29.   During the investigation, the Receiver issued subpoenas to Wells
    22 Fargo regarding their relationships with the Apex and Triangle Enterprises.         In
    23 response, Wells Fargo made incomplete productions. On information and belief,
    24 numerous internal bank records, including electronic documents and internal
    25 communications, still exist regarding the Apex and Triangle Enterprises, as Wells
    26 Fargo was obligated under applicable banking regulations and laws to maintain
    27 such records.
    28         30.   In late October 2019 and January 2020, the Receiver filed motions in
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     3:18-cv-01388-LAB-WVG
         3:21-cv-01245-AJB-JLBDocument
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                                       154
                                         1 Filed 07/08/21
                                                 11/10/21 PageID.12
                                                          PageID.3270Page
                                                                       Page
                                                                          12 33
                                                                             of 88
                                                                                of 118




     1 the Triangle and Apex actions, respectively, advising the Courts that he wished to
     2 retain counsel to pursue claims against Wells Fargo on behalf of the Receivership
     3 Entities. In the Triangle action, on November 19, 2019, Judge Burns ruled that
     4 “the Court finds good cause exists to grant the Receiver’s motion to (1) extend the
     5 receivership for the sole purpose of pursuing litigation against Wells Fargo, (2)
     6 permit the Receiver to retain contingency counsel, and (3) administratively close
     7 the case while that litigation is pursued.” In the Apex action, on March 9, 2020,
     8 Judge Walter similarly permitted the Receiver to retain contingency counsel to
     9 pursue claims against Wells Fargo.
    10 III.    PARTIES
    11         31.    Plaintiff Thomas W. McNamara is the Court-appointed Receiver of
    12 the Triangle and Apex Entities. Triangle’s principal place of business was 1350
    13 Columbia Street, San Diego, California 92101 until May 17, 2018, when it filed
    14 paperwork with the California Secretary of State changing its principal place of
    15 business to Tampa, Florida, though the center of operations remained in San
    16 Diego.     Apex was a Wyoming limited liability company which had business
    17 addresses in Westlake Village, California; Jackson, Wyoming; Beverly Hills, CA;
    18 and Woodland Hills, CA, though it was always, to the Receiver’s knowledge,
    19 operated out of California during the Relevant Period.
    20         32.    Defendant Wells Fargo & Company is a nationwide, diversified,
    21 financial services company.         Upon information and belief, its corporate
    22 headquarters are located in San Francisco, California. Defendant Wells Fargo &
    23 Company is the parent company of Wells Fargo Bank, N.A.
    24         33.    Defendant Wells Fargo Bank, N.A. is organized as a national banking
    25 association under the laws of the United States. Upon information and belief, its
    26 corporate headquarters are located in South Dakota. It maintains multiple offices
    27 in the State of California and the Southern District of California for the purposes of
    28 maintaining checking, savings, business, and merchant accounts, and engaging in
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     3:18-cv-01388-LAB-WVG
         3:21-cv-01245-AJB-JLBDocument
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                                         1 Filed 07/08/21
                                                 11/10/21 PageID.13
                                                          PageID.3271Page
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                                                                          13 34
                                                                             of 88
                                                                                of 118




     1 other business activities.
     2         34.     The Defendants are collectively referred to herein as “Wells Fargo,”
     3 the “Bank,” or “Defendants.”
     4 IV.     JURISDICTION AND VENUE
     5         35.     This Court has jurisdiction over this matter under 28 U.S.C. § 754, 28
     6 U.S.C. § 1345, and 28 U.S.C. § 1367(a), and the doctrines of supplemental and
     7 ancillary jurisdiction. See S.E.C. v. Bilzerian, 378 F.3d 1100, 1107 (D.C. Cir.
     8 2004) (“[T]he receiver’s complaint was brought to accomplish the objectives of the
     9 Receivership Order and was thus ancillary to the court’s exclusive jurisdiction over
    10 the receivership estate”).
    11         36.     Venue in the Southern District of California is proper pursuant to 28
    12 U.S.C. § 1391, because the Triangle Court retained jurisdiction of this matter for
    13 all purposes and appointed the Permanent Receiver in the Southern District of
    14 California on August 24, 2018, and because this proceeding is supplemental to
    15 FTC v. Triangle. See Haile v. Henderson Nat’l Bank, 657 F.2d 816, 822 n.6 (6th
    16 Cir. 1981) (“[W]here jurisdiction is ancillary, the post-jurisdictional consideration
    17 of venue is ancillary as well.”), and because the Triangle action was initiated prior
    18 to the filing of the Apex action in the Central District of California.
    19         37.     The Court may exercise personal jurisdiction over the Defendants
    20 pursuant to 28 U.S.C. § 1692 because the funds sought to be recovered are assets
    21 of the Receivership Entities under the Court’s Orders issued in the Triangle and
    22 Apex actions.
    23         38.     This Court also has personal jurisdiction over Defendants named in
    24 this Complaint because Wells Fargo conducted business in California and it
    25 participated in California-based fraudulent schemes that injured Californians.
    26 Venue is also proper in this District because the conduct at issue took place and
    27 had an effect in this District and Wells Fargo regularly conducted and still
    28 regularly conducts substantial banking business in this District. Defendants have
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     3:18-cv-01388-LAB-WVG
         3:21-cv-01245-AJB-JLBDocument
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                                         1 Filed 07/08/21
                                                 11/10/21 PageID.14
                                                          PageID.3272Page
                                                                       Page
                                                                          14 35
                                                                             of 88
                                                                                of 118




     1 sufficient minimum contacts with the Southern District of California arising from
     2 the specific conduct committed in or directed to the Southern District of California.
     3 V.     WELLS FARGO’S UNATTAINABLE SALES GOALS AND HIGH-
     4        PRESSURE SALES CULTURE DROVE ITS BANKERS TO
     5        PARTICIPATE IN THE ENTERPRISES’ FRAUDS
     6        39.    During the Relevant Period, Wells Fargo engaged in rampant sales
     7 misconduct from the top down. That misconduct has been repeatedly confirmed
     8 by multiple regulators, hearings, and lawsuits.          In September 2016, the
     9 CFPB imposed a fine of $100 million against Wells Fargo for opening more than
    10 two million new accounts not requested by customers in order to generate illicit
    11 fees. The company also paid $35 million to the Office of the Comptroller of the
    12 Currency and $50 million to the City and County of Los Angeles.
    13        40.    Despite signing consent orders with the CFPB and OCC, in 2018,
    14 those same two agencies fined Wells Fargo again (this time for one billion dollars)
    15 for selling unnecessary products to customers and for engaging in other improper
    16 practices. Later, in February 2020, Wells Fargo agreed to pay three billion dollars
    17 to resolve federal civil and criminal investigations into the consumer account
    18 scandal; the settlement of those matters included a deferred prosecution agreement.
    19        41.    Wells Fargo’s sales misconduct began at least as early as 2002. At
    20 that time, the Bank’s internal investigations unit noticed an increase in “sales
    21 integrity” cases.    According to Wells Fargo’s employees, sales goals were
    22 impossible to meet, and incentives for compensation and ongoing employment
    23 necessitated “gaming” the system. Gradually, “gaming,” which was defined in the
    24 Wells Fargo Code of Ethics as “the manipulation and/or misrepresentation of sales
    25 or referrals . . . in an attempt to receive compensation or to meet sales goals,”
    26 became commonplace.
    27        42.    To meet company sales quotas, employees opened accounts and credit
    28 lines, ordered credit cards without their customers’ permission, and forged client
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     3:18-cv-01388-LAB-WVG
         3:21-cv-01245-AJB-JLBDocument
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                                         1 Filed 07/08/21
                                                 11/10/21 PageID.15
                                                          PageID.3273Page
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                                                                          15 36
                                                                             of 88
                                                                                of 118




     1 signatures on paperwork. Some employees urged family members to open ghost
     2 accounts.
     3         43.    Between 2011 and 2015, Wells Fargo employees opened more than
     4 1.5 million deposit accounts and more than 565,000 credit card accounts that may
     5 not have been authorized. On a per-employee basis, the reports of sales-related
     6 misconduct tripled from the second quarter of 2007 through the fourth quarter of
     7 2013.
     8         44.   Despite Wells Fargo’s payment of a combined $185 million penalty to
     9 the OCC, CFPB, and the City and County of Los Angeles in 2016 to settle charges
    10 related to consumer account fraud, the next year in an August 4, 2017 quarterly 10-
    11 Q filing, Wells Fargo said it had expanded the period targeted for review
    12 (previously 2011 through 2015) to 2009 through 2016 and disclosed that the
    13 expansion of the review period could reveal a “significant increase” in
    14 unauthorized accounts.
    15         45.   On January 23, 2020, the OCC brought additional charges against
    16 several Wells Fargo executives for allowing long-term sales misconduct. As the
    17 OCC put it:
    18         The Bank tolerated pervasive sales practices misconduct as an
               acceptable side effect of the Community Bank’s profitable sales
    19         model, and declined to implement effective controls to catch systemic
               misconduct. Instead, to avoid upsetting a financially profitable
    20         business model, senior executives…turned a blind eye to illegal and
               improper conduct across the entire Community Bank….To the extent
    21         the Bank did implement controls, the Bank intentionally designed
               and maintained controls to catch only the most egregious
    22         instances of the illegal conduct that was pervasive throughout the
               Community Bank. In short, Bank senior executives favored profits
    23         and other market rewards over taking action to stop the systemic
               issuance of unauthorized products and services to customers.
    24
               (Emphasis added).
    25
               46.    In 2020, Wells Fargo also entered into a Deferred Prosecution
    26
         Agreement (“DPA”) with the United States Attorney’s Offices for the Central
    27
         District of California and the Western District of North Carolina that included a
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     3:18-cv-01388-LAB-WVG
         3:21-cv-01245-AJB-JLBDocument
                                Document
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                                         1 Filed 07/08/21
                                                 11/10/21 PageID.16
                                                          PageID.3274Page
                                                                       Page
                                                                          16 37
                                                                             of 88
                                                                                of 118




     1 “Statement of Facts” in which Wells Fargo “admitted, accepted, acknowledged as
     2 true” (among other things) that “[d]espite [having] knowledge of the widespread
     3 sales practices problems” as early as 2002 and through 2016, “Community Bank
     4 senior leadership failed to take sufficient action to prevent and reduce the
     5 incidence of unlawful and unethical sales practices.” According to the DPA, Wells
     6 Fargo was alerted to the fraud by “Wells Fargo’s internal investigations unit, the
     7 Community Bank’s own internal sales quality oversight unit, and managers leading
     8 the Community Bank’s geographic regions, as well as regular complaints by
     9 lower-level employees and Wells Fargo customers reporting serious sales practices
    10 violations.”
    11         47.    In the wake of Wells Fargo’s consumer account scandal, the federal
    12 bank regulators, the OCC and the Federal Reserve, initiated a multi-phase “Sales
                                                               12
    13 Practices and Incentive Compensation Horizontal Review,” with the goals
    14 including to determine whether other banks doing the very same things that Wells
    15 Fargo did. After conducting its investigation, the regulators OCC concluded in
    16 2017 that Wells Fargo was unique in terms of its sales culture, which prompted
    17 employees to open unauthorized, and even fraudulent, accounts in order to meet
    18 daily new account goals and keep their jobs. The banking regulators’ review
    19 confirmed that Wells Fargo’s banking peers, unlike Wells Fargo, had taken
    20 seriously the significant compliance risks caused by an overly aggressive sales
    21 culture and lax oversight of branches.
    22         48.    In other words, Wells Fargo’s misconduct was not the norm within the
    23 industry and was tethered to Wells Fargo’s uniquely toxic sales culture. That same
    24 culture is at issue here but in an entirely different context, and one that was only
    25 discovered after the Receiver was appointed. Here, Wells Fargo’s corporate focus
    26
    27   12
         That review initially covered all large national banks, like Wells Fargo, and later
    28 significant regional banks.
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     3:18-cv-01388-LAB-WVG
         3:21-cv-01245-AJB-JLBDocument
                                Document
                                       154
                                         1 Filed 07/08/21
                                                 11/10/21 PageID.17
                                                          PageID.3275Page
                                                                       Page
                                                                          17 38
                                                                             of 88
                                                                                of 118




     1 on the opening of new accounts at any cost resulted in the Bank opening roughly
     2 one hundred and fifty bank accounts for shell companies across the Apex and
     3 Triangle frauds—accounts which Apex and Triangle’s principals required to
     4 secure merchant payment processing services (leaning on Wells Fargo’s
     5 imprimatur and reference letters to convince the processors of the accounts’
     6 legitimacy) and then used to launder the proceeds from their consumer frauds.
     7 VI.     WELLS FARGO’S CREATION AND MAINTENANCE OF BANK
     8         ACCOUNTS FOR DECEPTIVE SHELL COMPANIES WERE
     9         ESSENTIAL TO THE FRAUDS
    10         49.    The Apex and Triangle frauds were simple in concept: bait
    11 consumers with deceptive internet ads offering “risk-free” trials for only the cost of
    12 shipping, and then use the consumers’ billing information to charge for the product
    13 and impose a monthly continuity charge. Make it impossible to cancel. These
    14 schemes defrauded consumers of hundreds of millions of dollars.
    15         50.   Simple as it was, the con was effective. Consumers would be offered
    16 a full month’s supply of a featured product and, at the time of the initial order,
    17 would only pay the nominal cost for the shipping and handling of the product. But
    18 if the consumer did not cancel the order and return the unused portion of the
    19 product within a short period of time (often, fourteen calendar days), the Triangle
    20 and Apex Enterprises would automatically charge the consumer’s card for the full
    21 price of the product (usually around $87 or $89). The consumer would also be
    22 enrolled in an auto-ship program when signing up for the “risk-free” trial offer—
    23 meaning that unless the subscription was affirmatively canceled, the consumer was
    24 automatically charged monthly for additional product.
    25         51.   Both the Apex and Triangle schemes required access to a steady
    26 stream of new bank accounts to function.           As such, Wells Fargo and the
    27 Enterprises’ objectives were aligned: the Enterprises needed new bank accounts on
    28 a regular basis, and Wells Fargo was constantly pressuring its sales employees to
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     3:18-cv-01388-LAB-WVG
         3:21-cv-01245-AJB-JLBDocument
                                Document
                                       154
                                         1 Filed 07/08/21
                                                 11/10/21 PageID.18
                                                          PageID.3276Page
                                                                       Page
                                                                          18 39
                                                                             of 88
                                                                                of 118




     1 open more bank accounts. As a result, the Enterprises, the individuals behind
     2 them, and the bank developed a symbiotic relationship. Without Wells Fargo’s
     3 assistance, the Enterprises’ frauds could not have survived (let alone thrived) for as
     4 long as they did.
     5        A.     The Payment Processing System and Credit Card Laundering
     6        52.    In order to charge consumers’ credit or debit cards, the Triangle and
     7 Apex Enterprises (the “merchants”) needed to establish an account with a merchant
     8 processor. Merchant processors have access to credit card associations (“card
     9 networks”) like MasterCard and VISA and thereby enable merchants to charge
    10 consumers’ credit cards.
    11        53.    Card networks require all participants within their networks to comply
    12 with detailed rules, including screening processes and underwriting standards for
    13 merchants. These rules are put in place (1) to ensure that the merchants whose
    14 purchases are being processed are legitimate, bona fide businesses, and (2) to
    15 screen out merchants engaged in potentially fraudulent or illegal practices. The
    16 rules also prohibit “credit card laundering,” which encompasses the practice of
    17 processing card charges through the merchant accounts of shell companies like
    18 those used by the Enterprises.
    19        54.     Merchants who pose a heightened risk of fraud to the card networks
    20 are subject to closer scrutiny by their merchant processors and may have their
    21 access to the card networks capped or terminated altogether.
    22        55.    One sign of potential illicit activity by a merchant is the generation of
    23 an excessive number of transactions which have to be refunded to consumers
    24 (“chargebacks”).
    25        56.     Consumers initiate “chargebacks” when they dispute card charges
    26 (most often because of fraud or unauthorized use) by contacting their “issuing
    27 bank,” which is the bank that issued the credit card to the consumer. When a
    28 consumer successfully disputes the charge, the consumer’s issuing bank credits the
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     3:18-cv-01388-LAB-WVG
         3:21-cv-01245-AJB-JLBDocument
                                Document
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                                         1 Filed 07/08/21
                                                 11/10/21 PageID.19
                                                          PageID.3277Page
                                                                       Page
                                                                          19 40
                                                                             of 88
                                                                                of 118




     1 consumer’s card for the disputed amount, and then recovers the chargeback
     2 amount from the merchant processor. The merchant processor, in turn, collects the
     3 chargeback amount from the bank account of its merchant client. In this case,
     4 merchant processors would seek to collect chargebacks from the Enterprises’
     5 Wells Fargo accounts.
     6         57.    In order to detect and prevent illegal, fraudulent, or unauthorized
     7 merchant activity, the card networks operate various chargeback monitoring and
     8 fraud monitoring programs. These chargeback monitoring programs are designed
     9 to flag merchant accounts with excessive chargeback ratios or an excessive number
    10 of chargebacks. For example, if a merchant account has chargeback levels that
    11 exceed the thresholds set by VISA’s chargeback monitoring program, the merchant
    12 is subject to additional monitoring requirements and, in some cases, penalties, and
    13 termination.
    14         58.    Credit card laundering is commonly used by merchants who cannot
    15 meet a merchant processor’s underwriting criteria or who cannot obtain merchant
    16 accounts under their own names (whether because of a prior history of excessive
    17 chargebacks, complaints, use of sales or industry practices prohibited by merchant
    18 processors, or other signs of illegal activity). To conceal their identities, merchants
    19 which are engaged in fraud will often create shell companies to act as fronts, and
    20 apply for merchant accounts under the names of these shell companies. Once the
    21 shell merchant accounts are approved, the fraudulent merchants then launder their
    22 own transactions through the shell companies’ merchant accounts. This allows the
    23 merchants to circumvent card associations’ onboarding and monitoring programs
    24 and avoid detection by consumers and law enforcement.
    25         59.    When a merchant is terminated, or if it has a high-risk account or
    26 excessive chargebacks, its name (and that of the merchant’s owner) is put on a
    27 blacklist, which is often referred to as the “MATCH” list (“Merchant Alert To
    28 Control High-Risk”), as a terminated merchant file (“TMF”). Other reasons for
                                                  18                   Case No. ___________
                                                                   RECEIVER’S COMPLAINT
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     3:18-cv-01388-LAB-WVG
         3:21-cv-01245-AJB-JLBDocument
                                Document
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                                         1 Filed 07/08/21
                                                 11/10/21 PageID.20
                                                          PageID.3278Page
                                                                       Page
                                                                          20 41
                                                                             of 88
                                                                                of 118




     1 being listed as a terminated merchant file include merchant collusion, fraud, and
     2 money laundering. Merchant processors use the MATCH list to screen potential
     3 merchant clients, and merchants on the list are often unable to open an account
     4 with a new merchant processor.
     5        60.    For credit card laundering to be effective long-term and on a large
     6 scale, then, a merchant needs access to a ready supply of merchant processing
     7 accounts, so that the merchants can move sales from one shell company to a
     8 newly-created shell company once the profits have been reaped and the chargeback
     9 rates or other “red flags” have attracted attention. An absolute prerequisite to a
    10 merchant processing account is a bank account in a shell company’s name.
    11 Luckily for Apex and Triangle (and unluckily for consumers), Wells Fargo was
    12 more than happy to provide the latter.
    13        B.     Apex and Triangle’s (Mis)Use of the Credit Card Processing
    14               System
    15        61.    Entities associated with the Triangle and Apex Enterprises showed up
    16 again and again on the MATCH list during the Relevant Period, because they were
    17 flagged as high risk and/or routinely had high card chargebacks.
    18        62.     The average chargeback rate in the United States is 0.2% of the
    19 transaction rate and a chargeback rate greater than 1% is considered excessive.
    20 The Triangle and Apex Entities’ chargeback rates were astronomical, with both
    21 and averaging over 20% on a monthly basis, with some months having chargeback
    22 rates of 70% or higher. The merchant processors would typically cancel accounts
    23 when chargebacks exceeded 3% of sales—a regular occurrence for the Apex and
    24 Triangle Entities.
    25        63.    Merchant processors would not deal with repeat offenders like the
    26 Apex and Triangle principals. To get around the merchant processors’ restrictions,
    27 Apex and Triangle’s owners hid their connection to the fraudulent businesses (and
    28 the high chargeback rates that they generated) by creating phony shell companies.
                                                19                  Case No. ___________
                                                                RECEIVER’S COMPLAINT
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     3:18-cv-01388-LAB-WVG
         3:21-cv-01245-AJB-JLBDocument
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                                         1 Filed 07/08/21
                                                 11/10/21 PageID.21
                                                          PageID.3279Page
                                                                       Page
                                                                          21 42
                                                                             of 88
                                                                                of 118




     1        64.     The Apex and Triangle Enterprises used a host of straw owners
     2 (which they sometimes referred to as “fronts” or “nominees” or “signors”) to act as
     3 the “owners” of the shell companies. These straw owners were individuals who
     4 would act as the “front” for a shell company, often in exchange for a payment of
     5 about $500 per month, typically. The Enterprises would orchestrate the formation
     6 of the shell companies, the opening of the necessary Wells Fargo bank accounts,
     7 and the completion of applications for merchant processing in the shell companies’
     8 names. When the merchant processor inevitably terminated processing for a shell
     9 company (typically due to excessive chargebacks), the Apex and Triangle
    10 Enterprises would use a new nominee to form another shell company and restart
    11 the whole process. Rinse and repeat.
    12        65.     For the scheme to work, the shell companies needed to be able to
    13 establish depository accounts with an actual bank.        Without bank accounts,
    14 merchant processing could not be acquired, and without bank accounts, the shell
    15 companies would have nowhere to transfer the funds they took from consumers.
    16        66.     Enter Wells Fargo.    Wells Fargo’s employees gladly helped the
    17 Enterprises set up bank accounts for the shell companies and readily provided them
    18 with bank reference letters, which the shell companies often needed to secure
    19 merchant processing services. Merchant processors would never have provided
    20 merchant processing for the shell companies had they known the identity of the
    21 entities’ true owners (Apex and Triangle’s principals).
    22        67.     When merchant processors charged consumers’ cards for Apex or
    23 Triangle products, the transactions were processed through accounts secured in the
    24 names of the shell companies. The consumer payments would then be sent to
    25 accounts at Wells Fargo, which nominally belonged to the shell companies but
    26 which were actually controlled by the owners of the Apex and Triangle
    27 Enterprises.    As discussed below, Wells Fargo was well aware of the shell
    28 companies’ true ownership yet continued to assist the Enterprises in their creation
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                                                                 RECEIVER’S COMPLAINT
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     3:18-cv-01388-LAB-WVG
         3:21-cv-01245-AJB-JLBDocument
                                Document
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                                         1 Filed 07/08/21
                                                 11/10/21 PageID.22
                                                          PageID.3280Page
                                                                       Page
                                                                          22 43
                                                                             of 88
                                                                                of 118




     1 of shell bank accounts needed to perpetrate and conceal their fraud.
     2        68.     From at least 2014 through 2018 for the Apex Enterprise, and 2009
     3 through 2018 for the Triangle Enterprise, Wells Fargo provided vital access to the
     4 enable the Enterprises to open approximately 150 Apex and Triangle shell bank
     5 accounts to accept fraudulently-obtained payments from consumers. As detailed
     6 herein, Wells Fargo knew of this scheme, counseled the Enterprises’ principals,
     7 and helped them hide the true ownership of the accounts.
     8 VII. WELLS FARGO’S KNOWING INVOLVEMENT IN THE FRAUDS
     9        A.      Wells Fargo’s Support of the Apex Enterprise
    10        69.     Wells Fargo bankers in California regularly and repeatedly helped
    11 Apex executives advance their credit card laundering scheme in a number of ways.
    12 Wells Fargo bankers like Dominic Testa (Westlake Village Branch) developed
    13 long-term business relationships with Apex’s principals: Peikos (Co-Owner),
    14 Barnett (Co-Owner), and Raul Camacho (“Camacho,” Apex Chief Financial
    15 Officer). Testa and other Wells Fargo bankers were able to keep—and grow—the
    16 Bank’s business with Apex because Wells Fargo was willing to wade into the
    17 muck in ways that other banks would not.
    18        70.     As early as 2014, Wells Fargo was helping Apex executives to open,
    19 and also close, accounts for dozens and dozens of shell companies owned and
    20 controlled by Apex owners Peikos and Barnett. Wells Fargo, and in particular
    21 banker Testa, knew that Peikos and Barnett were using these shell companies to
    22 run high-risk internet sales operations that bilked consumers out of millions of
    23 dollars. At the same time, Wells Fargo had visibility into the high number of
    24 chargeback refunds that were being withdrawn from the shell companies’ Wells
    25 Fargo accounts to repay the alarmingly high proportion of consumers who disputed
    26 the charges.
    27        71.     By early 2015, Apex employee Camacho was Testa’s primary Apex
    28 contact point. Camacho was also often listed as the “owner” of the Wells Fargo
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     3:18-cv-01388-LAB-WVG
         3:21-cv-01245-AJB-JLBDocument
                                Document
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                                         1 Filed 07/08/21
                                                 11/10/21 PageID.23
                                                          PageID.3281Page
                                                                       Page
                                                                          23 44
                                                                             of 88
                                                                                of 118




     1 accounts Testa opened for the shell companies, although Testa was acutely aware
     2 that Peikos and Barnett were the true owners of Apex and the shell company bank
     3 accounts – and Camacho took directions from them. Testa, and other Wells Fargo
     4 bankers, also readily provided prized anonymous bank reference letters for the
     5 shell company accounts, which Apex then used to support merchant processing
     6 applications by the shell companies. Without Wells Fargo’s imprimatur, these
     7 shell companies would not have been able to secure the essential merchant
     8 processing accounts.      Further, without Wells Fargo’s continually providing
     9 atypical bank services for Apex-related shell companies in a host of ways, the
    10 Apex fraudulent enterprise would not have been able to exist.
    11        72.    The Apex Enterprise generated millions of dollars in revenues—
    12 money that left the shell companies’ accounts almost as soon as it hit them. Those
    13 funds went straight into the laundering chute, where Peikos and Barnett used the
    14 Wells Fargo accounts to clean the money, transferring the funds into external
    15 personal and third-party accounts to which they had access.
    16        73.    The success of Apex’s fraudulent scheme was by no means inevitable.
    17 Wells Fargo in particular was in a rare position to stop the fraud very early on.
    18 Moreover, it had an obligation to do so pursuant to a host of banking regulations
    19 and laws. But it never did.
    20        74.    Instead, Wells Fargo actively assisted the Apex Enterprise by
    21 establishing dozens (upon dozens) of bank accounts for the Enterprises’ shell
    22 companies, providing the corresponding bank reference letters for those shell
    23 companies, allowing Apex’s principals to “wash” the dirty proceeds of their fraud
    24 by transferring funds through their Wells Fargo accounts, and otherwise
    25 performing atypical banking services for these fraudulent Enterprises. Through
    26 this and other conduct, coupled with their intentionally lax oversight, Wells Fargo
    27 flouted standard banking practices and in the process violated the Bank Secrecy
    28 Act, anti-money laundering (“AML”) laws, and the Bank’s own internal policies
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     3:18-cv-01388-LAB-WVG
         3:21-cv-01245-AJB-JLBDocument
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                                         1 Filed 07/08/21
                                                 11/10/21 PageID.24
                                                          PageID.3282Page
                                                                       Page
                                                                          24 45
                                                                             of 88
                                                                                of 118




     1 and procedures as they were written; as a result, Wells Fargo’s conduct caused
     2 hundreds of millions of dollars in harm to consumers and to the Receivership
     3 Entities.
     4         75.    During the Relevant Period, the Apex principals dealt primarily with
     5 Wells Fargo bankers at a San Diego branch and at the Westlake Village Branch in
     6 the Los Angeles area, though other branches and bankers assisted the fraud. For
     7 instance, Wells Fargo’s Woodland Hills office opened at least seven accounts for
     8 anonymous Wyoming LLCs that were part of the Apex Enterprise, and closed four
     9 of those accounts once the associated shell companies lost their access to merchant
    10 processing services (i.e., the ability to charge consumers’ credit cards).
    11         76.   On information and belief, the Wells Fargo bankers at the San Diego
    12 Branch, the Westlake Village Branch, and the Woodland Hills Branch, just like
    13 numerous other Wells Fargo Community Bank branches during the Relevant
    14 Period, were operating under intentionally deficient bank practices and policies
    15 effected by the most senior executives at Wells Fargo.           Those practices and
    16 policies featured a reckless quota system that improperly pressured and
    17 incentivized Wells Fargo employees to provide atypical banking services, bend the
    18 rules, and even commit fraud when performing what should have been routine
    19 business tasks.
    20                      (i)   The San Diego Branch
    21         77.   In the Wells Fargo branch located at First and Market Street in
    22 downtown San Diego (the “San Diego Branch”), several bankers, often
    23 collaborating with one another as well as with Apex principals, knowingly
    24 facilitated Apex’s fraud for their own—and Wells Fargo’s—financial gain.
    25         78.   Apex’s relationship with the San Diego Branch began in January
    26 2014, when on two separate days Barnett walked into the branch with formation
    27 documents for eight Wyoming LLCs and asked to open bank accounts in each
    28 LLC’s name. Barnett had no history with the bank; he was a walk-in off the street.
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     3:18-cv-01388-LAB-WVG
         3:21-cv-01245-AJB-JLBDocument
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                                         1 Filed 07/08/21
                                                 11/10/21 PageID.25
                                                          PageID.3283Page
                                                                       Page
                                                                          25 46
                                                                             of 88
                                                                                of 118




     1 The LLC documents that Barnett presented to the branch were also suspect with
     2 numerous indicia of fraud: they were nearly identical, with each of the LLCs based
     3 in Wyoming (which allows for the creation of LLCs without identification of the
     4 principals, effectively anonymizing the entities), each having the same Wyoming
     5 mail drop as its business address, and each having been formed on the same day
     6 four months earlier.
     7         79.   Basic (AML) training that Wells Fargo bankers should have received
     8 during the Relevant Period taught how and why anonymous LLC accounts with
     9 shared addresses (especially a shared Wyoming mail drop) are used to camouflage
    10 ownership and further frauds. Such basic AML training alerted bankers to look for
    11 transactions with other internal accounts in order to identify undisclosed
    12 relationships.    The circumstances required that all of the Apex accounts be
    13 evaluated together with bankers looking for similarities and patterns of activity that
    14 indicate fraud.
    15         80.   Under many banks’ policies, a customer who provided the same
    16 Wyoming mail drop address for multiple applications would have had those
    17 applications further reviewed and then rejected for failing to satisfy bank customer
    18 identification requirements. At a minimum and per industry practice, additional
    19 follow-up by Wells Fargo was required.         A bank following the requisite due
    20 diligence consistent with industry practice would not have permitted these
    21 accounts to be opened.
    22         81.   But the Wells Fargo banker didn’t ask questions. Instead, the banker
    23 promptly completed eight identical—generic—applications for Wells Fargo
    24 accounts for the shell companies. Each of the accounts were funded with minimal
    25 opening deposits (generally $100, which was the minimum amount necessary for
    26 the banker to get sales quota credit for opening the account), and each of the
    27 account applications projected annual gross sales of $100.
    28         82.   Under Wells Fargo’s toxic sales culture and compensation system,
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     3:18-cv-01388-LAB-WVG
         3:21-cv-01245-AJB-JLBDocument
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                                         1 Filed 07/08/21
                                                 11/10/21 PageID.26
                                                          PageID.3284Page
                                                                       Page
                                                                          26 47
                                                                             of 88
                                                                                of 118




     1 Barnett’s appearance at the Wells Fargo branch was manna from heaven for the
     2 banker and Wells Fargo. While most banks would have refused to open the
     3 accounts or at least conducted more diligence, Wells Fargo just opened the
     4 accounts. And not just eight accounts. The banker opened sixteen accounts, when,
     5 unprompted, she opened a savings account for each of the eight checking accounts
     6 Barnett had requested.
     7         83.   The savings accounts were superfluous from the customer’s
     8 perspective, but they were nevertheless valuable to Wells Fargo’s bankers because
     9 they counted towards the extreme sales quotas that Wells Fargo put in place.
    10 Much later, upon a request to close some accounts by Peikos, Testa confirmed that
    11 the “[savings] accounts really have no purpose and can be shut down…”.
    12         84.   After his initial success in establishing the shell company accounts at
    13 Wells Fargo, Barnett returned to the same branch three more times over the next
    14 seven months (March, August and September), opening 22 more business bank
    15 accounts for 11 more anonymous Wyoming LLCs. Each of these shell company
    16 bank account applications had the same indicia of fraud as the first batch, including
    17 anonymous principals, similar deposit and anticipated revenues information, and
    18 the same Wyoming mail drop address. Each time, Wells Fargo conducted no
    19 investigation, instead rubber-stamping the new accounts. When necessary, Wells
    20 Fargo also closed accounts that Apex had burned due to egregiously high
    21 chargeback rates.
    22         85.   For these later applications, Wells Fargo had the benefit of being able
    23 to review the activity in the prior Apex shell companies’ bank accounts. Across
    24 the accounts, the same pattern of activity reappeared: after millions of dollars in
    25 consumer charges were deposited into the accounts (which had projected sales of
    26 $100 on their applications), extraordinarily high chargebacks would follow. In
    27 some monthly Wells Fargo account statements, the chargeback rates for these
    28 companies exceeded 70% and 80%.
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     3:18-cv-01388-LAB-WVG
         3:21-cv-01245-AJB-JLBDocument
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                                         1 Filed 07/08/21
                                                 11/10/21 PageID.27
                                                          PageID.3285Page
                                                                       Page
                                                                          27 48
                                                                             of 88
                                                                                of 118




     1        86.    Wells Fargo was fully aware that Apex was burning through shell
     2 companies, due to these high chargeback rates, which caused merchant processors
     3 to cease doing business with the shells, because Peikos and Barnett were also
     4 regularly asking Wells Fargo to close old accounts for shell companies that could
     5 no longer access merchant processing services due to their high chargeback rates.
     6        87.      Notwithstanding numerous indicia of fraud, the rigorous Know-Your-
     7 Customer (“KYC”) and AML requirements that were in place for the branch, and
     8 Wells Fargo’s own internal policies and procedures that required (in theory)
     9 enhanced scrutiny of high-risk companies such as those associated with the Apex
    10 Enterprise, the San Diego Branch quickly approved every application and opened
    11 the accounts.
    12        88.    Wells Fargo bankers at the San Diego Branch also provided reference
    13 letters which validated the shell companies’ Wells Fargo accounts. Initially, these
    14 letters were addressed to Barnett, but in May 2014, Apex’s atypical banking
    15 requests to Wells Fargo grew bolder—and Wells Fargo’s complicity in the fraud
    16 expanded. Barnett asked the San Diego Branch to re-execute and re-sign ten
    17 reference letters for the initial Wyoming LLCs for which the branch had opened
    18 accounts; the new letters would have Barnett’s name removed, making them
    19 anonymous, “Dear Company” letters.
    20        89.    Without blinking, the San Diego Branch banker quickly re-executed
    21 the ten Wells Fargo reference letters, amending the address associated with the
    22 accounts to include just the company name, without any address and without
    23 Barnett’s name.       Wells Fargo accommodated this remarkable request for
    24 anonymity without comment or question.
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                                                                          28 49
                                                                             of 88
                                                                                of 118




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         3:21-cv-01245-AJB-JLBDocument
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                                         1 Filed 07/08/21
                                                 11/10/21 PageID.29
                                                          PageID.3287Page
                                                                       Page
                                                                          29 50
                                                                             of 88
                                                                                of 118




     1 a family of accounts from a risk compliance perspective.
     2        92.    Globally-recognized account opening and oversight standards in place
     3 for decades have classified anonymous LLCs entities as “high risk” entities and
     4 warned that these entities are one of the most widely used vehicles in laundering of
     5 the proceeds of crime, corruption, and other malfeasance. Therefore, Wells Fargo
     6 was required to conduct due diligence sufficient to establish the true beneficial
     7 owners of LLCs before allowing them access to bank accounts—and were further
     8 required to document the results of that diligence correctly in the bank’s files in
     9 order to assist the bank in its future monitoring endeavors.
    10        93.    In light of the increased risks created from the outset, Barnett’s
    11 specific request to reissue generic no-name letters to 10 related anonymous LLCs
    12 was highly suggestive of credit card laundering by Apex. As the Bank knew, Apex
    13 could easily conceal the identities of its blacklisted owners from merchant
    14 processors by submitting applications in straw owners’ name that were supported
    15 by the essential no-name reference letters from Wells Fargo. And that’s exactly
    16 what Apex did.
    17        94.    The most basic compliance training would have taught these bankers
    18 that such tactics were highly suggestive of card laundering or some other nefarious
    19 activity. This means one of two things is true: either Wells Fargo’s high-pressure
    20 sales culture made it clear that identifying and stopping fraud was secondary to the
    21 Bank’s profit motive, or Wells Fargo’s training and oversight were intentionally
    22 designed to be so deficient that its employees were clueless as to the most obvious
    23 signs of fraud.
    24        95.    In August 2014, Barnett was back and opened ten more Wyoming
    25 LLC shell company accounts at the San Diego Branch (this time with a different
    26 banker), and he requested and received ten more no-name reference letters. Like
    27 the banker before her, the banker wrote and executed anonymous reference letters
    28 for the shell companies: they did not identify the accounts owners or include any
                                                 28                   Case No. ___________
                                                                  RECEIVER’S COMPLAINT
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     3:18-cv-01388-LAB-WVG
         3:21-cv-01245-AJB-JLBDocument
                                Document
                                       154
                                         1 Filed 07/08/21
                                                 11/10/21 PageID.30
                                                          PageID.3288Page
                                                                       Page
                                                                          30 51
                                                                             of 88
                                                                                of 118




     1 other identifying information, e.g., company addresses. Rather than take any of the
     2 steps required by a bank when undertaking typical due diligence for new
     3 customers, multiple bankers at Wells Fargo’s San Diego Branch instead continued
     4 to process identical business account applications. These bankers did so, because
     5 at Wells Fargo, opening these bank accounts was not only profitable for the Bank,
     6 but was also personally beneficial to Wells Fargo’s employees, who were acting
     7 under corporate edicts to meet daily account opening goals.
     8        96.    Despite the fact the initial shell companies accounts were established
     9 in January 2014 with a $100 deposit and minimal ($100) projected annual sales,
    10 deposit activity in the accounts was immediate, dramatic and inconsistent with the
    11 account applications. Millions of dollars began to flow through the accounts
    12 almost at once.
    13        97.    In the month of February, these Wells Fargo Apex accounts took in
    14 $810,000 in consumer credit card payments from Apex’s high-risk merchant
    15 processors. From February to December 2014, the Apex Wells Fargo accounts
    16 took in a whopping $12,300,000 in consumer credit card payments forwarded by
                           13
    17 merchant processors.       The vast difference between the expected and actual
    18 account activity was obvious to Wells Fargo and a huge red flag, which a bank
    19 following standard industry practice was required to investigate.
    20        98.    Within a short time, the shell company bank accounts also began to
    21 suffer staggering merchant chargebacks and refunds. As a group, the Apex shell
    22 company bank accounts at Wells Fargo suffered more than 22% in
    23 chargebacks/refunds in 2014 through mid-2015.          To put these numbers into
    24 perspective, a 1% chargeback rate is considered excessive and grounds to
    25 terminate a merchant’s account with a merchant processor.
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    27    This number is based only on information presently available to the Receiver,
       and is expected to grow when complete monthly account statements are received in
    28 discovery.
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     3:18-cv-01388-LAB-WVG
         3:21-cv-01245-AJB-JLBDocument
                                Document
                                       154
                                         1 Filed 07/08/21
                                                 11/10/21 PageID.31
                                                          PageID.3289Page
                                                                       Page
                                                                          31 52
                                                                             of 88
                                                                                of 118




     1        99.   In some months, the chargeback rate was much higher. As just one
     2 example, the August 2014 statement for an Apex shell company named “Bold
     3 Media” reflects a chargeback rate of 78% for the month.
     4        100. And the immense chargeback activity was obvious to Wells Fargo, on
     5 a monthly basis, given that the monthly account statements for all of the shell
     6 companies similarly reflected pages of chargebacks. As the below example makes
     7 clear, the shell accounts’ Wells Fargo monthly statements specifically identify the
     8 chargebacks in the “Withdrawals/Debits” column – often in the very same amounts
     9 again and again, for example, $87.67 and 97.88 (or multiplies thereof), as
    10 consumer after consumer requested chargebacks on their credit cards.
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         3:21-cv-01245-AJB-JLBDocument
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                                         1 Filed 07/08/21
                                                 11/10/21 PageID.32
                                                          PageID.3290Page
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                                                                          32 53
                                                                             of 88
                                                                                of 118




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         3:21-cv-01245-AJB-JLBDocument
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                                       154
                                         1 Filed 07/08/21
                                                 11/10/21 PageID.33
                                                          PageID.3291Page
                                                                       Page
                                                                          33 54
                                                                             of 88
                                                                                of 118




     1        101. Of course, Wells Fargo also knew about these excessive chargebacks,
     2 because Wells Fargo’s very own customers, using credit cards issued by Wells
     3 Fargo, were among the many Apex customers requesting such chargebacks on
     4 their credit cards. Wells Fargo’s own customers even made consumer complaints
     5 about the “risk-free” trial schemes to the Better Business Bureau.
     6        102. Wells Fargo deliberately overlooked this early and obvious
     7 aberrational activity in the Apex shell company accounts. Had even minimal
     8 investigation under standard banking procedures been conducted, with such
     9 obvious red flags – as Wells Fargo was required to do – the consumer losses could
    10 have been staunched almost immediately. Wells Fargo took a different path
    11 instead.
    12        103. As described further below, Barnett’s role as Apex’s primary bank
    13 contact and shell company account opener transitioned to Apex co-owner Peikos in
    14 2015 and Apex employee Camacho at the direction of Peikos.
    15                     (ii)   The Westlake Village Branch
    16        104. In April of 2015, the initial Apex shell company accounts that Barnett
    17 had established in 2014 had been open for fifteen months; most were inactive after
    18 having received (and then having transferred out) millions of dollars of consumer
    19 funds, even accounting for staggering consumer chargebacks. These chargebacks,
    20 which ran through the Wells Fargo accounts, had resulted in nearly all of the shell
    21 companies being terminated by their merchant processors. In spite of all this,
    22 Wells Fargo was still anxious to expand its business with Apex.
    23        105. Beginning in early 2015, Apex began to use Los Angeles County
    24 Wells Fargo branches, and its principals developed relationships with the Wells
    25 Fargo bankers at a Los Angeles County office located in Westlake Village (the
    26 “Westlake Village Branch”). Like the bankers at the San Diego Branch, the Wells
    27 Fargo bankers at the Westlake Village Branch were happy to facilitate Apex’s
    28 ongoing consumer fraud and card-laundering activities in exchange for a revenue
                                                32                   Case No. ___________
                                                                 RECEIVER’S COMPLAINT
Case
   Case
     3:18-cv-01388-LAB-WVG
         3:21-cv-01245-AJB-JLBDocument
                                Document
                                       154
                                         1 Filed 07/08/21
                                                 11/10/21 PageID.34
                                                          PageID.3292Page
                                                                       Page
                                                                          34 55
                                                                             of 88
                                                                                of 118




     1 boost and assistance hitting sales quotas—even if that meant assisting a fraud and
     2 deliberately turning a blind eye to conduct that any banker would have recognized
     3 as bearing numerous indicia of fraud.
     4        106. David Hannig (“Hannig”) was an Assistant Vice President and Sr.
     5 Business Sales Consultant for Wells Fargo Merchant Services. On information
     6 and belief, Hannig was based out of the Los Angeles area but worked regularly
     7 with a number of branches, including the Westlake Village Branch, where he held
     8 meetings with Apex personnel and Wells Fargo customers.
     9        107. Dominic Testa (“Testa”) was a Business Banking Specialist for Wells
    10 Fargo at the Westlake Village Branch. On information and belief, Hannig and
    11 Testa had a close working relationship with each other and communicated
    12 frequently about how they could expand Wells Fargo’s business with and sell new
    13 bank products to the Apex Enterprise.
    14        108. The Westlake Village Branch was located nearby Apex’s office in
    15 Woodland Hills, California. Wells Fargo banker Testa, who was part of Wells
    16 Fargo’s Community Bank division, was able to develop and sustain a long-term
    17 and ongoing business relationship with the Apex Enterprise. He was particularly
    18 friendly with Apex’s employee and CFO, Camacho, who often referred to Testa
    19 with nicknames like “bud.” As Testa knew, Camacho was simply an employee of
    20 Apex and was not the true “owner” of any account in his name. Testa knew that
    21 Camacho was taking his instructions directly from Peikos, who was the true owner
    22 and controller of Apex. Testa also knew that Camacho was only an “owner” on
    23 paper of the accounts and shell companies held in his name.
    24        109. Testa’s interactions with Peikos and Camacho made it clear from
    25 early on that Peikos was the boss. As just one example, on April 17, 2015, Testa
    26 emailed Peikos about opening “new accounts for you”. Testa noted “I’m assuming
    27 you’ll be using Wyoming like your other LLCs” and requested the documentation
    28 and identification of the “owner.” Peikos responded that Camacho, and not Peikos,
                                               33                  Case No. ___________
                                                               RECEIVER’S COMPLAINT
Case
   Case
     3:18-cv-01388-LAB-WVG
         3:21-cv-01245-AJB-JLBDocument
                                Document
                                       154
                                         1 Filed 07/08/21
                                                 11/10/21 PageID.35
                                                          PageID.3293Page
                                                                       Page
                                                                          35 56
                                                                             of 88
                                                                                of 118




     1 would be the “owner” of the LLCs and the bank accounts that Peikos was
     2 instructing Testa to set up: “So we are clear, [Camacho] will be the 100% owner
     3 on these accounts, and I will have access like the current ones were set up.” The
     4 “current ones” Peikos was referring to were the roughly 40 shell company accounts
     5 that Barnett had opened in San Diego which were lying mostly unused at that point
     6 because they had lost access to merchant processing services as a result of their
     7 extraordinarily high consumer chargeback rates. Testa told Peikos that he would
     8 put a fee waiver on the accounts for the next three months and recommended that
     9 Peikos “[k]eep in contact with me on when they should be closed and I can do it
    10 over the phone.”
    11        110. During this same time, Hannig, in coordination with Testa,
    12 encouraged the Apex Enterprise to apply for merchant processing with Wells
    13 Fargo. Apex employee Chris Carr met with Hannig and identified shell companies
    14 and products for which Apex wanted to obtain merchant processing services.
    15        111. Wells Fargo requires merchant account applicants to undergo an
    16 underwriting process intended to ensure the applicant is a legitimate and
    17 creditworthy business and to weed out merchants engaged in illegal conduct and
    18 required the legitimacy of the business be verified/validated. Any material
    19 discrepancies must be documented, investigated, and resolved and the source of the
    20 verification should be in the merchant file. The Bank forbid the solicitation of
    21 merchants engaged in certain unacceptable business practices because they were
    22 presumptively illegal, violated card association rules, or created excessive risk
    23 exposure for the Bank.
    24        112. Several days after their in-person meeting, on April 21, 2015, Carr
    25 followed up with an email to Hannig containing information for two shell
    26 companies. This opened a string of emails between the two in rapid succession,
    27 with emails being exchanged often literal minutes apart. Carr wrote, “Here is some
    28 information on the corps and URLs that we wanted to lead off with . . . Please let
                                               34                  Case No. ___________
                                                               RECEIVER’S COMPLAINT
Case
   Case
     3:18-cv-01388-LAB-WVG
         3:21-cv-01245-AJB-JLBDocument
                                Document
                                       154
                                         1 Filed 07/08/21
                                                 11/10/21 PageID.36
                                                          PageID.3294Page
                                                                       Page
                                                                          36 57
                                                                             of 88
                                                                                of 118




     1 us know if you require additional information to Pre-fill these apps for us. We are
     2 eager to get started so as soon as you can send us the paperwork, we will turn it
     3 around with any additional documentation you require. Thanks!” Carr identified
     4 Arturo Oliveros and Julia Buenrostro as the “owners” of shell companies Alpha
     5 Group, LLC and Crest Capital LLC, respectively, both of which had the same
     6 Wyoming mail drop listed as their business address.          Carr listed the shell
     7 companies’ businesses as “supplement[s]” and “health plus”, respectively, and
     8 included links to the companies’ websites, www.virilitymuscle.com and
     9 www.evermaxbody.com.
    10        113. Hannig reviewed the material and linked websites and quickly
    11 responded, identifying crucial and fundamental discrepancies in the information
    12 Apex provided:
    13              Chris,
    14              The bottom of the websites show different LLC’s then what is
                    listed below. That will need to be changed to the below listed
    15              LLC’s on the websites before I can even start the process. The
                    people you listed below are not owners on the Wells Fargo
    16              bank account that you gave us. They must be owners of the
                    business in order to use their name on the merchant accounts.
    17              The address also does not match up to what is on the website.
                    Everything needs to be matched up on the accounts or the
    18              applications won’t not pass the submission process.
    19              Thank you,
    20              David Hannig
    21              (Emphasis Added).
    22        114. Carr quickly replied claiming to have corrected the issues:
    23              David,
    24              Thanks for your reply. The company names and addresses have
                    been updated on the websites.
    25
                    The Websites just had the product name in the footer as a
    26              placeholder until we got all of the docs in order.
    27              Arturo Oliveros and Julia Buenrostro are owners of the
                    entities listed.
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   Case
     3:18-cv-01388-LAB-WVG
         3:21-cv-01245-AJB-JLBDocument
                                Document
                                       154
                                         1 Filed 07/08/21
                                                 11/10/21 PageID.37
                                                          PageID.3295Page
                                                                       Page
                                                                          37 58
                                                                             of 88
                                                                                of 118




     1               Thanks! - Chris
     2               (Emphasiss added).
     3               ****
     4        115. Almost im
                           mmediately
                                    y, Hannig aagain respoonded:
     5        I see th
                     he names changed
                               c        so
                                         o that will w
                                                     work. Thee bank acccounts still
                                                                                   ll do not
     6        show them
                     t    as ow
                              wners. Coordinate w   with Domin  nic [Testaa] on how w to get
              this uppdated. Heere is whatt we have llisted on th
                                                                he bank acccounts:
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    17
              David Hannig
    18        Assistant Vice President
              Busineess Sales Consultant
                              C
    19        Wells Fargo Merrchant Serv vices
    20            hasis Addeed).
              (Emph
    21        116. The irregu
                            ularities Haannig idenntified weree troublingg, particulaarly since,
    22 as Hannig knew,
                 k     Apeex had alreeady openned (and iin almost every casee, burned
    23 thrrough) rou
                   ughly 40 sh
                             hell bank accounts w
                                                with Wellls Fargo inn which m
                                                                            millions of
    24 dollars had flowed
                   f      thrrough. Ap
                                     pex’s excuuses and sscramble too alter weebsite and
    25 pro
         oduct information on
                            n the fly only
                                      o    reinfoorced whaat Hannig already knnew to be
    26 tru
         ue: that the “owners” of the shell companiies were ow
                                                             wners in naame only.
    27        117. But most troubling were the discrepanccies in infformation regarding
    28 thee key issue of the beneficial
                             b          ownership
                                        o         of these anonymouus Wyominng LLCs.
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     3:18-cv-01388-LAB-WVG
         3:21-cv-01245-AJB-JLBDocument
                                Document
                                       154
                                         1 Filed 07/08/21
                                                 11/10/21 PageID.38
                                                          PageID.3296Page
                                                                       Page
                                                                          38 59
                                                                             of 88
                                                                                of 118




     1 The two shell companies, Alpha Group and Crest Capital, had Wells Fargo
     2 accounts opened by Apex principal Barnett a year earlier in San Diego. When he
     3 opened the accounts, Barnett claimed to be the sole owner of the companies and
     4 presented anonymous Wyoming LLC documents and the same maildrop address
     5 for these shell companies.
     6        118. By April of 2015, when Hannig flagged the issues, the accounts had
     7 been open for 11 months and had taken in more than a quarter of a million dollars
     8 in consumer payments from merchant processor deposits. But Hannig was now
     9 being told that the account holder, Barnett, did not in fact own the shell companies
    10 – and two people (Oliveros and Buenrostro), who were not listed on those Wells
    11 Fargo bank accounts or identified in any Wells Fargo bank records, did.
    12        119. Such information was an obvious indication that Apex was engaged in
    13 credit card laundering by listing owners on merchant account applications for an
    14 anonymous LLC, thus obscuring the identity of the true owners.
    15        120. Apex’s next response, sent just 23 minutes later, should have been
    16 even more alarming to Hannig and Testa. Rather than “updating” the information,
    17 Apex instead changed course and told Wells Fargo they had decided to use instead
    18 new anonymous Wyoming LLCs, supposedly now “owned” by Camacho, to apply
    19 for the merchant accounts. The new shell companies shared (as did every one of
    20 the Apex shell companies) the same Wyoming mail drop address.
    21        From: Chris Carr [mailto:chris@apexcapitalgrp.com]
              Sent: Tuesday, April 21, 2015 4:03 PM
    22        To: Hannig, David
              Cc: Raul A; Phillip Peikos; Testa, Dominic J
    23        Subject: Re: Information for New MIDs
    24        I see you are correct. Those accounts are, indeed, in David Barnett's
              name. On review, we decided that we would like to run those two
    25        websites through these new corps that we just set up. They are
              owned by our CFO Raul Camacho[. . . ]
    26
    27        Raul will come in tomorrow and open bank accounts at your branch.
              EIN numbers are forthcoming. Websites have been updated. Sorry
    28        for all the changes. Will you be in tomorrow to help us set up the
                                                37                   Case No. ___________
                                                                 RECEIVER’S COMPLAINT
Case
   Case
     3:18-cv-01388-LAB-WVG
         3:21-cv-01245-AJB-JLBDocument
                                Document
                                       154
                                         1 Filed 07/08/21
                                                 11/10/21 PageID.39
                                                          PageID.3297Page
                                                                       Page
                                                                          39 60
                                                                             of 88
                                                                                of 118




     1        accounts?
     2        Thanks! - Chris
     3        (Emphasis Added.)
     4        121. The response of Hannig, who was specifically seeking to provide
     5 merchant banking for Apex, was problematic. He simply suggested Apex
     6 coordinate with the bank to get the ownership “updated”. Notably, Hannig did not
     7 copy the actual account holder, Barnett, on any of this correspondence.
     8       122. Hannig’s cursory review had immediately identified fundamentally
     9 inconsistent information about the LLCs’ ownership, the ownership of the bank
    10 accounts, and discrepancies between the websites and the products which Apex
    11 was hoping to sell on them. He had pointed out that the irregularities and
    12 discrepancies would cause the merchant applications he wanted to present on
    13 Apex’s behalf to be rejected. As a merchant banker, Hannig knew that the
    14 discrepancies in the owners, coupled with the use of anonymous Wyoming LLCs
    15 and the pattern of burning through the LLCs’ bank accounts, were indicative of
    16 fraud.
    17        123. Instead of doing what he should have done under standard banking
    18 procedures – e.g., refuse to submit the shell account’s merchant processing
    19 applications; ask questions and demand answers about the troubling and
    20 inconsistent information being revealed; and communicate his concerns and report
    21 suspicious activity through Wells Fargo’s established channels — Hannig simply
    22 directed Apex on how to change its paperwork, so the applications would not be
    23 flagged, allowing him to potentially pad his sales numbers and the bank itself to
    24 expand its banking relationship with the fraudulent Apex Enterprise.
    25      124. During the years when the Apex fraud was in full bloom, on
    26 information and belief, such aggressive sales tactics were rewarded within Wells
    27 Fargo’s misaligned compensation system. Hannig himself was recognized as a
    28 Wells Fargo “Sales Star” (winning that award in 2013, 2014, 2015, 2016, and
                                               38                  Case No. ___________
                                                               RECEIVER’S COMPLAINT
Case
   Case
     3:18-cv-01388-LAB-WVG
         3:21-cv-01245-AJB-JLBDocument
                                Document
                                       154
                                         1 Filed 07/08/21
                                                 11/10/21 PageID.40
                                                          PageID.3298Page
                                                                       Page
                                                                          40 61
                                                                             of 88
                                                                                of 118




     1 2017), and he was also named the #1 Wells Fargo Sales Representative out of 500
     2 employees in 2013 and 2016.
     3        125. Hannig was not the only Wells Fargo banker to advance Apex’s
     4 ongoing fraud, however. In light of Wells Fargo’s pernicious sales culture and
     5 misaligned compensation system, this type of employee misconduct repeated itself
     6 again and again, across Wells Fargo bankers and branches. Indeed, as recently as
     7 January 23, 2020, the OCC recognized: “[t]he Bank tolerated pervasive sales
     8 practices misconduct as an acceptable side effect of the Community Bank’s
     9 profitable sales model, and declined to implement effective controls to catch
    10 systemic misconduct. Instead, to avoid upsetting a financially profitable business
    11 model, senior executives…turned a blind eye to illegal and improper conduct
    12 across the entire Community Bank.” (Emphasis added.)
    13        126. Apex’s last-minute pivot to the two new corporations they had “just
    14 set up” for merchant processing and which were now supposedly “owned” by
    15 Apex employee Camacho, necessitated getting new Wells Fargo bank accounts
    16 opened before the merchant account application could be completed. Testa was
    17 more than happy to oblige. When Camacho sent Testa documents for one of the
    18 new LLCs (with a Wyoming operating agreement signed that same day, April 21,
    19 2015), Testa replied that the documents were “perfect” and the accounts were
    20 promptly opened.
    21        127. Once the new bank accounts were opened, Apex submitted the
    22 merchant processing application to Hannig listing Camacho as the “owner” and
    23 listing the Wyoming mail drop as the address. But on April 30, 2015, Hannig
    24 informed Apex that higher-ups at Wells Fargo had rejected the application, as he
    25 had received a “decline email due to an unqualified business model for Wells
    26 Fargo. We tried, thank you for considering us.”
    27        128. In response to questions from Apex, Hannig said the application was
    28 rejected because the companies were selling supplements. In other words, despite
                                               39                  Case No. ___________
                                                               RECEIVER’S COMPLAINT
Case
   Case
     3:18-cv-01388-LAB-WVG
         3:21-cv-01245-AJB-JLBDocument
                                Document
                                       154
                                         1 Filed 07/08/21
                                                 11/10/21 PageID.41
                                                          PageID.3299Page
                                                                       Page
                                                                          41 62
                                                                             of 88
                                                                                of 118




     1 Hannig’s questionable efforts to obtain Wells Fargo’s merchant processing
     2 services for Apex, Wells Fargo’s merchant banking division had (correctly)
     3 categorized the shell companies as high-risk businesses with which they did not
     4 want a relationship. The Bank’s merchant division was unwilling to take on the
     5 risk of processing for these companies, recognizing that they were in an industry
     6 rife with consumer deception, and there was the potential for high chargebacks and
     7 losses for Wells Fargo caused by fraudulent activity.
     8         129. Of course, Wells Fargo was still perfectly willing to continue
     9 servicing the fraudulent LLCs at the branch level and opening bank accounts for
    10 additional shell companies, while letting other merchant processors (who had less
    11 insight into Apex’s illegitimacy, and no insight into its obfuscated performance
    12 history and ownership legerdemain, and who would be reassured by the fact that
    13 Wells Fargo had approved them for bank accounts) take on that risk – and while
    14 allowing Apex to deceive more unsuspecting consumers (including even Wells
    15 Fargo’s own credit card holders) with the lure of “free trial” products.
    16         130. Knowing what it did, Wells Fargo was legally required to take a
    17 number of steps, including conducting a further investigation into the Apex
    18 Enterprise, evaluating patterns of misconduct and suspicious activity across the
    19 entire Apex relationship, terminating the Bank’s relationship with Apex, its
    20 principals, and its associated shell companies, and/or following the Wells Fargo
    21 established procedures for reporting the suspicious activity both internally and
    22 externally.
    23         131. Wells Fargo did none of these things. Instead, it kept doing business
    24 and looking for growth opportunities with Apex. Through Testa, Wells Fargo
    25 continued to open numerous shell company accounts for Apex. Similarly, Hannig
    26 periodically attempted to get merchant processing for Apex shell companies but
    27 was ultimately always unsuccessful.
    28         132. In December of 2015, Camacho accidentally sent a spreadsheet of
                                                 40                   Case No. ___________
                                                                  RECEIVER’S COMPLAINT
Case
   Case
     3:18-cv-01388-LAB-WVG
         3:21-cv-01245-AJB-JLBDocument
                                Document
                                       154
                                         1 Filed 07/08/21
                                                 11/10/21 PageID.42
                                                          PageID.3300Page
                                                                       Page
                                                                          42 63
                                                                             of 88
                                                                                of 118




     1 active and pending “MID’s” (merchant processing accounts) to Hannig. The
     2 spreadsheet listed more than 25 LLCs with bank accounts at Wells Fargo, along
     3 with their corresponding accounts at various merchant processors. As was the case
     4 when Hannig had identified and flagged the central issue months earlier, the
     5 purported owners of the LLCs were not the Wells Fargo account holders. The
     6 spreadsheet made it absolutely clear that, at a minimum, Apex was engaged in
     7 large-scale credit card laundering and was using shell companies and straw owners
     8 to secure merchant processing services—something any banker in Hannig’s
     9 position would have immediately recognized, particularly because of the incident
    10 some months earlier.
    11        133. Within minutes, Camacho recognized that he did not want that
    12 spreadsheet in the Bank’s files. He wrote to Hannig, asking him to “[p]lease delete
    13 ASAP” and adding that he “would greatly appreciate if you can keep the
    14 information confidential.” Camacho concluded the email by asking Hannig to
    15 confirm with him once the email had been deleted.
    16        134. Hannig promptly replied “Deleted.”         On information and belief,
    17 Hannig’s prompt deletion of this e-mail and attachment from Wells Fargo records
    18 violated both Bank policy and the law. As an executive at Wells Fargo, Hannig
    19 had a duty under a number of federal laws to investigate and report Apex’s
    20 suspicious activities. Those obligations did not disappear just because a customer
    21 asked that Hannig delete an email.
    22        135. The spreadsheet was not sent to Hannig in a vacuum. Both he and
    23 Testa knew exactly who this very high-risk customer was. They were all too aware
    24 of Apex’s history of hiding the true owners of the anonymous shell companies they
    25 created – and they had even helped Apex to mask these beneficial ownership issues
    26 and sanitize its merchant processing application at Wells Fargo. Hannig and Testa
    27 also knew that Wells Fargo had analyzed Apex’s high-risk business earlier that
    28 year and had declined to provide merchant processing services to it. In light of the
                                                41                   Case No. ___________
                                                                 RECEIVER’S COMPLAINT
Case
   Case
     3:18-cv-01388-LAB-WVG
         3:21-cv-01245-AJB-JLBDocument
                                Document
                                       154
                                         1 Filed 07/08/21
                                                 11/10/21 PageID.43
                                                          PageID.3301Page
                                                                       Page
                                                                          43 64
                                                                             of 88
                                                                                of 118




     1 above, on information and belief, the deletion of Camacho’s email and failure to
     2 take steps to report the suspicious actions were deliberate efforts to aid and abet
     3 Apex’s fraud.
     4        136. Notwithstanding its knowledge of obvious fraud, Wells Fargo and the
     5 Westlake Village Branch continued to open bank accounts for Apex shell
     6 companies throughout 2015, 2016, 2017, and 2018; the new accounts only stopped
     7 when the FTC filed its lawsuit against Apex. In 2015, Camacho opened 14 more
     8 Wells Fargo accounts for 13 anonymous shell companies. In 2016, Camacho
     9 opened six accounts for six shell companies; in 2017, 19 accounts for 19 shell
    10 companies; and in 2018 12 accounts for 12 shell companies. In total, Wells Fargo
    11 opened at least 92 bank accounts for more than 70 shell companies over the course
    12 of just four years.
    13        137. When opening and servicing the accounts, Wells Fargo bankers
    14 continued to provide atypical banking services, asking no questions and
    15 deliberately ignoring Apex’s obvious efforts to launder money it obtained
    16 operating its high-risk, fraudulent business through anonymous shell companies
    17 fronted by straw owners.
    18        138.    The pattern was clear – and only became clearer with time: Apex,
    19 primarily through Camacho, would periodically request that Wells Fargo close
    20 existing shell companies’ bank accounts after those shell companies had been
    21 blacklisted and lost their merchant processing because of the massive levels of
    22 chargebacks.    At the same time, Camacho would request Wells Fargo open new
    23 shell company bank accounts—often six new bank accounts at a time—of which
    24 Camacho would be the “owner”. In this way, Wells Fargo’s conduct enabled Apex
    25 to cycle through the burned shell companies and their associated bank accounts
    26 before creating new, “unrelated” and anonymous LLCs to use to defraud
    27 consumers.
    28        139. As was the case with the San Diego Branch, the Westlake Village
                                                42                  Case No. ___________
                                                                RECEIVER’S COMPLAINT
Case
   Case
     3:18-cv-01388-LAB-WVG
         3:21-cv-01245-AJB-JLBDocument
                                Document
                                       154
                                         1 Filed 07/08/21
                                                 11/10/21 PageID.44
                                                          PageID.3302Page
                                                                       Page
                                                                          44 65
                                                                             of 88
                                                                                of 118




     1 Branch, via Testa, was more than willing to supply no-name reference letters for
     2 the shell companies. Testa provided large tranches of reference letters, routinely
     3 issuing 6 letters, and on one occasion 12 letters, at a time. He was also willing to
     4 vary the format and information contained in the reference letters based on
     5 requests made Camacho.
     6        140. Across multiple branches and multiple bankers, between 2014 and
     7 2018, Wells Fargo assisted the Apex Enterprise by opening account, after account,
     8 after account, for a host of shell companies.        These shell companies were
     9 “anonymous” LLCs based out of Wyoming, though true their owners were not
    10 anonymous to Wells Fargo—Wells Fargo was well aware that all of these
    11 companies and accounts were part of the Apex Enterprise, owned and controlled
    12 by Barnett and Peikos. That was clear not only based on the fact that core Apex
    13 personnel were always the ones opening the accounts, and also from the email that
    14 Camacho mistakenly sent to Hannig, which spelled out exactly what Apex was
    15 doing. Yet Wells Fargo was more than happy to keep, and even pursue, Apex’s
    16 business by facilitating Apex’s ongoing fraud.
    17        B.     Wells Fargo’s Support of the Triangle Enterprise
    18               (i) Overview
    19        141. At the same time that Wells Fargo was providing banking services to
    20 the Apex Enterprise, it was also providing those same services to the Triangle
    21 Enterprise, which was also running “free trial” scams out of Southern California
    22 and which was operating using a business model strikingly similar to Apex’s.
    23        142. In the case of Triangle, as with Apex, multiple Wells Fargo bankers
    24 across multiple branches developed long-term and ongoing business relationships
    25 with Triangle’s owner and controller, Brian Phillips; as with Apex, these Wells
    26 Fargo bankers eagerly opened bank accounts for a host of companies that they
    27 knew were shells being used by Phillips. And as with Apex, Wells Fargo’s clear-
    28 eyed support of the Triangle Enterprise resulted in millions of dollars in consumer
                                                43                   Case No. ___________
                                                                 RECEIVER’S COMPLAINT
Case
   Case
     3:18-cv-01388-LAB-WVG
         3:21-cv-01245-AJB-JLBDocument
                                Document
                                       154
                                         1 Filed 07/08/21
                                                 11/10/21 PageID.45
                                                          PageID.3303Page
                                                                       Page
                                                                          45 66
                                                                             of 88
                                                                                of 118




     1 harm—damages which spilled over to the Receivership Entities.
     2         143. Wells Fargo began providing services to Phillips and Triangle in at
     3 least 2009. In addition to opening and closing accounts and executing reference
     4 letters for Phillips and his shell companies, Wells Fargo also provided a host of
     5 other services, including payroll services and tax return preparation.        In each
     6 instance, Wells Fargo took instructions from Phillips and provided information
     7 directly to him, understanding that he was the owner and controller of all Triangle-
     8 related accounts even though numerous others were listed as the “owners” of the
     9 accounts.    Wells Fargo provided these services to Phillips and Triangle even
    10 though it knew that those services were a prerequisite for money laundering and
    11 fraudulent business activity.
    12         144. Like Apex, the Triangle fraud relied on the use of shell companies
    13 with straw owners, which Triangle generally referred to as “nominees”, to keep
    14 their fraudulent businesses running.       Phillips recruited nominees to be the
    15 “owners” of the shell companies by offering them a monthly fee, such as $500 per
    16 month, for allowing Phillips to use their names and identities to establish shell
    17 companies and accompanying bank accounts at Wells Fargo.                Phillips’ only
    18 requirement to qualify was that the nominees not be blacklisted on the MATCH list
    19 as a previously terminated merchant.
    20         145. Phillips then served as the conduit between Wells Fargo and each
    21 nominee in order to secure the Wells Fargo bank accounts needed to carry out the
    22 Triangle fraud. Each time, Wells Fargo rubber-stamped the applications. From
    23 there, Phillips used the corporate documents and Wells Fargo account information
    24 (along with the essential Wells Fargo reference letters) to obtain merchant
    25 processing services in the nominee’s name, which allowed the Triangle Enterprise
    26 to perpetrate its “free trial” scam at consumers’ expense.
    27         146. None of this would have been possible without Wells Fargo. Each
    28 time Phillips opened a new shell account, he instructed Wells Fargo that the
                                                 44                     Case No. ___________
                                                                    RECEIVER’S COMPLAINT
Case
   Case
     3:18-cv-01388-LAB-WVG
         3:21-cv-01245-AJB-JLBDocument
                                Document
                                       154
                                         1 Filed 07/08/21
                                                 11/10/21 PageID.46
                                                          PageID.3304Page
                                                                       Page
                                                                          46 67
                                                                             of 88
                                                                                of 118




     1 nominee was the “100 % owner” on paper, but Phillips was always to be given
     2 immediate access and full control as a “co-signer” of the Wells Fargo bank account
     3 belonging to the supposed “100% owner.” Each shell company’s account opening
     4 paperwork falsely represented Phillips as a rank-and-file employee of the shell
     5 company—its supposed “Data Specialist” —a transparent effort understood by
     6 Wells Fargo to mask Phillips’ true ownership of all of the shell companies. Wells
     7 Fargo always accommodated “employee” Phillips’ requests, which was not in line
     8 with banking practices. As a result, Wells Fargo knew that Phillips retained the
     9 unfettered ability to transfer money from a nominee’s shell account directly into
    10 the primary Triangle Enterprise account at Wells Fargo, which Wells Fargo knew
    11 was owned by Phillips.
    12         147. The troubling pattern repeated itself, again and again, with Phillips
    13 driving all communications with Wells Fargo for the nominees.       Notwithstanding
    14 known abuse of beneficial ownership for these types of high-risk businesses, and
    15 mounting evidence that Phillips was actively engaged in such abuse, Wells Fargo
    16 bankers happily opened this stream of new accounts in the names of nominees (in
    17 keeping with its sales culture prizing growth above all else). All the while Wells
    18 Fargo bankers conducted the most minimal level of due diligence, if any, on the
    19 nominee “owners”, largely relying on Phillips’ vouching for the new nominee
    20 “owner.”      Phillips himself routinely filled out the forms and gathered and
    21 submitted the signatures of the “owners” to Wells Fargo. If a Wells Fargo banker
    22 requested a cursory phone call with the “owner” before opening an account,
    23 Phillips arranged it. In the latter years of the fraud, Phillips even walked nominees
    24 into the local branches, and Wells Fargo promptly accepted the paperwork from
    25 the new “owners” before turning around to give “employee” Phillips full control as
    26 the co-signer. This arrangement benefitted Wells Fargo as well as Triangle and
    27 Phillips, because it gave Wells Fargo an easy way to open new accounts in
    28 perpetuity.
                                                 45                  Case No. ___________
                                                                 RECEIVER’S COMPLAINT
Case
   Case
     3:18-cv-01388-LAB-WVG
         3:21-cv-01245-AJB-JLBDocument
                                Document
                                       154
                                         1 Filed 07/08/21
                                                 11/10/21 PageID.47
                                                          PageID.3305Page
                                                                       Page
                                                                          47 68
                                                                             of 88
                                                                                of 118




     1        148. After dealing with the “owners” on only the most perfunctory level at
     2 account opening, if at all, Wells Fargo then dealt thereafter with Phillips,
     3 understanding him as their customer and the actual owner of all of the accounts.
     4 At Phillips’ direction, Wells Fargo regularly swept funds in the shell company
     5 accounts into Triangle’s primary bank account at Wells Fargo. Once transferred to
     6 Triangle’s main account, the funds would almost immediately be sent to a
     7 Canadian company owned by Triangle, Global Northern, at a Canadian bank. In
     8 turn, Global Northern would forward the funds to Hardwire accounts in Hong
     9 Kong or Thailand. Hardwire would then wire money back to Triangle in the U.S.
    10 to cover expenses to complete the laundering of the funds.
    11        149. From the very start, Phillips and Triangle’s offshore-based principal,
    12 Devin Keer relied upon Wells Fargo as the best (and perhaps only) banking option
    13 for opening scores of essential bank accounts for the shell companies. In 2009,
    14 near the start of Triangle’s implementation of its “free trial” scam, Keer, then in
    15 Canada, emailed a merchant processor to ask:
    16        Do you guys work with/know any corp services type guys who
              incorporate US corps quickly? Brian [Phillips] has a corp in NV that
    17        he just set up but there’s no bank accounts and stuff set up yet. Would
              like your advice on the whole US corp issue before we drive down to
    18        Seattle to open bank accounts - if we can set up another corp for the
              purpose of this…deal that might be a better play for us.
    19
    20 The processor promised to look into it, but before he could, Keer wrote back: “I
    21 think we can get Wells to take care of it.” (Emphasis added.) As it turned out,
    22 Keer was right.
    23        150. Phillips, Keer, and Triangle relied on Wells Fargo to deliberately
    24 overlook obvious beneficial ownership issues, which Wells Fargo was happy to do.
    25 Phillips was so confident in Wells Fargo’s pliancy that when one nominee raised a
    26 concern about what would happen if Wells Fargo contacted his mother (whom he
    27 had enlisted to serve as another nominee for Phillips in 2011), Phillips responded
    28 by dismissing his concerns wholesale, responding, “Dude, you still don’t
                                                46                   Case No. ___________
                                                                 RECEIVER’S COMPLAINT
Case
   Case
     3:18-cv-01388-LAB-WVG
         3:21-cv-01245-AJB-JLBDocument
                                Document
                                       154
                                         1 Filed 07/08/21
                                                 11/10/21 PageID.48
                                                          PageID.3306Page
                                                                       Page
                                                                          48 69
                                                                             of 88
                                                                                of 118




     1 understand how wells is totally different.       The bank won’t be calling her.”
     2 (Emphasis added). Wells didn’t call.
     3        151. Instead of conducting an investigation, increasing its monitoring of
     4 the Triangle accounts, reporting suspicious or unusual activity internally or
     5 externally, or simply refusing to provide banking services to the Triangle fraud,
     6 time and again Wells Fargo acceded to Phillips’s requests for the Bank to open
     7 new shell company accounts with nominee owners, effectively legitimizing the
     8 shells in the eyes of the merchant processors.
     9               (ii) The Keller, Texas Branch
    10        152. The relationship between Wells Fargo, Phillips, and Triangle began in
    11 Texas on September 2, 2009, when Wells Fargo’s Keller, Texas branch, principally
    12 through banker Lea Walker (“Walker”), but with assistance of others in the branch,
    13 including the branch manager, began opening shell company accounts for Phillips
    14 and providing him with reference letters.
    15        153. In roughly one year, Walker opened at least eight shell company
    16 accounts for Phillips and provided him with four reference letters for these
    17 accounts.
    18        154. In 2011, Walker opened four more accounts for shell companies at
    19 Phillips’ request, providing him with three reference letters. That year, another
    20 banker at the Keller, Texas branch, opened two more shell company accounts for
    21 Phillips and signed another reference letter. Walker continued to open additional
    22 shell accounts for Phillips into 2012. In total, this Wells Fargo branch opened
    23 more than 20 banks account at Phillips’ request, with roughly half of those being
    24 for shell accounts nominally owned by others.
    25        155. Wells Fargo’s understanding of Phillips’ ownership interest in the
    26 accounts is abundantly clear in May 2012 emails that Phillips and Walker
    27 exchanged, in which Phillips asked Walker to remove certain approval
    28 requirements so that he could generate and send wires for accounts that he did not
                                                47                  Case No. ___________
                                                                RECEIVER’S COMPLAINT
Case
   Case
     3:18-cv-01388-LAB-WVG
         3:21-cv-01245-AJB-JLBDocument
                                Document
                                       154
                                         1 Filed 07/08/21
                                                 11/10/21 PageID.49
                                                          PageID.3307Page
                                                                       Page
                                                                          49 70
                                                                             of 88
                                                                                of 118




     1 own on paper. Walker immediately fulfilled Phillips’ request, which would have
     2 been unthinkable if she were not aware that he was the true owner of the accounts
     3 and that the purported “owner” was just a nominee.
     4               (iii)   The Southern California Branches
     5        156.   In or about 2013, Phillips began moving his banking relationship with
     6 Wells Fargo to Southern California. Across multiple Wells Fargo Community
     7 Bank branches in Southern California (and in partnership with multiple Wells
     8 Fargo bankers), Phillips came to open dozens more Wells Fargo accounts as the
     9 Triangle scheme expanded. In total, over the course of the Triangle scheme, Wells
    10 Fargo opened more than 85 Triangle-related accounts in California and Texas at
    11 Phillips’ request. While Wells Fargo knew that all of the accounts were under
    12 Phillips’ exclusive control, over 60% (approximately 55) of those accounts were
    13 bank accounts for the shell companies that were “owned” in the names of the
    14 nominees. Wells Fargo also opened more than 30 corporate bank accounts that
    15 Phillips directly owned. These included, most notably, numerous Wells Fargo
    16 bank accounts for the Triangle Media Corporation, into which Phillips regularly
    17 requested that Wells Fargo transfer funds from the shell company accounts
    18 “owned” by others, which Wells Fargo always did.
    19        157. Between 2013 and Triangle’s demise in 2018, Phillips’ business with
    20 Wells Fargo in California expanded rapidly. Over a nine-month period in 2015
    21 alone, Wells Fargo opened a total of 12 shell company accounts “owned” by
    22 nominees for Phillips. Phillips established a close and continued relationship with
    23 Wells Fargo across multiple branches in Southern California. In total, over a
    24 dozen Wells Fargo Community Bank branches in Southern California provided an
    25 array of banking services for Phillips, Triangle, and his many related shell
    26 companies. Between fall 2013 and the end of Triangle in 2018, Wells Fargo
    27 opened more than 60 accounts at Phillips’ request. More than 40 of those bank
    28 accounts, however, were for shell companies supposedly not “owned” by Phillips.
                                                 48                 Case No. ___________
                                                                RECEIVER’S COMPLAINT
Case
   Case
     3:18-cv-01388-LAB-WVG
         3:21-cv-01245-AJB-JLBDocument
                                Document
                                       154
                                         1 Filed 07/08/21
                                                 11/10/21 PageID.50
                                                          PageID.3308Page
                                                                       Page
                                                                          50 71
                                                                             of 88
                                                                                of 118




     1 Phillips was a repeat player at many branches, including San Diego (1st and
     2 Market – 5 accounts and 3 reference letters), El Cajon (6 shell accounts and 9
     3 reference letter), Palomar Vista (8 accounts and 2 reference letters), and San
     4 Marcos (6 accounts and 1 reference letter). Additionally, Phillips often made
     5 requests to open accounts to his Relationship Managers (Albana and Cording)
     6 working out of the Escondido branch, who expedited that process. Albana and
     7 Cording played the essential role of providing Phillips with ready access to
     8 reference letters (they wrote more than 30 such letters between 2015 and 2018).
     9        158. The scope of the branches involved emphasizes that this was not one
    10 bad banker or one bad branch—rather, the bad conduct was reliably endemic at
    11 Wells Fargo. While the Escondido Branch was probably the worst offender (as
    12 discussed below), the misconduct at issue occurred across the Southern California
    13 branches noted above, all of which were operating under Wells Fargo’s toxic sales
    14 culture. For example, in 2015 a banker from the San Diego Branch came to
    15 Phillips’s aid when he asked her to set up a bank account for a shell company
    16 “with me and another signer on it.” The banker responded that she needed the
    17 nominee owner’s information to open the account, but that she would “switch the
    18 relationship once I have it.” Phillips sent the banker the information she requested
    19 (the nominee’s driver license, phone number, and social security number, among
    20 other things), and the banker proceeded to open the account, apparently untroubled
    21 by the fact that Phillips—not the nominee—was the one providing the information
    22 to open an account for a company that purported to be owned by the nominee.
    23        159. The Wells Fargo bankers knew that all of these accounts were related,
    24 but on information and belief, that relationship was never risk-rated, monitored, or
    25 otherwise managed as would be befitting a relationship encompassing the volumes,
    26 number of accounts and global scope of what was an enterprise—not a series of
    27 individually-owned accounts.
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                                                49                   Case No. ___________
                                                                 RECEIVER’S COMPLAINT
Case
   Case
     3:18-cv-01388-LAB-WVG
         3:21-cv-01245-AJB-JLBDocument
                                Document
                                       154
                                         1 Filed 07/08/21
                                                 11/10/21 PageID.51
                                                          PageID.3309Page
                                                                       Page
                                                                          51 72
                                                                             of 88
                                                                                of 118




     1                     (iv)   The Escondido Branch
     2         160. Wells Fargo bankers at the Escondido Branch were especially
     3 accommodating to Phillips, particularly Haiman Albana (“Albana”), who was a
     4 Vice President and Business Relationship Manager at the branch, and Brian
     5 Cording (“Cording”), who was a Vice President and Senior Business Relationship
     6 Manager. Compliance “rules” were easily bent or discarded for Phillips, in line
     7 with the OCC’s conclusion that “[t]o the extent [Wells Fargo] did implement
     8 controls, the Bank intentionally designed and maintained controls to catch only the
     9 most egregious instances of the illegal conduct that was pervasive throughout the
    10 Community Bank.” Albana, for example, initially told Phillips on October 30,
    11 2013, that a shell company account (which Phillips had requested on October 24)
    12 hadn’t yet been set up because Albana was “waiting to hear back from my
    13 compliance department” about it—but when Phillips complained that “when [he]
    14 was working with the branch on this stuff they could turn it around in 1 day” and
    15 asked whether he should “reach out to my branch contact,” Albana sent him the
    16 forms for the next step less than one hour later.
    17         161. On August 25, 2014, Phillips sent an email to Albana about one shell
    18 company’s accounts, asking Albana “to make sure that my name is not showing up
    19 on the [Vital Global Marketing] account (7355) at all. These are [the nominee]’s
    20 accounts of which I have access too. Can you please work to have my name
    21 replaced with her name? Let me know how quickly we can get this taken care
    22 of?” (Emphasis added.) About a week later, Phillips forwarded forms purportedly
    23 completed by the nominee to add her and remove him from the shell account, at
    24 which point a Wells Fargo effected the change.
    25         162. Cording was fully aware that Phillips was the one in control of the
    26 shell accounts that Triangle had at Wells Fargo. On August 19, 2015, for example,
    27 Phillips complained to Cording that he couldn’t see accounts for shell companies
    28 H1 Marketing, Brand Junction, and Total Market Products “at the moment in a
                                                 50                 Case No. ___________
                                                                RECEIVER’S COMPLAINT
Case
   Case
     3:18-cv-01388-LAB-WVG
         3:21-cv-01245-AJB-JLBDocument
                                Document
                                       154
                                         1 Filed 07/08/21
                                                 11/10/21 PageID.52
                                                          PageID.3310Page
                                                                       Page
                                                                          52 73
                                                                             of 88
                                                                                of 118




     1 single portal view on my wells fargo login.” Phillips explained that he “need[ed]
     2 to have key executive access” to the shell company accounts because “they
     3 need[ed] to have my status changed in the company.” Cording immediately made
     4 changes to the profiles in Wells Fargo’s system in order to allow Phillips “to see
     5 the accounts with the ability to transfer into the 3 of them.”
     6         163. Meanwhile, Phillips was making changes to the ownership of the
     7 Vital Global Marketing account—the account which, roughly a year earlier, he’d
     8 had Wells Fargo scrub his name from. Phillips sent over the paperwork to have the
     9 old nominee “owner” removed from the account on August 28, 2015. Less than a
    10 week later, he asked to have a different nominee added to another Vital Global
    11 Marketing account (x1053); a Wells Fargo banker business associate gave the new
    12 nominee control over the account, but when Phillips asked for documentation of a
    13 change in ownership, the Wells Fargo employee explained she would need an
    14 amended operating agreement. A few days after that, Cording chimed in to explain
    15 that the change in ownership would require a new account. The Wells Fargo
    16 employee sent over the required paperwork, explaining that Phillips “would want
    17 to list [the new nominee] as 100% owner to match your documents.” Recognizing
    18 Phillips’s true role in the operation, the banker added, “You will also need to list
    19 anyone (like yourself) who might have control of the company,” and warned
    20 Phillips that as the technical owner of the shell company, the new nominee would
    21 have control over the other Vital Global Marketing account (x7355)—a warning
    22 she would not have needed to give if she’d believed the nominee was, in fact, the
    23 owner.
    24         164. Cording also continued to accommodate Phillips’ requests for
    25 visibility into accounts purportedly owned by others. On May 5, 2016, Phillips
    26 asked Cording to add another shell account, Sunset Order Marketing, to his
    27 “consolidated Business banking view in the portal.” Cording asked another banker
    28 to make the change without hesitation. That banker, however, pointed out that the
                                                  51                   Case No. ___________
                                                                   RECEIVER’S COMPLAINT
Case
   Case
     3:18-cv-01388-LAB-WVG
         3:21-cv-01245-AJB-JLBDocument
                                Document
                                       154
                                         1 Filed 07/08/21
                                                 11/10/21 PageID.53
                                                          PageID.3311Page
                                                                       Page
                                                                          53 74
                                                                             of 88
                                                                                of 118




     1 nominee for the account was the “100% owner, so in order to grant [Phillips]
     2 combine[d] view through online banking” she would need approval from the
     3 nominee. Phillips then asked, “why do these accounts keep getting setup this way
     4 where I have no right to visibility. Can we please get this and all accounts going
     5 forward switched to be in my consolidated view.”
     6         165. The Wells Fargo banker was quick to offer a couple work arounds:
     7         If you aren’t owner they can’t automatically grant you combined view
               because you can transfer between other entities and personal accounts
     8         that way. The work around is to have the owner grant you this
               authority but our online department requires it in writing incase
     9         there is some sort of internal fraud or something with the
               business, WF won’t be liable.
    10
               Unfortunately we cannot automatically do this every time. We have
    11         the work around but it requires an extra step. In order to avoid this
               entirely we do offer the CEO portal for our large business clients.
    12         (Emphasis added.)
    13
               166. Phillips made it absolutely clear that he wanted full access to multiple
    14
         accounts for companies in which he had, on paper, no ownership interest. Though
    15
         this is an obvious indication of potential fraud, no one at Wells Fargo appeared
    16
         troubled by the request. In fact, when Phillips expressed exasperation with the
    17
         process, one Wells Fargo banker even sympathized, apologizing for the Bank’s
    18
         (flimsy) procedural hurdle: “I’m sure somewhere along the lines an employee
    19
         transferred out money from a business to his/her personal accounts and WF took a
    20
         significant loss. So they now require an acknowledgement from the owner stating
    21
         they are ok with the combine view.”
    22
               167. Wells Fargo clearly understood that Phillips was in charge and that
    23
         the nominee owner of the company was more or less irrelevant, but the Bank
    24
         continued to do business with Phillips and Triangle.       Wells Fargo did so in
    25
         violation of KYC rules and regulations, which required the Bank to have a
    26
         relationship with each of its customers. That posed a problem since Wells Fargo’s
    27
         only relationship with the shell companies was through Phillips.
    28
                                                 52                   Case No. ___________
                                                                  RECEIVER’S COMPLAINT
Case
   Case
     3:18-cv-01388-LAB-WVG
         3:21-cv-01245-AJB-JLBDocument
                                Document
                                       154
                                         1 Filed 07/08/21
                                                 11/10/21 PageID.54
                                                          PageID.3312Page
                                                                       Page
                                                                          54 75
                                                                             of 88
                                                                                of 118




     1        168. The rules changed in May 2016, but by December 2017—nearly a
     2 year and a half later—Wells Fargo had not yet implemented them. On information
     3 and belief, the new rule, in fact, simply reflected what had been accepted as
     4 standard practices at many other banks for a number of years (but of course not
     5 Wells Fargo), going back as far as the establishment of new rules after the
     6 September 11, 2001 terrorist attacks. That month, Cording emailed Phillips to
     7 explain the Bank’s obligations under the “new” rule:
     8        In May 2016, the U.S. Treasury Department’s Financial Crimes
              Enforcement Network (FinCEN) issued a rule strengthening the due
     9        diligence that certain financial institutions must perform with respect
              to their customers. The new rule requires that financial institutions
    10        thoroughly understand the nature of the business of each of their
              clients.Wells Fargo and other banks are required to comply with these
    11        new and existing regulations related to the prevention of financial
              crimes. As a result, we are enhancing our internal compliance and
    12        risk related policies. Because of the size and scope of our
              organization, we are starting to collect customer information now to
    13        ensure that we are able to comply with the federal deadline.
    14        169. Cording sent Phillips pre-filled paperwork for 10 companies, seven of
    15 which were shell companies but all of which listed Phillips as the owner. This was
    16 inconsistent with the owners listed on the Wells Fargo bank records, but Cording
    17 clearly considered Phillips to be the actual owner of all 10 companies in spite of
    18 this. Predictably, Phillips responded and asked to have the “docs changed around”
    19 so he could “coordinate for each of the people to sign.” Cording replied: “Happy
    20 to do it, I think the challenge is we may not be sure of the owners of each entity.”
    21 Not only did Wells Fargo have zero idea who its account owners were (showing
    22 how little the Bank was concerned about Triangle’s proliferation of shell
    23 accounts), but Cording, apparently unperturbed, continued doing business with
    24 Phillips even after he was once more faced with proof that Phillips was the de facto
    25 owner for a host of shell companies.
    26                     (v)   Triangle’s Attempts at Securing ACH Processing
    27        170. Phillips periodically looked into securing ACH processing services
    28 from Wells Fargo, which would give Triangle another avenue to accept customer
                                                53                   Case No. ___________
                                                                 RECEIVER’S COMPLAINT
Case
   Case
     3:18-cv-01388-LAB-WVG
         3:21-cv-01245-AJB-JLBDocument
                                Document
                                       154
                                         1 Filed 07/08/21
                                                 11/10/21 PageID.55
                                                          PageID.3313Page
                                                                       Page
                                                                          55 76
                                                                             of 88
                                                                                of 118




     1 payments.. Wells Fargo’s incentive was obvious: they would be able to collect
     2 processing fees for any transactions that Triangle ran.
     3        171. As early as 2014, Albana was working with Phillips to try and secure
     4 web-based ACH processing for Triangle. Apologizing for the delay in getting
     5 approval for Phillips’ application, Albana explained that “[a]s you know your
     6 industry is high risk and the bank is scrutinizing each detail prior to getting
     7 approval, I am working diligently with credit supervision to get the approval.” In
     8 response to requests from Albana, Phillips provided him with a client list, sample
     9 agreement, key officer bios, and additional information.
    10        172. The 2014 push to get ACH processing for Triangle through Wells
    11 Fargo was dead by August, however.             As Keer wrote to another Triangle
    12 employee, “the entire ACH deal with Wells was scuttled because of some random
    13 text on [the Triangle website].”
    14        173. Emails the following month between Triangle personnel make it clear
    15 exactly what, in one employee’s words, “wells’ compliance team saw” that caused
    16 the Bank to back off: an old website for Triangle Media Corporation, which touted
    17 the company’s ability to “provide expertise for your high-risk business” because its
    18 “seamless solutions offer your business the ability to market concepts normally
    19 rejected by traditional processors and banks.”
    20        174. While Triangle had already removed the problematic language from
    21 its website, it was still popping up as the top google search for “Triangle Media,”
    22 so Phillips and his employees made efforts to bury it by “get[ting] new content to
    23 pile over the [problematic language].”
    24        175.   Wells Fargo’s compliance team’s decision to reject Triangle’s
    25 processing application demonstrates, as with the Bank’s rejection of the Apex
    26 merchant processing applications, that Wells Fargo was unwilling to take on the
    27 risk of processing for these companies. The Bank was careful when its own
    28 potential exposure was on the line. Of course, the Bank remained perfectly willing
                                                 54                   Case No. ___________
                                                                  RECEIVER’S COMPLAINT
Case
   Case
     3:18-cv-01388-LAB-WVG
         3:21-cv-01245-AJB-JLBDocument
                                Document
                                       154
                                         1 Filed 07/08/21
                                                 11/10/21 PageID.56
                                                          PageID.3314Page
                                                                       Page
                                                                          56 77
                                                                             of 88
                                                                                of 118




     1 to continue servicing the fraudulent shell companies at the branch level, open bank
     2 accounts for additional shell companies, and take other atypical steps to assist the
     3 schemes’ success.
     4         176. Despite the compliance team’s decision to nix ACH processing, the
     5 sales imperative at the Bank was overwhelming. One year later in 2015, Cording,
     6 was doing his best to get ACH approval for Phillips and Triangle once again.
     7 Cording emailed Phillips that after “thinking through my strategy to get ACH
     8 approved on Triangle Media,” he thought it would be useful to have some balance
     9 sheets and income statements, because they would allow him to “utilize the
    10 financial strength of the business [to] mitigate any risks.”
    11         177. Cording still had not managed to obtain approval for Triangle to use
    12 Wells Fargo’s ACH processing in early 2017, but that didn’t mean that he had
    13 stopped trying. On February 16, he wrote Phillips that “[w]e did do some further
    14 due diligence internally and there is potential for us to fulfill the ACH request as
    15 well as we may have a solution for the account needs.” Although it does not
    16 appear that Cording was ultimately able to secure ACH processing for Triangle,
    17 the fact that he was still willing to try (and that Wells Fargo was still apparently
    18 considering it) in light of everything that Cording and Wells Fargo knew about
    19 Phillips and Triangle speaks for itself. The evidence firmly establishes that Wells
    20 Fargo knew exactly what Triangle was doing, and that by assisting Triangle, it was
    21 violating banking regulations and the Bank’s own (on paper) policies and
    22 procedures.
    23                      (vi)   Wells Fargo Authorized Suspicious and Unusual
    24                      Transactions that Made No Economic Sense.
    25         178. As all of the above examples indicate, Wells Fargo knew from very
    26 early on in its relationship with Triangle that Triangle was using nominees as
    27 fronts for shell companies, with Phillips regularly insisting that the nominees (as
    28 opposed to Phillips, who Wells Fargo knew was the true owner) be listed as the
                                                  55                      Case No. ___________
                                                                      RECEIVER’S COMPLAINT
Case
   Case
     3:18-cv-01388-LAB-WVG
         3:21-cv-01245-AJB-JLBDocument
                                Document
                                       154
                                         1 Filed 07/08/21
                                                 11/10/21 PageID.57
                                                          PageID.3315Page
                                                                       Page
                                                                          57 78
                                                                             of 88
                                                                                of 118




     1 “100% owners” of the accounts.         Wells Fargo bankers had obligations under
     2 standard banking practices and banking laws and regulations to investigate and
     3 report Phillips’ manipulation of the shell companies’ beneficial ownership. Had
     4 Wells Fargo conducted a real investigation, its findings would have compelled it to
     5 refuse to do any more business with Phillips, shut down Phillips’ accounts, and/or
     6 follow Wells Fargo’s established processes regarding the making of internal and
     7 external reports of suspicious activity. In reality, of course, given all that it knew
     8 by this point, Wells Fargo already understood what the results of any such
     9 investigation would be.
    10         179. Wells Fargo knew that Triangle’s shell companies continually
    11 suffered massive chargebacks. Like with Apex, this was abundantly clear from the
    12 shell companies’ monthly account statements.
    13         180. Wells Fargo had an obligation under banking laws and regulations to
    14 look at the family of Triangle accounts as a whole, rather than looking at individual
    15 account activity in isolation. If one Triangle-related account needed to be closed,
    16 then all other Triangle accounts likely would have to be closed too.             This
    17 obligation required the Bank to reassess its dealings with the Triangle Enterprise
    18 on a regular basis, including whenever it opened a new account at Phillips’ request.
    19         181. Wells Fargo was therefore obligated when conducting its account
    20 opening and at least annual diligence for Triangle-related entities under standard
    21 AML procedures to assess both new – and existing accounts in the context of the
    22 overall relationship with Triangle’s beneficial owners and key parties, namely
    23 Phillips who had more than 30 personal and corporate accounts with Wells Fargo
    24 (in addition to the more than 50 shell accounts).
    25         182. In particular, Wells Fargo should have conducted a critical
    26 examination of transfers between Phillips-owned and Phillips-associated
    27 companies, which there is no indication it did—even though there were multiple
    28 indicia of fraud present. Wells Fargo knew that Phillips was regularly requesting
                                                 56                   Case No. ___________
                                                                  RECEIVER’S COMPLAINT
Case
   Case
     3:18-cv-01388-LAB-WVG
         3:21-cv-01245-AJB-JLBDocument
                                Document
                                       154
                                         1 Filed 07/08/21
                                                 11/10/21 PageID.58
                                                          PageID.3316Page
                                                                       Page
                                                                          58 79
                                                                             of 88
                                                                                of 118




     1 that the Bank move money into his main Wells Fargo Triangle account, which
     2 Phillips himself exclusively owned. At Phillips’ direction, Wells Fargo regularly
     3 processed suspicious large-figure, round-number transfers out of shell accounts
     4 (which were nominally owned by others) and into his own Triangle account.
     5 Wells Fargo bankers should have pressed Phillips on why significant amounts of
     6 money were being sent from accounts owned by others to Phillips’ Triangle
     7 account, all while the listed owners (nominees) were receiving only nominal
     8 payments from the accounts that they supposedly owned. Wells Fargo was also
     9 knew that funds which hit Wells Fargo’s Triangle account were regularly being
    10 transferred overseas. If Wells Fargo had any concern for protecting the interests of
    11 these “owners,” or complying with anti-fraud or AML regulations, it would not
    12 have permitted Phillips and Triangle to do what they were doing.
    13        183. Wells Fargo had no such concerns. Instead, after Wells Fargo had
    14 enabled Phillips himself, and not the supposed “owners,” to direct these transfers
    15 from the LLC accounts to his Triangle accounts, thereafter Wells Fargo even
    16 transferred the recently-deposited funds from the Triangle account entirely out of
    17 the United States.
    18        184. While Wells Fargo was disregarding problematic and unusual account
    19 activity, Wells Fargo was not at all ignoring Phillips or Triangle’s accounts.
    20 However, instead of vigilantly monitoring these accounts for suspicious behavior
    21 in the context of a high-risk customer in a high-risk industry, making all manner of
    22 suspicious transactions out of accounts he did not “own,” Wells Fargo was
    23 nurturing its relationship with Phillips to try to grow Wells Fargo’s business. In
    24 other words, Wells Fargo was doing what it did best: opening accounts wherever it
    25 could, whether by providing new banks accounts for the shell companies or trying
    26 to provide add-on banking services, such as ACH processing, merchant processing,
    27 or even access to foreign accounts. Cross-selling clients, not compliance or client
    28 oversight, was the priority for Wells Fargo. See, e.g., American Banker, Bankshot:
                                                57                   Case No. ___________
                                                                 RECEIVER’S COMPLAINT
Case
   Case
     3:18-cv-01388-LAB-WVG
         3:21-cv-01245-AJB-JLBDocument
                                Document
                                       154
                                         1 Filed 07/08/21
                                                 11/10/21 PageID.59
                                                          PageID.3317Page
                                                                       Page
                                                                          59 80
                                                                             of 88
                                                                                of 118




     1 Wells Fargo Should Have Seen Add-on-product Trouble Coming, Kevin Wack,
     2 July 19, 2018.
     3         185. It is particularly troubling that over many years, Wells Fargo used so-
     4 called “Relationship Managers” (in this case Albana and Cording operating out of
     5 the Escondido branch) to serve as lead salespersons seeking to grow the Triangle
     6 relationship as much as possible. Wells Fargo flouted the common industry role
     7 that positions such as Relationship Managers have as experienced bankers,
     8 providing an extra “first line of defense” layer of protection for a bank against
     9 fraud and money laundering.
    10         186. Wells Fargo designed a corporate structure prioritizing sales that
    11 instead used its designated Relationship Managers in a way that perpetuated fraud
    12 and weakened risk compliance, unlike other banks of its size. Typically, a banker
    13 in such a position will conduct periodic due diligence reviews across families of
    14 accounts, especially for accounts like Triangle, operating in high-risk industries
    15 rife with fraud.    At other institutions following standard banking practices, a
    16 designated account representative such as this would have adhered to procedures
    17 such as requiring visits to an owner’s place of business. Such designated account
    18 representatives would also have been responsible for being familiar with the
    19 specific activity in the account and its purpose, and for providing updated
    20 predictions of expected activity in order to facilitate centrally managed, automated
    21 monitoring for potentially suspicious activity. But, as Brian Phillips had learned
    22 early on, Wells Fargo was “totally different.”
    23         C.    Wells Fargo Aided and Abetted Fraudulent Transfers
    24         187. There is additional evidence of Wells Fargo’s knowledge of the
    25 scammers’ modus operandi. Millions of dollars consumers paid into the various
    26 shell company accounts were diverted to the individual fraudsters to maintain their
    27 lavish personal lifestyle, or to funnel monies out of the Enterprises into real estate
    28 and investments that they would purchase via trusts and corporations.             For
                                                 58                   Case No. ___________
                                                                  RECEIVER’S COMPLAINT
Case
   Case
     3:18-cv-01388-LAB-WVG
         3:21-cv-01245-AJB-JLBDocument
                                Document
                                       154
                                         1 Filed 07/08/21
                                                 11/10/21 PageID.60
                                                          PageID.3318Page
                                                                       Page
                                                                          60 81
                                                                             of 88
                                                                                of 118




     1 example, in July 2014 emails between Triangle’s Phillips and Tim Morgan, a
     2 Wells Fargo Private Mortgage Banker, Phillips notified Morgan that Phillips would
     3 receive a $2 million wire from Hardwire (a defendant in the FTC case), and then
     4 asked, “will this money need to be ‘seasoned’ before being used for a house
     5 purchase?”
     6         188. As set forth herein, Peikos and/or Barnett, and Phillips controlled the
     7 Apex and Triangle Enterprises (which are now Receivership Entities), and directed
     8 them to make numerous transfers out of proceeds of the fraud to themselves, and
     9 third parties (including Wells Fargo). At the time of each fraudulent transfer, they
    10 intended to delay, defraud, or hinder their creditors (most notably the Receivership
    11 Entities under their control).
    12         189. Through the numerous acts identified herein, Wells Fargo
    13 substantially assisted Phillips, Peikos and Barnett in making these fraudulent
    14 transfers, despite knowing that the transfers were unlawful, they controlled the
    15 Receivership Entities and had no lawful claim to fraudulently-obtained consumer
    16 funds. Wells Fargo knowingly transferred shell company account funds to other
    17 Receivership Entity shell company accounts and then directly to Phillips, Peikos,
    18 and/or Barnett or to other third parties (at the direction of Phillips, Peikos, and/or
    19 Barnett) without the shell companies receiving a reasonably equivalent value in
    20 exchange for the transfers and which depleted the shell companies of all or
    21 substantially all of their assets.
    22         190. The transfers from the Wells Fargo accounts of the Receivership
    23 Entities to Phillips, Peikos, Barnett and Wells Fargo constitute fraudulent transfers
    24 under the California UVTA and UFTA for the following reasons, among others:
    25         191. Phillips, Peikos and Barnett made the transfers to themselves or third
    26 parties with the actual intent to hinder, delay, or defraud consumers;
    27         192. Phillips, Peikos and Barnett engaged in the free-trial schemes
    28 knowing that their assets and the assets of the Receivership Entities they controlled
                                                 59                   Case No. ___________
                                                                  RECEIVER’S COMPLAINT
Case
   Case
     3:18-cv-01388-LAB-WVG
         3:21-cv-01245-AJB-JLBDocument
                                Document
                                       154
                                         1 Filed 07/08/21
                                                 11/10/21 PageID.61
                                                          PageID.3319Page
                                                                       Page
                                                                          61 82
                                                                             of 88
                                                                                of 118




     1 were unreasonably small considering that all of the assets were obtained by frauds
     2 on consumers and did not belong to them;
     3 Phillips, Peikos and Barnett knew that through their fraudulent schemes, they
     4 incurred debts to the Receivership Entities and consumers beyond their ability to
     5 pay;They retained possession or control of the assets after the transfers.
     6         193. The Receivership Entities did not receive a reasonably equivalent
     7 value in exchange for the transfers from the Wells Fargo accounts because Phillips,
     8 Peikos, and Barnett drained the accounts for their own personal use and benefit,
     9 and the shell companies acted as mere pass-throughs to allow the fraudsters to
    10 avoid detection by creditors of their ownership and control of the funds;
    11         194. The Receivership Entities had no assets other than the fraudulently-
    12 obtained funds before or after the transfers;
    13         195. The transfers to Phillips, Peikos, and Barnett were as corporate
    14 insiders of the Receivership Entities;
    15         196. The transfers among and from the Wells Fargo accounts were
    16 intended to conceal the true ownership and recipients of the funds;
    17         197. When the transfers were made, Phillips, Peikos and Barnett knew they
    18 were likely to be sued for their wrongdoing;
    19         198. Phillips, Peikos, and Barnett removed and concealed receipt of the
    20 consumer funds from the Wells Fargo accounts by transferring them to unrelated,
    21 unidentified and undisclosed personal and offshore accounts;
    22         199. The transfers were of substantially all the Receivership Entities’
    23 assets;
    24         200. The Receivership Entities were insolvent or became insolvent shortly
    25 after the transfers were made or the obligations were incurred; and
    26         201. The transfers occurred shortly before or shortly after the substantial
    27 debts to consumers were incurred.
    28         202. Despite knowing that Phillips, Peikos and Barnett had no lawful claim
                                                 60                   Case No. ___________
                                                                  RECEIVER’S COMPLAINT
Case
   Case
     3:18-cv-01388-LAB-WVG
         3:21-cv-01245-AJB-JLBDocument
                                Document
                                       154
                                         1 Filed 07/08/21
                                                 11/10/21 PageID.62
                                                          PageID.3320Page
                                                                       Page
                                                                          62 83
                                                                             of 88
                                                                                of 118




     1 to the consumer funds and Phillips, Peikos, and Barnet lacked the assets to pay
     2 such amounts back to the Receivership Entities, Wells Fargo transferred such
     3 consumer funds, and depleted the Receivership Entities’ assets, which allowed
     4 Phillips, Peikos, and/or Barnett to receive such funds directly.
     5         203. Based on the allegations above, these transfers of Receivership Entity
     6 funds to Wells Fargo and Phillips, Peikos, and Barnett constitute fraudulent
     7 transfers which must be returned to the Receivership Entities. Accordingly, the
     8 Receiver seeks to recover as fraudulent transfers all Receivership Entity/consumer
     9 funds received by Wells Fargo as well as those funds transferred to Phillips,
    10 Peikos, and Barnett.
    11         204. Wells Fargo knowingly aided and abetted the fraudulent transfers
    12 from the Receivership Entities under the control of Phillips, Peikos, and/or Barnett.
    13 This substantial assistance included the fraudulent transfer of consumer funds from
    14 the Wells Fargo accounts to Phillips, Peikos, and Barnett.
    15         205. In addition, Wells Fargo accepted payments of consumer funds from
    16 Receivership Entities in connection with setting up and maintaining the fraudulent
    17 accounts. By collecting fees, charges, fines, reserve amounts, and other payments
    18 generated by the shell companies’ and other Receivership Entities’ payment
    19 processing, Wells Fargo was asserting that the Receivership Entities had a valid
    20 obligation to make these payments to Wells Fargo.
    21         206.   Wells Fargo, as a knowing aider and abettor of the fraudulent
    22 schemes, was not entitled to receive, and could not take in good faith, these
    23 payments from the Receivership Entities’ funds derived from payments by
    24 defrauded consumers in connection with setting up and maintaining the fraudulent
    25 accounts for the Receivership Entities and thus constitute fraudulent transfers
    26 which must be returned to the Receivership Entities.
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                                                 61                   Case No. ___________
                                                                  RECEIVER’S COMPLAINT
Case
   Case
     3:18-cv-01388-LAB-WVG
         3:21-cv-01245-AJB-JLBDocument
                                Document
                                       154
                                         1 Filed 07/08/21
                                                 11/10/21 PageID.63
                                                          PageID.3321Page
                                                                       Page
                                                                          63 84
                                                                             of 88
                                                                                of 118




     1 VIII. KNOWING VIOLATIONS OF BANKING LAWS AND
     2         PROCEDURES
     3         207. Wells Fargo repeatedly and knowingly violated banking rules and
     4 regulations in its assistance and facilitation of the Apex and Triangle Enterprises,
     5 which is further evidence that Wells Fargo knew exactly what it was doing to assist
     6 a fraud. The lengths to which Wells Fargo went to substantially aid and abet these
     7 fraudulent enterprises is evidenced by not only their willful disregard of standard
     8 banking procedures, but also Wells Fargo’s continued violations of a dizzying
                                                                                    14
     9 array of banking laws designed to protect against fraud and money laundering.
    10         208. The Bank Secrecy Act (“BSA”) makes it a criminal act for banks and
    11 other financial institutions to aid and abet criminals in the laundering of money.
    12 FinCEN is the federal regulatory agency responsible for issuing regulations to
    13 combat money laundering. FinCEN defines money laundering as the process of
    14 making illegally-gained proceeds (i.e., “dirty money”) appear legal (i.e., “clean”).
    15 Typically, it involves three steps: placement, layering, and integration. First, the
    16 illegitimate funds are introduced into a legitimate financial system (placement).
    17 Then, the money is moved around to create confusion, sometimes by wiring or
    18 transferring the funds through numerous accounts (layering).           Finally, it is
    19 integrated into the financial system through additional transactions until the “dirty
                                            15
    20 money” appears “clean” (integration).
    21         209. Under the BSA, banks must comply with certain Customer
    22 Identification Program (CIP) requirements when opening new accounts, including
    23
         14
    24   Plaintiff is not bringing any claims for violating the Bank Secrecy Act or related
       regulations, nor is he alleging that an express or implied duty arose to Plaintiff
    25 based on Wells Fargo’s BSA violations. Wells Fargo’s duties directly arose to the
       Receivership Entities as Wells Fargo’s customers.
    26
    27   15
           See “History of Anti-Money Laundering Laws,” FinCEN, available at
    28 https://www.fincen.gov/history-anti-money-laundering-laws.
                                                 62                  Case No. ___________
                                                                 RECEIVER’S COMPLAINT
Case
   Case
     3:18-cv-01388-LAB-WVG
         3:21-cv-01245-AJB-JLBDocument
                                Document
                                       154
                                         1 Filed 07/08/21
                                                 11/10/21 PageID.64
                                                          PageID.3322Page
                                                                       Page
                                                                          64 85
                                                                             of 88
                                                                                of 118




     1 maintaining account-opening procedures detailing the identifying information that
     2 must be obtained from each customer. As an established nationwide banking
     3 system, Wells Fargo and its bankers knew what these requirements were.
     4         210. Section 326 of the USA PATRIOT Act was enacted following the
     5 9/11 terrorist attacks and jointly implemented by the federal banking regulators,
     6 requires that banks to meet minimum standards with regard to collection of the
     7 name, address, date of birth and tax identification number or other means of
     8 positive identification for all customers for which it opens an account.
     9         211. A circular issued jointly by the then four federal bank regulatory
    10 agencies, joining with FinCEN and the Department of Treasury stated that:
    11
               “a bank’s CIP must include risk-based procedures for verifying the identity
    12         of each customer to the extent reasonable and practicable. It is critical that
    13         each bank develop procedures to account for all relevant risks including
               those presented by the types of accounts maintained by the bank, the
    14         various methods of opening accounts provided, the type of identifying
    15         information available, and the bank’s size, location, and type of business or
               customer base. Thus, specific minimum requirements in the rule, such as
    16         the four basic types of information to be obtained from each customer,
    17         should be supplemented by risk-based verification procedures, where
               appropriate, to ensure that the bank has a reasonable belief that it knows
    18         each customer’s identity. (Emphasis added.)
    19
               212. Additionally, Wells Fargo was required as a part of federally-
    20
         mandated account opening process to understand the business/account use (“Know
    21
         Your Customer”), and to add extra steps in due diligence, especially where, as was
    22
         the case with both Triangle and Apex, high risk existed: Customer Due Diligence
    23
         (“CDD”) and Enhanced Due Diligence (“EDD”).
    24
               213. During the Relevant Period, it was standard industry practice (and
    25
         expected by banks of Wells Fargo’s size) to provide its branch employees with
    26
         tailored training on how to comply with these laws and regulations, including how
    27
         recognize and escalate suspicious activity in their roles.
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                                                   63                     Case No. ___________
                                                                      RECEIVER’S COMPLAINT
Case
   Case
     3:18-cv-01388-LAB-WVG
         3:21-cv-01245-AJB-JLBDocument
                                Document
                                       154
                                         1 Filed 07/08/21
                                                 11/10/21 PageID.65
                                                          PageID.3323Page
                                                                       Page
                                                                          65 86
                                                                             of 88
                                                                                of 118




     1        214. Wells Fargo was required to train its employees on how to comply
     2 with the BSA and USA PATRIOT Act, including but not limited to:
     3
             The importance of getting accurate identity information and beneficial
     4        owner identification;
     5
             The ability to identify and act upon red flags for suspicious activity,
     6        including but not limited to
     7            o   Suspicious designation of beneficiaries, assignees or joint owners
     8            o   Suspicious use of multiple accounts
                  o   Transactions out-of-pattern for the customer or business situation
     9
                  o   Transactions that don’t make economic sense
    10
             Understanding of various types of activity that require reporting in a number
    11
              of categories including:
    12
                  o 31-Fraud, including
    13                  e-credit/debit card
    14                  h-mass marketing
                        i-pyramid scheme
    15
    16            o 33-Money Laundering
                        d-suspicious designation of beneficiaries, assignees or joint
    17
                         owners
    18                  h-suspicious use of multiple accounts
                        l-transactions out-of-pattern for customers
    19
    20            o 34-Identification/Documentation.
    21        215. The regulatory requirements under the BSA placed central importance
    22 on vigilantly monitoring to identify and verify customers and beneficial owners, to
    23 understand the nature and purpose of customer relationships to develop an accurate
    24 customer risk profile, and to undertake ongoing monitoring for reporting
    25 suspicious transactions and to maintain and update customer information.
    26        216. In a branch system, like Wells Fargo maintained, the branch
    27 employees were required to have a central role in complying with the law and
    28 related regulations. Among other things, branch employees were typically the
                                                 64                   Case No. ___________
                                                                  RECEIVER’S COMPLAINT
Case
   Case
     3:18-cv-01388-LAB-WVG
         3:21-cv-01245-AJB-JLBDocument
                                Document
                                       154
                                         1 Filed 07/08/21
                                                 11/10/21 PageID.66
                                                          PageID.3324Page
                                                                       Page
                                                                          66 87
                                                                             of 88
                                                                                of 118




     1 primary source of reporting suspicious activity up the chain within Wells Fargo to
     2 enable the bank to determine whether it needed to take steps to fulfill its
     3 obligations to report such activity externally (to FinCEN). Wells Fargo routinely
     4 failed to follow the requirements of BSA/AML/CIP for Apex and Triangle. Wells
     5 Fargo’s Community Bank gave its branches wide discretion and deficient oversight
     6 in performing these tasks, while at the same time incentivizing branch employees
     7 to open accounts and cross-sell under a high-pressure quota system.
     8        217.     As examples, Wells Fargo knowingly allowed accounts to have
     9 incorrect addresses and use identical Wyoming mail drops (in the case of Apex).
    10 Instead of identifying and verifying actual beneficial owners of the shell
    11 companies, Wells Fargo knew that actual owners were different from the listed
    12 owners, and undertook any number of steps to mask or paper over such
    13 inconsistencies.
    14        218. Wells Fargo deliberately failed to compile an adequate customer risk
    15 profile for all of the shell companies.       If the Bank had used commercially
    16 reasonable risk assessment techniques, it would never have opened these accounts
    17 or would have immediately closed the accounts after it processed transactions that
    18 were clearly suspicious.
    19        219. Further, Wells Fargo knew that Apex and Triangle shell companies
    20 were routinely executing suspicious transactions using their Wells Fargo accounts,
    21 such as transferring funds between accounts and to external accounts in “round”
    22 dollar amounts—that is, round numbers with zeros on the end (e.g., $100,000). An
    23 abundance of “round” dollar transactions (which the Apex and Triangle shell
    24 companies certainly had) is indicative of money laundering and has been referred
    25 to as “a fingerprint of fraud.” See Nigrini, Mark J., “Round numbers: A fingerprint
    26 of    fraud,”    Journal   of   Accountancy    (May    1,     2018),   available   at
    27 https://www.journalofaccountancy.com/issues/2018/may/fraud-round-
    28 numbers.html.
                                                65                     Case No. ___________
                                                                   RECEIVER’S COMPLAINT
Case
   Case
     3:18-cv-01388-LAB-WVG
         3:21-cv-01245-AJB-JLBDocument
                                Document
                                       154
                                         1 Filed 07/08/21
                                                 11/10/21 PageID.67
                                                          PageID.3325Page
                                                                       Page
                                                                          67 88
                                                                             of 88
                                                                                of 118




     1         220. As even the most cursory reviews of monthly account statements
     2 made abundantly clear, Wells Fargo was well aware of the Apex and Triangle shell
     3 companies’ high chargeback rates, which were well in excess of the permitted
     4 chargeback rates under Visa/Mastercard rules for high-risk merchants.
     5         221. Regardless of the vantage point from which the Apex and Triangle
     6 Enterprises are viewed, Wells Fargo knew that they were high-risk relationships
     7 and accounts for multiple reasons. As such, Wells Fargo knew that they were
     8 required to classify the family of Apex and Triangle accounts as high risk for
     9 misuse and as such, subject them to heightened oversight and enhanced due
    10 diligence.
    11         222. Further, Wells Fargo was well aware that Apex and Triangle were
    12 classified as high risk by merchant processors, including Wells Fargo’s own
    13 merchant processing group.         This provided yet another reason for active
    14 monitoring of these accounts by Community Bank employees and branches.
    15         223. Indeed, the Bank’s very own Merchant Processing Agreement and
    16 Credit Risk Guidelines confirm the many risks created by businesses like Apex and
    17 Triangle. The Processing Agreement specifically prohibits the solicitation of
    18 merchants engaged in certain unacceptable business practices, because they were
    19 presumptively illegal, violated card association rules, or created excessive risk
    20 exposure. The prohibited categories included, for example, debt consolidation
    21 services, Get Rich Quick Opportunities, and any merchant engaged in any form of
    22 deceptive marketing practices.
    23         224. Wells    Fargo    also   prohibited   the   solicitation   of   merchants
    24 selling nutraceuticals through free trial offers, unless specifically pre-approved by
    25 Wells Fargo.     And when Wells Fargo periodically evaluated, and on several
    26 occasions reviewed, completed applications, for the Apex and Triangle Enterprises
    27 Wells Fargo declined to provide merchant processing.         (The exception was the
    28 small amount Triangle legacy merchant processing through a third party, which
                                                 66                   Case No. ___________
                                                                  RECEIVER’S COMPLAINT
Case
   Case
     3:18-cv-01388-LAB-WVG
         3:21-cv-01245-AJB-JLBDocument
                                Document
                                       154
                                         1 Filed 07/08/21
                                                 11/10/21 PageID.68
                                                          PageID.3326Page
                                                                       Page
                                                                          68 89
                                                                             of 88
                                                                                of 118




     1 apparently stayed below Wells Fargo’s radar for years – either by mistake or policy
     2 design.)
     3        225. Wells Fargo’s Credit Risk Guidelines (the “Guidelines”) require
     4 that merchants be scrutinized for evidence of deceptive marketing practices and, if
     5 found, immediately compel the merchant to eliminate these practices or terminate
     6 the merchant. The Guidelines provide numerous examples of common warning
     7 signs of potential deceptive marketing practices, almost all of which the
     8 Enterprises employed. These include negative options and industries where
     9 deceptive marketing practices were prevalent, such as nutraceuticals. Further, the
    10 Guidelines specifically warn about merchants opening multiple accounts,
    11 particularly via multiple shell companies with the same or similar principals (in
    12 some cases, hired “mules” with little or no business involvement which may be
    13 submitted to obscure the true ownership).
    14 IX.    WELLS FARGO EXECUTIVES AUTHORIZED AND RATIFIED
    15        BANKER PARTICIPATION IN THE FRAUDS
    16        226. Evidence of Wells Fargo’s executives’ pressure on managers and
    17 employees to participate in the fraudulent misconduct alleged herein also is set
    18 forth in numerous governmental and private lawsuits. In the SEC’s complaint
    19 against Carrie L. Tolstedt, Senior Executive Vice President of Community
    20 Banking for Wells Fargo filed on November 13, 2020, the SEC alleged that for
    21 several years, until mid-2016, Wells Fargo opened millions of accounts or sold
    22 products that were unauthorized or fraudulent, and others that were unneeded and
    23 unwanted by retail banking customers.
    24        227. The Community Bank, which Tolstedt led from 2007 through mid-
    25 2016, was responsible for managing the large network of bank branches, referred
    26 to within Wells Fargo as “stores,” as well as other sales channels through which
    27 Wells Fargo offered its products. The branches employed, among others, bankers
    28 who were generally responsible for offering accounts and financial products or
                                                67                  Case No. ___________
                                                                RECEIVER’S COMPLAINT
Case
   Case
     3:18-cv-01388-LAB-WVG
         3:21-cv-01245-AJB-JLBDocument
                                Document
                                       154
                                         1 Filed 07/08/21
                                                 11/10/21 PageID.69
                                                          PageID.3327Page
                                                                       Page
                                                                          69 90
                                                                             of 88
                                                                                of 118




     1 services to customers. The bankers reported up through managers of the branches
     2 to Regional Bank Executives, who reported to Tolstedt. In addition, the persons
     3 who managed the various groups organized around products that the Community
     4 Bank offered also reported up to Tolstedt.
     5        228. The Community Bank also had financial and risk officers who
     6 reported to Tolstedt and assessed the Community Bank’s business progress and its
     7 risks. Those persons provided information to the financial and risk officers for the
     8 Company overall, often after first discussing the information with Tolstedt. In
     9 addition, at least quarterly, Tolstedt met with the CEO (and frequently others) to
    10 discuss the business of the Community Bank and to make strategic plans.
    11        229. During the Relevant Period, Wells Fargo’s CEO and other high-level
    12 executives and directors of the Bank encouraged employees to deliberately ignore
    13 indicia of fraud if it helped the Bank’s bottom line—instructions which led to
    14 Wells Fargo and its employees aiding and abetting the Enterprise schemes.
    15        230. Other higher-level employees and agents of Wells Fargo in the
    16 Community Bank branches encouraged and instructed their bankers and employees
    17 to do the same. These higher-level employees and agents included:
    18              David Hannig, who was an Assistant Vice President and Business
                     Sales Consultant for Wells Fargo Merchant Services, and who worked
    19               directly with Apex’s Barnett, Peikos, Camacho, and Carr;
    20              Lea Walker, who was a Business Specialist and subsequently an
                     Assistant Vice President at Wells Fargo in the Keller, TX branch (910
    21               Keller Parkway, Keller, TX 76248), and who worked directly with
                     Triangle’s Phillips;
    22
                    Haiman Albana, who was a Business Relationship Manager at Wells
    23               Fargo associated in the Escondido, CA branch (500 La Terraza
                     Boulevard, Suite 200, Escondido, CA 92025), and who worked
    24               directly with Triangle’s Phillips; and
    25              Brian Cording, who was a Senior Business Relationship Manager at
                     Wells Fargo associated with the Escondido, CA branch (500 La
    26               Terraza Boulevard, Suite 200, Escondido, CA 92025), and who
                     worked directly with Triangle’s Phillips.
    27
    28        231. These are just some of the Wells Fargo employees who knowingly
                                                68                   Case No. ___________
                                                                 RECEIVER’S COMPLAINT
Case
   Case
     3:18-cv-01388-LAB-WVG
         3:21-cv-01245-AJB-JLBDocument
                                Document
                                       154
                                         1 Filed 07/08/21
                                                 11/10/21 PageID.70
                                                          PageID.3328Page
                                                                       Page
                                                                          70 91
                                                                             of 88
                                                                                of 118




     1 acted in collaboration and collusion with Apex and Triangle in furtherance of the
     2 unlawful schemes. Wells Fargo authorized or ratified the acts of these employees
     3 as alleged herein.
     4 X.     INFORMATION ALLEGATIONS
     5        232. Allegations made in this Complaint are based on information and
     6 belief, except those allegations that pertain directly to the Receiver, which are
     7 based on his personal knowledge. The Receiver’s information and belief is based
     8 on, inter alia, the investigation and review of publicly filed documents and from
     9 the Receiver appointed in the FTC actions described above and his attorneys. Each
    10 and every allegation and factual contention contained in this Complaint has
    11 evidentiary support or, alternatively, is likely to have evidentiary support after
    12 reasonable opportunity for further investigation or discovery by the Receiver or his
    13 counsel.
    14 XI.    DELAYED DISCOVERY BY THE RECEIVER AND ESTOPPEL
    15        233. First and foremost, the Receiver’s discovery of the Receivership
    16 Entities’ claims against Wells Fargo was impossible until his appointment; prior to
    17 that, the Receivership Entities were controlled by Phillips, Barnett, and Peikos,
    18 which made discovery of their wrongdoing impossible. The statutes of limitations
    19 were tolled until the time of the Receiver’s appointment.
    20        234. The statutes of limitations were tolled past that point, however,
    21 because the Receiver did not (and could not have) discovered the fraud
    22 immediately upon his appointment. The Receiver only discovered Wells Fargo’s
    23 misconduct related to the Apex and Triangle Enterprises in 2019. There were two
    24 primary reasons for this: (1) Wells Fargo took steps to conceal its role in the Apex
    25 and Triangle frauds; and (2) the Receiver did not receive responses to subpoenas it
    26 issued to Wells Fargo until June and July of 2019, before which there was
    27 insufficient documentary evidence for the Receiver to discover the claims. Once
    28 the Receiver and his counsel had the documents in hand, they were finally able to
                                                69                     Case No. ___________
                                                                   RECEIVER’S COMPLAINT
Case
   Case
     3:18-cv-01388-LAB-WVG
         3:21-cv-01245-AJB-JLBDocument
                                Document
                                       154
                                         1 Filed 07/08/21
                                                 11/10/21 PageID.71
                                                          PageID.3329Page
                                                                       Page
                                                                          71 92
                                                                             of 88
                                                                                of 118




     1 piece together Wells Fargo’s role in facilitating the Apex and Triangle frauds, and
     2 to confirm that the Bank knew of the fraudulent nature of the Apex and Triangle
                   16
     3 Enterprises.
     4         235. Because of Phillips’s, Peikos’s and Barnett’s efforts to conceal the
     5 Apex and Triangle frauds from consumers, along with the role Wells Fargo played
     6 in those frauds, Wells Fargo is estopped from contending that any of the
     7 Receiver’s claims are barred by applicable statutes of limitations.
     8 XII. CAUSES OF ACTION
     9                                  First Cause of Action
    10                              (Aiding and Abetting Fraud)
    11         236. The Receiver repeats and realleges the allegations of each and every
    12 one of the prior paragraphs, inclusive, as if fully set forth herein.
    13         237. Phillips, Peikos, and Barnett, via the Apex and Triangle Enterprises,
    14 operated online “free trial” scams, which falsely advertised that consumers would
    15 only be charged the cost of shipping in exchange for a trial of a product. In reality,
    16 the consumers were being signed up for a subscription service and charged for the
    17 full price of the product on the next billing cycle unless they affirmatively canceled
    18 the subscription.
    19         238. Wells Fargo knew that the Apex and Triangle Enterprises were
    20 engaged in a high-risk, fraudulent business, and Wells Fargo knew that they were
    21 required to terminate or further investigate that business pursuant to the BSA,
    22 FinCEN regulations, and their own internal policies. Multiple Wells Fargo
    23 employees across multiple branches deliberately turned a blind eye to the Apex
    24 and Triangle frauds, because the large number of accounts needed by the Apex and
    25 Triangle Enterprises helped them to meet otherwise-unattainable sales quotas set
    26
    27   16
         The Receiver did not file until now pursuant to a Tolling Agreement with
    28 Defendants.
                                                   70                   Case No. ___________
                                                                    RECEIVER’S COMPLAINT
Case
   Case
     3:18-cv-01388-LAB-WVG
         3:21-cv-01245-AJB-JLBDocument
                                Document
                                       154
                                         1 Filed 07/08/21
                                                 11/10/21 PageID.72
                                                          PageID.3330Page
                                                                       Page
                                                                          72 93
                                                                             of 88
                                                                                of 118




     1 by Wells Fargo’s corporate headquarters.        Wells Fargo’s corporate policies
     2 encouraged sales misconduct by setting unrealistic sales goals and requiring
     3 bankers to open as many accounts, and to sell as many services and bank products,
     4 as possible.
     5        239. Wells Fargo provided substantial assistance to the intentional torts
     6 committed by the primary wrongdoers by, among other things, creating accounts
     7 for shell companies used by the Apex and Triangle Enterprises to secure critical
     8 merchant processing services; assisting the Apex and Triangle principals in hiding
     9 their ownership of those accounts from the merchant processors, so that the
    10 principals could continue to secure merchant processing services for the underlying
    11 fraud; and allowing Apex and Triangle to launder money obtained from defrauded
    12 consumers through their Wells Fargo accounts.
    13        240. The substantial assistance that Wells Fargo provided to the Apex and
    14 Triangle frauds proximately caused substantial damages to the Receivership
    15 Entities in an amount to be proven at trial. These damages include, but are not
    16 limited to: the fees charged by Wells Fargo for their banking services, which
    17 directly furthered the fraudulent schemes and depleted the funds of the
    18 Receivership Entities; the Receivership Entities’ legal obligations to satisfy the
    19 FTC Judgments, which require the Receivership Entities to make whole the
    20 consumers who were defrauded as a result of the Apex and Triangle frauds that
    21 Wells Fargo facilitated; all fees and costs necessitated by the need to establish a
    22 Receivership; and the costs of defending the action by the FTC (including the
    23 resulting Receiverships).
    24        241. Wells Fargo’s conduct was intentional, fraudulent, willful, malicious,
    25 and intended to injure the Receivership Entities, by virtue of which the Receiver
    26 prays for an award of exemplary and punitive damages.
    27                                Second Cause of Action
    28                             (Conspiracy to Commit Fraud)
                                                71                  Case No. ___________
                                                                RECEIVER’S COMPLAINT
Case
   Case
     3:18-cv-01388-LAB-WVG
         3:21-cv-01245-AJB-JLBDocument
                                Document
                                       154
                                         1 Filed 07/08/21
                                                 11/10/21 PageID.73
                                                          PageID.3331Page
                                                                       Page
                                                                          73 94
                                                                             of 88
                                                                                of 118




     1         242. The Receiver repeats and realleges the allegations of each and every
     2 one of the prior paragraphs, inclusive, as if fully set forth herein.
     3         243. Philips, Peikos, and Barnett engaged in the primary wrongs described
     4 herein.
     5         244. Wells Fargo entered into a conspiracy with Phillips, Barnett, and
     6 Peikos to perpetuate their frauds. Wells Fargo agreed to assist the frauds by,
     7 among other things, and as described herein, (i) opening accounts for dozens of
     8 shell companies, which Wells Fargo knew were owned and controlled by Apex and
     9 Triangle’s principals, (ii) executing reference letters that gave legitimacy to the
    10 shell companies and allowed them to secure merchant processing services, (iii)
    11 accepting as deposits funds which Wells Fargo knew were fraudulently obtained
    12 from consumers, (iv) transferring those funds to other accounts (including foreign
    13 accounts), which allowed the Apex and Triangle principals to launder the money
    14 they derived from the frauds, and (v) continually providing atypical banking
    15 services.
    16         245. The Receivership Entities suffered damages that were proximately
    17 caused by Wells Fargo’s participation in the conspiracy (without which the Apex
    18 and Triangle Enterprises could not have functioned) and which are described
    19 herein.
    20                                 Third Cause of Action
    21                               (Breach of Fiduciary Duty)
    22         246. The Receiver repeats and realleges the allegations of each and every
    23 one of the prior paragraphs, inclusive, as if fully set forth herein.
    24         247. Wells Fargo owed fiduciary duties to the Receivership Entities
    25 pursuant to their bank/client relationships.       Wells Fargo had a duty to their
    26 customers, the Receivership Entities, to discharge its duties in good faith, with
    27 reasonable care, and in a manner reasonably believed to be in the Receivership
    28 Entities’ best financial interests.
                                                   72                   Case No. ___________
                                                                    RECEIVER’S COMPLAINT
Case
   Case
     3:18-cv-01388-LAB-WVG
         3:21-cv-01245-AJB-JLBDocument
                                Document
                                       154
                                         1 Filed 07/08/21
                                                 11/10/21 PageID.74
                                                          PageID.3332Page
                                                                       Page
                                                                          74 95
                                                                             of 88
                                                                                of 118




     1         248. Wells Fargo knew that Phillips, Peikos, and Barnett were engaging in
     2 fraud as described herein.
     3         249. Wells Fargo breached the fiduciary duties it owed to the Receivership
     4 Entities by willfully, fraudulently, recklessly, and/or negligently engaging in
     5 conduct which was not in the best financial interests of the Receivership Entities.
     6 Specifically, Wells Fargo (i) diverted funds that belonged to the Receivership
     7 Entities into Phillips, Peikos, and Barnett’s pockets, and (ii) failed to, or refused to,
     8 fulfill its “know your customer” obligations, conduct due diligence, and abide by
     9 other banking regulations and standard practices.
    10         250. Wells Fargo’s breaches of the fiduciary duties it owed to the
    11 Receivership Entities actually and proximately caused financial injury to the
    12 Receivership Entities as described herein.
    13                                 Fourth Cause of Action
    14                   (Aiding and Abetting Breach of Fiduciary Duty)
    15         251. The Receiver repeats and realleges the allegations of each and every
    16 one of the prior paragraphs, inclusive, as if fully set forth herein.
    17         252. At all material times, Phillips, Peikos, and Barnett owned or
    18 controlled their respective Receivership Entities. As the owners of the Triangle or
    19 Apex Enterprises, they had a fiduciary relationship with the Receivership Entities
    20 because the entities were under their complete control.           Phillips, Peikos, and
    21 Barnett owed the Receivership Entities a fiduciary duty to act in good faith, with
    22 reasonable care, and in a manner reasonably believed to be in the Receivership
    23 Entities’ best financial interests.
    24         253. Phillips, Peikos, and Barnett breached their fiduciary duties owed to
    25 their respective Receivership Entities by willfully, fraudulently, recklessly, and/or
    26 negligently engaging in conduct which was not in the best financial interests of the
    27 Receivership Entities by engaging in the primary wrongs described herein and by
    28 diverting the Receivership Entities’ assets into their own pockets with no
                                                   73                   Case No. ___________
                                                                    RECEIVER’S COMPLAINT
Case
   Case
     3:18-cv-01388-LAB-WVG
         3:21-cv-01245-AJB-JLBDocument
                                Document
                                       154
                                         1 Filed 07/08/21
                                                 11/10/21 PageID.75
                                                          PageID.3333Page
                                                                       Page
                                                                          75 96
                                                                             of 88
                                                                                of 118




     1 legitimate or justifiable business purpose.
     2         254. Phillips, Peikos, and Barnett’s breaches of the fiduciary duties they
     3 owed to the Receivership Entities actually and proximately caused financial injury
     4 to the Receivership Entities, as described herein, in an amount to be proven at trial.
     5         255. Wells Fargo had actual knowledge of Phillips, Peikos, and Barnett’s
     6 breaches of their fiduciary duty and rendered substantial assistance in regard to
     7 such breaches by affording them or their agents special privileges, by enabling and
     8 allowing continuous, suspicious, and obviously fraudulent banking activity, and by
     9 failing to adhere to federal, local and internal regulatory banking procedures and
    10 policies.
    11         256. Wells Fargo is liable for all damages actually and proximately caused
    12 to the Receivership Entities through its acts and omissions, including those
    13 damages described above, in an amount to be proven at trial.
    14                                  Fifth Cause of Action
    15                           (Aiding and Abetting Conversion)
    16         257. The Receiver repeats and realleges the allegations of each and every
    17 one of the prior paragraphs, inclusive, as if fully set forth herein.
    18         258. Phillips, Peikos, and Barnett wrongfully asserted dominion and
    19 control over the funds in the Apex and Triangle Enterprise accounts, which
    20 rightfully belonged to their respective Receivership Entities, by misappropriating
    21 consumer funds from those accounts and using the funds for their personal use and
    22 benefit. Phillips, Peikos, and Barnett’s actions resulted in the conversion of funds
    23 belonging to the Receivership Entities.
    24         259. Wells Fargo had actual knowledge of Phillips, Peikos, and Barnett’s
    25 misappropriation of the Receivership Entities’ funds, because those funds were
    26 wrongfully transferred into, between, and out of accounts held by Wells Fargo.
    27         260. Wells Fargo rendered substantial assistance to Phillips, Peikos, and
    28 Barnett in their conversion of the Receivership Entities’ funds by executing their
                                                   74                   Case No. ___________
                                                                    RECEIVER’S COMPLAINT
Case
   Case
     3:18-cv-01388-LAB-WVG
         3:21-cv-01245-AJB-JLBDocument
                                Document
                                       154
                                         1 Filed 07/08/21
                                                 11/10/21 PageID.76
                                                          PageID.3334Page
                                                                       Page
                                                                          76 97
                                                                             of 88
                                                                                of 118




     1 transactions, even though doing so violated banking regulations and other prudent
     2 and sound banking practices and procedures.
     3         261. Wells Fargo is therefore liable for all damages actually and
     4 proximately caused to the Receivership Entities based on the conversion of funds
     5 undertaken by Phillips, Peikos, and Barnett, in an amount to be proven at trial.
     6                                  Sixth Cause of Action
     7                      (Violation of California Penal Code § 496)
     8         262. The Receiver repeats and realleges the allegations of each and every
     9 one of the prior paragraphs, inclusive, as if fully set forth herein.
    10         263. Penal Code § 496(c) permits “any” person who has been injured by a
    11 violation of § 496(a) to recover three times the amount of actual damages, costs of
    12 suit and attorney’s fees in a civil suit. Penal Code § 496(a) creates an action
    13 against “any” person who (1) receives “any” property that has been obtained in any
    14 manner constituting theft, knowing the property to be so obtained, or (2) conceals,
    15 withholds, or aids in concealing or withholding “any” property from the owner,
    16 knowing the property to be so obtained.
    17         264. Under Penal Code § 7, “person” includes a corporation as well as a
    18 natural person. Wells Fargo Bank, N.A., as a national banking association, and
    19 Wells Fargo & Co., as a corporation, are “persons” capable of violating § 496(a).
    20         265. Phillips, Peikos, and Barnett obtained consumer funds by theft under
    21 Penal Code § 484, because those funds were obtained “knowingly and designedly,
    22 by any false or fraudulent representation or pretense,” from consumers. These
    23 funds were so obtained because, among other things, consumers were falsely
    24 informed they were signing up for free trials but ended up paying for products or
    25 subscriptions without their consent.
    26         266. Wells Fargo, knowing of their frauds, deliberately concealed and
    27 aided in concealing those frauds by, inter alia, hiding the identity of the individuals
    28 who were committing the fraud, and by setting up and maintaining the fraudulent
                                                   75                   Case No. ___________
                                                                    RECEIVER’S COMPLAINT
Case
   Case
     3:18-cv-01388-LAB-WVG
         3:21-cv-01245-AJB-JLBDocument
                                Document
                                       154
                                         1 Filed 07/08/21
                                                 11/10/21 PageID.77
                                                          PageID.3335Page
                                                                       Page
                                                                          77 98
                                                                             of 88
                                                                                of 118




     1 accounts as described herein.
     2         267. Additionally, Wells Fargo knowingly transferred property that was
     3 wrongfully obtained from consumers to Phillips, Peikos, Barnett, or third parties at
     4 their behest, as described herein.
     5         268. As a direct and proximate result of Wells Fargo’s violations of Penal
     6 Code § 496(a), the Receivership Entities were deprived of assets. Pursuant to
     7 Penal Code § 496(c), the Receiver seeks statutory treble damages, costs of suit, and
     8 reasonable attorney’s fees.
     9                                Seventh Cause of Action
    10          (Violation of California Business and Professions Code § 17200)
    11         269. The Receiver repeats and realleges the allegations of each and every
    12 one of the prior paragraphs, inclusive, as if fully set forth herein.
    13         270. Business & Professions Code §§ 17200, et seq., prohibit acts of
    14 “unfair competition,” a term which is defined by Business & Professions Code
    15 § 17200 as including “any unlawful, unfair or fraudulent business act or
    16 practice….”
    17         271. Defendants have violated Business & Professions Code section
    18 17200’s prohibition against engaging in unlawful, unfair, and/or fraudulent
    19 business practices by, inter alia, aiding and abetting fraud, conspiring to commit
    20 fraud, and violating California Penal Code § 496.
    21         272. The Receivership Entities suffered injury in fact and lost money as a
    22 result of Wells Fargo’s substantial assistance in these unlawful business acts and
    23 practices.
    24         273. As a result of Defendants’ violations of Business & Professions Code
    25 § 17200, et seq., the Receiver is entitled to equitable relief in the form of full
    26 restitution of all monies wrongfully paid pursuant to the fraudulent schemes aided
    27 and abetted by Defendants.
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                                                   76                   Case No. ___________
                                                                    RECEIVER’S COMPLAINT
Case
   Case
     3:18-cv-01388-LAB-WVG
         3:21-cv-01245-AJB-JLBDocument
                                Document
                                       154
                                         1 Filed 07/08/21
                                                 11/10/21 PageID.78
                                                          PageID.3336Page
                                                                       Page
                                                                          78 99
                                                                             of 88
                                                                                of 118




     1                                 Eighth Cause of Action
     2         (Aiding and Abetting Fraudulent Transfer/Voidable Transaction)
     3         274. The Receiver repeats and realleges the allegations of each and every
     4 one of the prior paragraphs, inclusive, as if fully set forth herein.
     5         275. Prior to the establishment of the Receiverships, the physical
     6 operations of the Receivership Entities with which Defendants did business were
     7 primarily in the State of California. The FTC v. Triangle and FTC v. Apex actions
     8 in which the Receiver was appointed were then filed in the United States District
     9 Court for the Southern and Central Districts of California, respectively.
    10         276. Effective January 1, 2016, California (similar to the majority of other
    11 States) adopted a version of the Uniform Voidable Transactions Act (“UVTA”),
    12 codified at California Civil Code §§ 3439, et seq. The UVTA defines a voidable
    13 transfer to include the following types of transfer or obligations incurred by a
    14 debtor:
    15         A transfer made or obligation incurred by a debtor is voidable as to a
               creditor, whether the creditor’s claim arose before or after the transfer
    16         was made or the obligation was incurred, if the debtor made the
               transfer or incurred the obligation as follows:
    17
               (1) With actual intent to hinder, delay, or defraud any creditor of the
    18         debtor.
    19         (2) Without receiving a reasonably equivalent value in exchange for
               the transfer or obligation, and the debtor either:
    20
               (A) Was engaged or was about to engage in a business or a
    21         transaction for which the remaining assets of the debtor were
               unreasonably small in relation to the business or transaction.
    22
               (B) Intended to incur, or believed or reasonably should have believed
    23         that the debtor would incur, debts beyond the debtor’s ability to pay as
               they became due.
    24
               (b) In determining actual intent under paragraph (1) of subdivision
    25         (a), consideration may be given, among other factors, to any or all of
               the following:
    26
               (1) Whether the transfer or obligation was to an insider.
    27
               (2) Whether the debtor retained possession or control of the property
    28         transferred after the transfer.
                                                   77                   Case No. ___________
                                                                    RECEIVER’S COMPLAINT
CaseCase
     3:18-cv-01388-LAB-WVG
         3:21-cv-01245-AJB-JLBDocument
                                Document
                                       1541 Filed
                                            Filed 11/10/21
                                                  07/08/21 PageID.3337
                                                           PageID.79 Page
                                                                       Page
                                                                          79100
                                                                             of 88
                                                                                 of 118




     1         (3) Whether the transfer or obligation was disclosed or concealed.
     2         (4) Whether before the transfer was made or obligation was incurred,
               the debtor had been sued or threatened with suit.
     3
               (5) Whether the transfer was of substantially all the debtor’s assets.
     4
               (6) Whether the debtor absconded.
     5
               (7) Whether the debtor removed or concealed assets.
     6
               (8) Whether the value of the consideration received by the debtor was
     7         reasonably equivalent to the value of the asset transferred or the
               amount of the obligation incurred.
     8
               (9) Whether the debtor was insolvent or became insolvent shortly
     9         after the transfer was made or the obligation was incurred.
    10         (10) Whether the transfer occurred shortly before or shortly after a
               substantial debt was incurred.
    11
               (11) Whether the debtor transferred the essential assets of the business
    12         to a lienor that transferred the assets to an insider of the debtor.
    13
               277. California Civil Code §3439.05(a) provides that transfers are voidable
    14
         as to present creditors as follows:
    15
               A transfer made or obligation incurred by a debtor is voidable as to a
    16         creditor whose claim arose before the transfer was made or the
               obligation was incurred if the debtor made the transfer or incurred the
    17         obligation without receiving a reasonably equivalent value in
               exchange for the transfer or obligation and the debtor was insolvent at
    18         that time or the debtor became insolvent as a result of the transfer or
               obligation.
    19
    20         278. The UVTA provides the following definitions, in relevant part:
    21         (b) “Claim,” except as used in “claim for relief,” means a right to
               payment, whether or not the right is reduced to judgment, liquidated,
    22         unliquidated, fixed, contingent, matured, unmatured, disputed,
               undisputed, legal, equitable, secured, or unsecured.
    23
               (c) “Creditor” means a person that has a claim, and includes an
    24         assignee of a general assignment for the benefit of creditors, as
               defined in Section 493.010 of the Code of Civil Procedure, of a
    25         debtor.
    26         (d) “Debt” means liability on a claim.
    27         (e) “Debtor” means a person that is liable on a claim.
    28
                                                  78                   Case No. ___________
                                                                   RECEIVER’S COMPLAINT
CaseCase
     3:18-cv-01388-LAB-WVG
         3:21-cv-01245-AJB-JLBDocument
                                Document
                                       1541 Filed
                                            Filed 11/10/21
                                                  07/08/21 PageID.3338
                                                           PageID.80 Page
                                                                       Page
                                                                          80101
                                                                             of 88
                                                                                 of 118




     1         279. Phillips, Peikos and Barnett are “debtors” under the UVTA because
     2 they are liable to the Receivership Entities and consumers who have a right to
     3 reimbursement for their claims of consumer fraud under the FTC judgments. Said
     4 Receivership Entities and consumers are “creditors” with “claims” under the
     5 meaning of the UVTA.
     6         280. Prior to enactment of the UVTA, and relevant to transfers by
     7 Defendants prior to 2016, the California Uniform Fraudulent Transfer Act
     8 (“UFTA”), formerly codified at California Civil Code §§ 3439, et seq. (“UFTA”),
     9 provided in §3439.04:
    10
               (1) A transfer made or obligation incurred by a debtor is fraudulent as
    11         to a creditor, whether the creditor’s claim arose before or after the
               transfer was made or the obligation was incurred, if the debtor made
    12         the transfer or incurred the obligation:
    13               (a) with actual intent to hinder, delay, or defraud any creditor of
               the debtor; or
    14
                      (b) without receiving a reasonably equivalent value in exchange
    15         for the transfer or obligation; and the debtor: (i) was engaged or was
               about to engage in a business or a transaction for which the remaining
    16         assets of the debtor were unreasonably small in relation to the
               business or transaction; or (ii) intended to incur, or believed or
    17         reasonably should have believed that he would incur, debts beyond his
               ability to pay as they became due.
    18
               281. A “transfer” was defined in the UFTA to mean “every mode, direct or
    19
         indirect, absolute or conditional, voluntary or involuntary, of disposing of or
    20
         parting with an asset or an interest in an asset, and includes payment of money,
    21
         release, lease, and creation of a lien or other encumbrance.” (Civ. Code, former §
    22
         3439.01, subd. (i)). A similar definition is found as subdivision (m) of the UVTA
    23
         with one minor revision: “Transfer” means every mode, direct or indirect, absolute
    24
         or conditional, voluntary or involuntary, of disposing of or parting with an asset or
    25
         an interest in an asset, and includes payment of money, release, lease, license and
    26
         creation of a lien or other encumbrance.”
    27
               282. As set forth herein, Phillips, Peikos, and/or Barnett controlled the
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                                                                   RECEIVER’S COMPLAINT
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     3:18-cv-01388-LAB-WVG
         3:21-cv-01245-AJB-JLBDocument
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                                                                       Page
                                                                          81102
                                                                             of 88
                                                                                 of 118




     1 Receivership Entities and directed them to make numerous transfers out of
     2 proceeds of the fraud to themselves, and third parties (including Wells Fargo). At
     3 the time of each fraudulent transfer, they intended to delay, defraud, or hinder their
     4 creditors (most notably the Receivership Entities under their control).
     5         283. Through the numerous acts identified herein, Wells Fargo
     6 substantially assisted Phillips, Peikos and Barnett in making these fraudulent
     7 transfers, despite knowing that the transfers were unlawful, and that they controlled
     8 the Receivership Entities and had no lawful claim to fraudulently-obtained
     9 consumer funds. Wells Fargo knowingly transferred shell company account funds
    10 to other Receivership Entity shell company accounts and then directly to Phillips,
    11 Peikos, and/or Barnett or to other third parties (at the direction of Phillips, Peikos,
    12 and/or Barnett) without the shell companies receiving a reasonably equivalent
    13 value in exchange for the transfers and which depleted the shell companies of all or
    14 substantially all of their assets.
    15         284. The transfers from the Wells Fargo accounts of the Receivership
    16 Entities to Phillips, Peikos, Barnett and Wells Fargo constitute fraudulent transfers
    17 under the California UVTA and UFTA for the following reasons, among others:
    18                (a)    Phillips, Peikos and Barnett made the transfers to themselves or
                             third parties with the actual intent to hinder, delay, or defraud
    19                       creditors (including the Receivership Entities and consumers);
    20                (b)    Phillips, Peikos and Barnett engaged in free trial schemes
                             knowing that their assets and the assets of the Receivership
    21                       Entities they controlled were unreasonably small considering
                             that all of the assets were obtained by frauds on consumers and
    22                       did not belong to them;
    23                (c)    Phillips, Peikos and Barnett knew that through their fraudulent
                             schemes, they incurred debts to the Receivership Entities and
    24                       consumers beyond their ability to pay;
    25                (d)    Phillips, Peikos and Barnett retained possession or control of
                             the assets after the transfers;
    26
                      (e)    The Receivership Entities did not receive a reasonably
    27                       equivalent value in exchange for the transfers from the Wells
                             Fargo accounts because Phillips, Peikos, and Barnett drained
    28                       the accounts for their own personal use and benefit, and the
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     3:18-cv-01388-LAB-WVG
         3:21-cv-01245-AJB-JLBDocument
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                                                  07/08/21 PageID.3340
                                                           PageID.82 Page
                                                                       Page
                                                                          82103
                                                                             of 88
                                                                                 of 118




     1                     shell companies acted as mere pass-throughs to allow the
                           fraudsters to avoid detection by creditors of their ownership and
     2                     control of the funds;
     3               (f)   The Receivership Entities had no assets other than the
                           fraudulently-obtained funds before or after the transfers;
     4
                     (g)   The transfers to Phillips, Peikos, and Barnett were as corporate
     5                     insiders of the Receivership Entities;
     6               (h)   The transfers among and from the Wells Fargo accounts were
                           intended to conceal the true ownership and recipients of the
     7                     funds;
     8               (i)   When the transfers were made, Phillips, Peikos and Barnett
                           knew they were likely to be sued for their wrongdoing;
     9
                     (j)   Phillips, Peikos, and Barnett removed and concealed receipt of
    10                     the consumer funds from the Wells Fargo accounts by
                           transferring them to unrelated, unidentified and undisclosed
    11                     personal and offshore accounts;
    12               (k)   The transfers were of substantially all the Receivership Entities’
                           assets;
    13
                     (l)   The Receivership Entities were insolvent or became insolvent
    14                     shortly after the transfers were made or the obligations were
                           incurred; and
    15
                     (m)   The transfers occurred shortly before or shortly after the
    16                     substantial debts to consumers were incurred.
    17         285. Despite knowing that Phillips, Peikos and Barnett had no lawful claim
    18 to the consumer funds and Phillips, Peikos, and Barnet lacked the assets to pay
    19 such amounts back to the Receivership Entities, Wells Fargo transferred such
    20 consumer funds, and depleted the Receivership Entities’ assets, which allowed
    21 Phillips, Peikos, and/or Barnett to receive such funds directly.
    22         286. Based on the allegations above, these transfers of Receivership Entity
    23 funds to Wells Fargo and Phillips, Peikos, and Barnett constitute fraudulent
    24 transfers which must be returned to the Receivership Entities. Accordingly, the
    25 Receiver seeks to recover as fraudulent transfers all Receivership Entity/consumer
    26 funds received by Wells Fargo as well as those funds transferred to Phillips,
    27 Peikos, and Barnett.
    28       287. Wells Fargo knowingly aided and abetted the fraudulent transfers
                                                 81                   Case No. ___________
                                                                  RECEIVER’S COMPLAINT
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     3:18-cv-01388-LAB-WVG
         3:21-cv-01245-AJB-JLBDocument
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                                                  07/08/21 PageID.3341
                                                           PageID.83 Page
                                                                       Page
                                                                          83104
                                                                             of 88
                                                                                 of 118




     1 from the Receivership Entities under the control of Phillips, Peikos, and/or Barnett.
     2 This substantial assistance included the fraudulent transfer of consumer funds from
     3 the Wells Fargo accounts to Phillips, Peikos, and Barnett.
     4         288. In addition, Wells Fargo accepted payments of consumer funds from
     5 Receivership Entities in connection with setting up and maintaining the fraudulent
     6 accounts. By collecting fees, charges, fines, reserve amounts, and other payments
     7 generated by the shell companies’ and other Receivership Entities’ payment
     8 processing, Wells Fargo was asserting that the Receivership Entities had a valid
     9 obligation to make these payments to Wells Fargo.
    10         289.   Wells Fargo, as a knowing aider and abettor of the fraudulent
    11 schemes, was not entitled to receive, and could not take in good faith, these
    12 payments from the Receivership Entities’ funds derived from payments by
    13 defrauded consumers in connection with setting up and maintaining the fraudulent
    14 accounts for the Receivership Entities, and thus these payments constitute
    15 fraudulent transfers which must be returned to the Receivership Entities.
    16         290. Accordingly, the Receiver seeks to recover as fraudulent transfers any
    17 (a) Receivership Entity funds taken from the Wells Fargo accounts and transferred
    18 to Phillips, Peikos, and Barnett as a result of the fraudulent schemes and b)
    19 payments to Wells Fargo from Receivership Entities in connection with setting up
    20 and maintaining the fraudulent accounts.
    21         291.   The Receiver therefore asks that the Court order Wells Fargo to pay
    22 to the Receiver all fraudulent transfers they received or transferred, as alleged
    23 herein and as further shown by proof at trial. The Receiver further asks that he be
    24 awarded pre- and post- judgment interest from Defendants from the date of the
    25 receipt of each fraudulent transfer.
    26                                Ninth Cause of Action
    27                      (Unjust Enrichment/ Constructive Trust)
    28         292. The Receiver repeats and realleges the allegations of each and every
                                                 82                  Case No. ___________
                                                                 RECEIVER’S COMPLAINT
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     3:18-cv-01388-LAB-WVG
         3:21-cv-01245-AJB-JLBDocument
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                                                  07/08/21 PageID.3342
                                                           PageID.84 Page
                                                                       Page
                                                                          84105
                                                                             of 88
                                                                                 of 118




     1 one of the prior paragraphs, inclusive, as if fully set forth herein.
     2         293. Wells Fargo received payments (whether denominated as “fees,”
     3 “charges,” “fines,” “reserves,” or otherwise) from the Receivership Entities’
     4 accounts used in connection with the processing and maintenance of accounts, and
     5 also transferred fraudulently-obtained funds to Peikos, Barnett, and Phillips.
     6         294. The payments received by Wells Fargo were made in furtherance of
     7 the fraudulent schemes and Wells Fargo has been unjustly enriched by the amount
     8 of these payments.
     9         295. In addition, through Wells Fargo’s knowing and substantial assistance
    10 in the wrongful transfer of account funds from the Receivership Entities, entities
    11 and individuals who owned or controlled the Receivership Entities were unjustly
    12 enriched in the amount of these transfers.
    13         296. Because of Wells Fargo’s own unjust enrichment and its knowing
    14 assistance in unjustly enriching the perpetrators of the frauds, the Receiver seeks
    15 an equitable remedy ordering that Wells Fargo is holding, and shall continue to
    16 hold, in constructive trust for the Receiver, the amount of the payments and
    17 transfers to itself, as well as funds in Wells Fargo accounts which were wrongfully
    18 transferred to third parties, including those who owned or controlled the
    19 Receivership Entities.
    20         297. The Receiver further asks that he be awarded pre- and post- judgment
    21 interest from Defendants from the date of the receipt of each fraudulent transfer.
    22                      Tenth Cause of Action (In the Alternative)
    23                                 (Negligent Supervision)
    24         298. The Receiver repeats and realleges the allegations of each and every
    25 one of the prior paragraphs, inclusive, as if fully set forth herein.
    26         299. In the alternative to Causes of Action One through Nine, Wells Fargo
    27 negligently supervised the Wells Fargo employees named and/or described herein.
    28         300. Wells Fargo knew or should have known that the policies and
                                                   83                   Case No. ___________
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     3:18-cv-01388-LAB-WVG
         3:21-cv-01245-AJB-JLBDocument
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                                                  07/08/21 PageID.3343
                                                           PageID.85 Page
                                                                       Page
                                                                          85106
                                                                             of 88
                                                                                 of 118




     1 procedures permeating its Community Bank regarding sales incentives and quotas
     2 were deficient and created a sales culture pressuring its employees into opening
     3 accounts without concern for the repercussions, and which directly contributed to
     4 and incentivized branch-level employees under the fear of being terminated, aiding
     5 and abetting the Apex and Triangle frauds, cutting corners, and disregarding both
     6 applicable Bank procedures (on paper) and legal obligations when opening and
     7 monitoring accounts, and under the BSA and related rules.            Wells Fargo’s
     8 knowledge of its own toxic sales culture is described herein.
     9         301. Wells Fargo also knew or should have known that a corporate policy
    10 pushing employees to open as many accounts as possible would facilitate money
    11 laundering activities, as it would make it substantially easier for the Bank’s
    12 customers to open dozens of shell companies. The relevance of shell companies to
    13 money laundering and fraud is discussed herein.
    14         302. Wells Fargo knew or should have known that its lax oversight and its
    15 implementation, design, and maintenance of proper controls to ensure branch-level
    16 compliance in the Community Bank with all legal obligations, including under the
    17 BSA, and to protect against fraudulent conduct, were deficient and would directly
    18 contribute to branch-level bankers’ misconduct, by providing atypical services,
    19 assisting the frauds, and taking steps to conceal—rather than unmask or report—
    20 the Apex and Triangle Entities’ fraud.
    21         303. Wells Fargo knew or should have known that its deficient policies for
    22 the Community Bank, as detailed herein, leading to Wells Fargo’s facilitation of
    23 the Apex and Triangle Enterprises’ consumer fraud and money laundering
    24 activities would result in increased liabilities for, and substantial damage to, the
    25 Receivership Entities as described herein.
    26         304. Had Wells Fargo properly supervised its employees, properly put in
    27 place appropriate policies and procedures in the Community Bank regarding sales
    28 practices and incentives, properly implemented, designed, and maintained proper
                                                84                   Case No. ___________
                                                                 RECEIVER’S COMPLAINT
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     3:18-cv-01388-LAB-WVG
         3:21-cv-01245-AJB-JLBDocument
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                                                  07/08/21 PageID.3344
                                                           PageID.86 Page
                                                                       Page
                                                                          86107
                                                                             of 88
                                                                                 of 118




     1 controls to ensure branch-level compliance in the Community Bank with industry
     2 standards and norms, and/or monitored and terminated employees who engaged in
     3 misconduct (none of which occurred), the Receivership Entities would not have
     4 suffered the damages that they did.
     5                     Eleventh Cause of Action (In the Alternative)
     6                                       (Negligence)
     7          305.   The Receiver repeats and realleges the allegations of each and every
     8 one of the prior paragraphs, inclusive, as if fully set forth herein.
     9          306. In the alternative to Causes of Action One through Nine, the acts and
    10 omissions of Wells Fargo as described herein were negligent.
    11          307. Wells Fargo provided banking services to the Apex and Triangle
    12 Receivership Entities; as such, these entities were Wells Fargo’s clients.
    13          308. Because the Receivership Entities were customers of Wells Fargo, the
    14 Bank owed them a duty to act with reasonable care in its dealings with, and in
    15 performing its services for, the Receivership Entities and their accounts. That duty
    16 included, without limitation, the duty to use the requisite care, skill and diligence
    17 to detect, investigate and/or prevent the use of Wells Fargo accounts to perpetrate
    18 fraud.
    19          309. Wells Fargo breached this duty because, without limitation, it
    20 established corporate policies that prioritized the opening of accounts above
    21 anything else—a policy which uniquely incentivized its employees to facilitate the
    22 banking activities of shell companies, which any banker would know were key
    23 indicia of fraud and money laundering.           Despite fully understanding that the
    24 accounts opened by Apex and Triangle personnel were for shell companies used to
    25 hide the true ownership of the accounts, Wells Fargo failed to timely stop or take
    26 any action to prevent the fraud, including the transfer of Receivership Entities’
    27 assets to Phillips, Peikos, Barnett, and/or third parties.
    28          310. Wells Fargo’s breaches of its duties proximately caused damages to
                                                   85                   Case No. ___________
                                                                    RECEIVER’S COMPLAINT
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     3:18-cv-01388-LAB-WVG
         3:21-cv-01245-AJB-JLBDocument
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                                                  07/08/21 PageID.3345
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                                                                          87108
                                                                             of 88
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     1 the Receivership Entities in an amount to be determined at trial, because those
     2 breaches allowed Phillips, Peikos, Barnett, and/or third parties to commit massive
     3 fraud and to siphon off funds that rightfully belonged to the Receivership Entities
     4 for their own, personal use.
     5                                Twelfth Cause of Action
     6                              (Request for an Accounting)
     7         311. The Receiver repeats and realleges the allegations of each and every
     8 one of the prior paragraphs, inclusive, as if fully set forth herein.
     9         312. To ascertain the exact amounts received by Wells Fargo in connection
    10 with the Apex and Triangle Enterprises the Receiver seeks entry of an order
    11 compelling Wells Fargo to file with the Court and serve upon the Receiver an
    12 accounting, under oath, detailing: (i) the amounts received from all accounts
    13 owned or controlled by the Receivership Entities or related individuals and entities,
    14 including Peikos, Barnett, and Phillips; (ii) the current locations of the amounts,
    15 including the specific bank accounts to which any funds were transferred; and (iii)
    16 the fees which Wells Fargo obtained as a result of doing business with the Apex
    17 and Triangle Enterprises.
    18 XIII. PRAYER FOR RELIEF
    19         WHEREFORE, the Receiver respectfully prays for judgment against
    20 Defendants as follows:
    21         1.    For all applicable damages to the Receivership Entities proximately
    22               caused by Wells Fargo’s tortious conduct, including punitive damages
    23               pursuant to California Civil Code § 3294, and treble damages
    24               pursuant to California Penal Code § 496(c); in an amount to be
    25               determined at trial;
    26         2.    For the return of funds acquired by Wells Fargo through fraudulent
    27               transfers and/or unjust enrichment at the expense of the Receivership
    28               Entities, including, but not limited to, funds acquired as fraudulent
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                                                                    RECEIVER’S COMPLAINT
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     3:18-cv-01388-LAB-WVG
         3:21-cv-01245-AJB-JLBDocument
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                                                  07/08/21 PageID.3346
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                                                                          88109
                                                                             of 88
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     1               obligations supposedly owed to the Wells Fargo by the Receivership
     2               Entities;
     3         3.    For imposition of a constructive trust in favor of the Receiver as to all
     4               funds received by Wells Fargo from the Receivership Entities;
     5         4.    For a judgment ordering Wells Fargo to file an accounting, under
     6               oath, as requested herein;
     7         5.    For pre- and post- judgment interest;
     8         6.    For attorneys’ fees and costs: and
     9         7.    For such other and further relief as the Court may deem proper.
    10 XIV. JURY DEMAND
    11         The Receiver demands a jury trial.
    12                                            Respectfully Submitted,
    13
    14 DATED: July 8, 2021                        By:/s/ Lionel Z. Glancy
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Case 3:18-cv-01388-LAB-WVG Document 154 Filed 11/10/21 PageID.3347 Page 110 of 118




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     3:18-cv-01388-LAB-WVG
           3:21-cv-01245-AJB-JLB
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    11
                              UNITED STATES DISTRICT COURT
    12
                            SOUTHERN DISTRICT OF CALIFORNIA
    13
       THOMAS W. MCNAMARA, as the              Case No. '21CV1245 AJB JLB
    14 Court-Appointed Receiver for Triangle
       Media Corporation, Apex Capital Group, RECEIVER’S NOTICE OF
    15 LLC; and their successors, assigns,     RELATED CASES UNDER CIVIL
       affiliates, and subsidiaries,           LOCAL RULE 40.1.f-g
    16
                            Plaintiff,         Related Cases:
    17                                         Federal Trade Commission v. Triangle
               v.                              Media Corp., et al., Case No. 3:18-cv-
    18                                         01388-LAB-LL (S.D. Cal.)
       WELLS FARGO & COMPANY, a
    19 corporation, WELLS FARGO BANK,          Federal Trade Commission v. Apex
       N.A., a national banking association,   Capital Group, LLC, et al., Case No.
    20                                         2:18-cv-09573-JFW-JPR (C.D. Cal.)
                            Defendants.
    21
    22
    23
               Counsel for Plaintiff Thomas W. McNamara, as the Court-appointed
    24
         Receiver for Triangle Media Corporation, Apex Capital Group, LLC (“Receiver”)
    25
         hereby provides this Notice of Related Case pursuant to CivLR 40.1.f, which
    26
         requires counsel to notify the Court of any related cases. The following cases are
    27
         related to this matter:
    28
                                                  1                 Case No. ____________
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           3:21-cv-01245-AJB-JLB
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      1      Federal Trade Commission v. Triangle Media Corp., et al., Case No. 3:18-
              cv-01388-LAB-LL (S.D. Cal.); and
      2
             Federal Trade Commission v. Apex Capital Group, LLC, et al., Case No.
      3       2:18-cv-09573-JFW-JPR (C.D. Cal.).
      4        Civil Local Rule 40.1.g states that cases are related when the previous action
      5 and the new action appear to:
      6       1.    Involve some of the same parties and are based on the same or similar
      7              claims, or
      8        2.    Involve the same property, transaction, patent, trademark, or event, or
      9        3.    Involve substantially the same facts and the same questions of law.
    10 CivLR 40.1.g.
    11      One or more of these criteria are met.
    12         The plaintiff in this lawsuit is the court-appointed receiver in the Triangle
    13 Media and Apex Capital actions. The receiver brings this action against the
    14 Defendants for conduct arising out of the same underlying facts at issue in the
    15 foregoing lawsuits, including, inter alia, Defendants’ alleged aiding and abetting of
    16 the fraudulent schemes at issue therein.
    17         The Triangle Media action was the first of the cases filed, on June 25, 2018,
    18 and has been proceeding before Judge Larry A. Burns since October 29, 2018. If a
    19 different judge heard this matter, there would be a substantial duplication of labor.
    20         Accordingly, Receiver’s counsel hereby provides notice that these cases are
    21 related under CivLR 40.1.g.
    22
    23 Dated: July 8, 2021                      GLANCY PRONGAY & MURRAY LLP
    24
                                                By: /s/ Lionel Z. Glancy
    25                                          Jonathan M. Rotter
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Case 3:18-cv-01388-LAB-WVG Document 154 Filed 11/10/21 PageID.3352 Page 115 of 118

                                United States District Court
                                   SOUTHERN DISTRICT OF CALIFORNIA
   Thomas W. McNamara as the Court-Appointed
   Receiver for Triangle Media Corporation, Apex Capital          Case No. 3:21-cv-01245-AJB-JLB
   Group, LLC, and their successors, assigns, affiliates,
   and subsidiaries
                                                  Plaintiff,        REPORT OF CLERK AND ORDER
                                                                     OF TRANSFER PURSUANT TO
                                                          V.
                                                                        "LOW-NUMBER" RULE
   Wells Fargo & Company, a corporation; et al
                                               Defendant.
                        REPORT OF CLERK PURSUANT TO LOW NUMBER RULE
   Re:         "Low-Numbered Case No.: 3:18-cv-01388-LAB-LL____________
               Title: Federal Trade Commission v. Triangle Media Corporation et al
               Nature of Case: 370 Other Fraud

   The above "low-numbered" case and the present case appear:
   □ (1)         to arise from the same or substantially identical transactions, happenings or events: or
     (2)         involve the same or substantially the same parties or property; or
         (3)     involve the same patent or trademark or different patents or trademarks covering the same or
   IE]           substantially identical things; or
   K (4) call for determination of the same or substantially identical questions of law; or
   □ (5) where a case is refiled within one year of having previously been terminated by theCourt; or
   □ (6) for other reasons would entail unnecessary duplication of labor if heard by different judges.
   New Case #: 3:21-cv-01245-LAB-LL

   This case was transferred pursuant to the Low-Number Rule. The related cases have been assigned to
   the same judge and magistrate judge but they are NOT CONSOLIDATED at this point; all pleadings
   must still be filed separately in each case.
                                                                          John Morrill, Clerk of Court,
    Dated:            7/12/21                                       By: s/J. Mueller
                                                                                           J. Mueller, Deputy

                     ORDER OF TRANSFER PURSUANT TO "LOW-NUMBER" RULE
   I hereby consent to transfer of the above-entitled case to my calendar pursuant to Local Rule 40.1,

                  0123142
   Transfer of Civil Cases under "Low-Number" Rule.
    Dated:
                                                                              Larry Alan Bums
                                                                         United States District Judge
    It appearing that the above-entitled case is properly transferable in accordance with the provisions of
    the Low-Number Rule, IT IS HEREBY ORDERED that this case is transferrad to the calendar of
    Judge Larry Alan EJurns ^id Magistrate Judge Linda LopezffiSFalHyrther ptpeggej^ngg.           /
    Dated:
                     imm                                                      Anthony J. ffimaglia
                                                                           United States District Judge
Case 3:18-cv-01388-LAB-WVG Document 154 Filed 11/10/21 PageID.3353 Page 116 of 118




                          EXHIBIT F
     Case
11/10/21, 7:16 3:18-cv-01388-LAB-WVG
               PM                                    Document   154
                                                          Triangle MediaFiled
                                                                        Refunds11/10/21
                                                                                | Federal TradePageID.3354
                                                                                                Commission Page 117 of 118




    Triangle Media Refunds

                                                                              Share This Page
    June 2020
    PRODUCTS: dietary supplements, skin creams, e-cigarettes



    FTC returns money to people who were charged for
    "risk-free" trial products
    The FTC is mailing checks totaling more than $8.7 million to 187,425 people who signed up online for “risk-free” trial
    offers, but were then charged full price and enrolled in expensive continuity plans without their knowledge. Triangle
    Media Corporation used trial offers to market and sell a variety of products online, including skin creams, electronic
    cigarettes, and dietary supplements.

    If you get a check, please cash it within 90 days.

    If you have any questions, please call the refund administrator at 1-877-625-9411.



    Consumer Information
            Blog: Don’t let "FREE" cost you
            "Free" Trial Offers?



    Related News
            FTC Sending Refund Checks Totaling More Than $8.7 Million to Consumers Defrauded by Deceptively Marketed
            Online “Risk-Free Trial” Offers
            Online Marketers Barred from Deceptive “Free Trial” Offers, Unauthorized Billing
            FTC Halts Online Marketers Responsible for Deceptive “Free Trial” Offers




https://www.ftc.gov/enforcement/cases-proceedings/refunds/triangle-media-refunds                                             1/2
     Case
11/10/21, 7:16 3:18-cv-01388-LAB-WVG
               PM                                    Document   154
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                                                                        Refunds11/10/21
                                                                                | Federal TradePageID.3355
                                                                                                Commission Page 118 of 118




https://www.ftc.gov/enforcement/cases-proceedings/refunds/triangle-media-refunds                                             2/2
